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                            UNITEqj§f^rf;SFmS,1RiIGT-COURT
                            FOR THE DISTRICT OFMARYLAND
                                    20i7MARI6 PH 2:^
UNITED STATES OF AMERICA                CL-RK'3 OFFICE

       and
                                                 •DEPUTY'
THE STATE OF MARYLAND


       and


Ex Rel Michael GOEBEL
1121 ResdenRun
Salisbury, MD 21804

       and


Ex Rel WILLIAM COLEMAN
414 Somerset Avenue
Salisbury, MD 21801                                      Case No.


                                                         FILED UNDER SEAL
                      Plaintiffs,                        Pursuant to 31 U.S.C. §3730
                                                         (False Claims Act)

       V.                                                DO NOT ENTER IN PACER
                                                         DO NOT PLACE IN PRESS BOX


SELECT REHABILITATION,INC.
2600 Compass Road
Glenview, Illinois 60026

      Serve: Resident Agent:
             James M. Halpin                                  IS /i,

             208 South Lasalle Street                        tM.
             Chicago, Illinois 60604

      and



ANCHORAGE SNF,LLC
d/b/a ANCHORAGE HEALTHCARE
CENTER
105 Time Square
Salisbury, Maryland 21801
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       Serve: Resident Agent:
              Stephanie Butterfield
              C/0 Corporation Trust Incorporated
              351 W Camden Street
              Baltimore, Maryland 21201

       and



COMMUNICARE HEALTH SERVICES,INC.
4700 Ashwood Drive
Blue Ash, Ohio 45241

       Serve: Resident Agent:
              Ira C. Kaplan
              200 Public Square 2300 BP Tower
              Cleveland, Ohio 44114


       and


WHITE OAK HEALTHCARE,LLC,d/b/a
WHITE OAK SENIOR CARE
921 East Fort Avenue Suite 240
Baltimore, Maryland 21230

      Serve: Resident Agent:
             Stephanie Butterfield
             C/0 Corporation Trust Incorporated
             351 West Camden Street
             Baltimore, Maryland 21201


                     Defendants.
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                     COMPLAINT AND DEMAND FOR JURY TRIAL


        1.            COME NOW,Plaintiffs and qui tarn Relators MICHAEL GOEBEL and

WILLIAM COLEMAN ("Relators" or "Plaintiffs-Relators"), by and through undersigned

counsel, and file this False Claims Act("FCA")Complaint and Jury Demand,on behalf of

themselves and the United States of America and the State of Maryland, against Defendants

SELECT REHABILITATION,INC.("Select" or "Defendant"), ANCHORAGE SNF,LLC

("Anchorage" or "Defendant"), COMMUNICARE HEALTHCARE SERVICES,INC.

("CommuniCare" or "Defendant"), and WHITE OAK HEALTHCARE,LLC("White Oak" or

"Defendant")(collectively referred to as "Defendants")for money damages and civil penalties

arising out ofthe Defendants' violations ofthe Federal False Claims Act,31 U.S.C. §§ 3729-

3733 et seq. and Md.Code Ann., Health-Gen § 2-601 et seq., related to knowingly submitting

false or fraudulent claims and therefore causing improper reimbursement payments from

Medicare and Medicaid.


                                   NATURE OF THE CASE


       2.      This is an action for money damages,including treble damages and civil

penalties, under the Federal False Claims Act, 31 U.S.C. §§ 3729-3733, as amended. Pub. L. 99-

562, ICQ Stat. 3153(1986)(the "FCA"), arising from the Defendants' violations ofthe False

Claims Act, 31 U.S.C. §§ 3729-3733 and the Medicare Act,42 U.S.C. §§ 1395, etseq.

       3.      This is also brought under the state False Claims Act ofthe State of Maryland,

Md. Code Ann., Health-Gen § 2-601 etseq.

       4.      Defendant Select is a nationwide therapy service provider that employs licensed

and certified physical, occupational, and speech therapy professionals to provide healthcare
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services for patients in need of post-acute rehabilitation treatment, including speech,

occupational, and physical therapy, and long-term extensive nursing care. It is a vast, private

entity that contracts with skilled nursing facilities("SNFs"), continuing care retirement

communities, adult residential facilities, independent living facilities, and home health agencies,

to staff the facilities and engages in operating and managing the facilities' healthcare systems to

provide therapy services to Medicare patients. Select currently contracts with medical facilities

in about 32 states. Relators work at the Maryland location, which is in Select's Mid-Atlantic

Region, also comprised of Delaware, Pennsylvania, and Virginia.

       5.      Defendant Anchorage is a private SNF registered with the State of Maryland.

Located in Salisbury, Anchorage specializes in both short-term and long-term rehabilitation and

senior healthcare services, delivering both nursing and therapy care to its patients. Select

contracts with Anchorage to staff its therapists at the Anchorage facility. It is one of the branches

at which the Relators mainly work. Anchorage is owned and operated by Defendant

CommuniCare.

       6.      Defendant CommuniCare is a national provider of post-acute care. The company

manages and operates approximately 51 facilities, including skilled nursing rehabilitation

facilities, long-term facilities, assisted living communities,independent rehabilitation facilities,

and long-term acute care hospitals, in five different states including Maryland. CommuniCare

owns and operates Anchorage, providing general nursing care to the facility. For the purposes of

enabling therapy services, Anchorage is permitted to contract with outside provider companies

like Select. In essence, CommuniCare loans the Anchorage facility to Select and in tum.

Anchorage contracts with Select to staff its facility with therapists provided by Select. Select's

corporate office works closely with CommuniCare's corporate office to operate and manage
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Anchorage on the therapy side ofthe business, including setting therapy minutes, monitoring

therapists, assigning services to Medicare patients, managing productivity levels, and enforcing

corporate directives. CommuniCare acquired Anchorage in January 2016

        7.      Prior to CommuniCare's acquisition of Anchorage in January 2016, Anchorage

was formerly owned and operated by Defendant White Oak, which managed Anchorage

similarly to how CommuniCare manages Anchorage now. White Oak also loaned its facility to

Select and Anchorage contracted with Select to staff its facility with Select's employees. White

Oak is a mid-sized healthcare and senior services company registered in the State of Maryland. It

is a private entity that operates and manages SNFs and other long-term residential-based

facilities that provide rehabilitation services under Medicare. Select's corporate office worked

closely with White Oak's corporate office to operate and manage Anchorage on the therapy side

of the business. Relators also bring claims against White Oak for all the relevant fi*aud that

occurred prior to the date of CommuniCare's acquisition of Anchorage. White Oak acquired

Anchorage in June 2007.

        8.     Relators are also staffed at the Harrison House of Snow Hill("Snow Hill"). Like

Anchorage, Snow Hill is also a SNF that provides skilled nursing and rehabilitation services to

the Eastern Shore of Maryland, Delaware, and Pennsylvania. The facility is owned and operated

by Harrison Senior Living. Harrison Senior Living is a private company that offers a wide range

of healthcare programs, personnel, and accommodations for its patients who reside in its

facilities, including Snow Hill. Established in 1967, the company opened Snow Hill in Maryland

in 1977. Not a party to this case, Snow Hill also contracts with Select to staff its facility with

Select-employed therapists. Select has been staffing Snow Hill since June 2015. Select is

responsible for the fraud committed at Snow Hill,\vithin the scope ofits management and
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operations. Upon information and belief, unlike CommuniCare(and White Oak), Snow Hill is

unaware of and not willingly participating in the fraud described herein.

       9.       Plaintiffs-Relators bring this qui tarn action against Defendants, based on their

personal knowledge ofintentionally false and fraudulent practices performed or caused by the

Defendants and/or their agents and employees related to the following main categories offraud:

       (a) submission and/or causing the submission offalse claims ofservices that have been
           intentionally up-coded;

       (b) fraudulent and improper billing and payment coding corresponding to specific
           services that are unreasonable or not medically necessary, that patients cannot tolerate
           or benefit from, or that are not actually provided;

       (c) fraudulent manipulation ("classic ramping")of therapy minutes during assessment
           reference periods to maximize payment;

       (d) falsification of patient Minimum Data Set 3.0("MDS 3.0") assessment reports and
           fabrication of medical records, including patient evaluations, plan oftreatment forms,
           and therapy progress reports;

       (e) ignoring patient tolerance levels and functionality assessments to knowingly and
           intentionally classify nearly all patients into the Ultra High Resource Utilization
           Group(RUG)level;

       (f) performing unreasonable and medically unnecessary procedures and treatment and
           therapies, risking, causing, and elevating patient harm; and

       (g) sustaining a fraudulent course of conduct, using methods of avoiding detection, to
           obtain improper and unlawful government reimbursement, which is not paid back or
             refunded.


       10.      One location in which the fraud occurs is at Anchorage. Anchorage, one of

CommuniCare's facilities, is currently under contract with Select to provide therapy services to

its Medicare patients. In doing so, Select's corporate office conspires with CommuniCare's

corporate office (and previously with White Oak's corporate office), to violate the federal and

Maryland state FCA through such frauds. CommuniCare joins in the fraud by receiving a portion

ofthe billed services that Select fraudulently bills. Upon information and belief, CommuniCare
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knowingly permits, participates and benefits from the fi-aud. It is in constant communication with

Select and either encourages or, with deliberate indifference to the truth, turns a blind eye to

Select's fi*audulent activity. Anchorage also plays a key role in contributing to the fi-aud by

carrying out the corporate directives that directly lead to patient harm and government fraud.

This combined effort directly causes the fi-audulent acts that intentionally divest the government

offunds, maximizing Medicare and Medicaid reimbursement for the personal, financial benefit

of all the Defendants involved. Not only does Select's corporate hierarchy jeopardize patient

health, welfare, and safety, but the company knowingly and intentionally encourages, facilitates,

requires, actively pressures, and financially benefits from the fi-aud, at the tremendous expense of

the U.S. Treasury and the State of Maryland.

        11.    Corporate directives concerning therapy service are normally handed down by

Select, through the chain ofcommand,in the form of both written and verbal instructions. Select

actively encourages and pressures therapists, for example at Anchorage and Snow Hill, to

maximize Select's contract therapy revenues and to meet the company's targeted quota of the

frequency and duration of therapy services provided to each Medicare or Medicaid patient.

CommuniCare is aware of Select's corporate directives but proceeds to let Select manage the

therapy services at Anchorage and Snow Hill fraudulently, because CommuniCare benefits

therefrom, also receiving a portion ofthe contract therapy revenues. At all times relevant, White

Oak also knew ofthe fraud, permitted it and benefitted therefrom by receiving a portion of the

revenues.



        12.    In summary,first, Select routinely provides skilled care for patients based on

illegitimate, medically irrelevant, falsified, and non-CMS compliant standards. Select wrongfully

provides skilled care to Medicare patients at its facilities even if those patients do not meet the



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eligibility assessment standards to receive skilled care benefits and thus, are not truly qualified

for Medicare reimbursed treatment.

        13.     One critical way in which it facilitates fraud is by allowing off-site Select

administrators, sitting in their office without any opportunity to examine patients, to make

decisions directly related to the medical care of patients, including setting targeted therapy
                                                                                          (■




minutes for the facility and assigning levels of therapy to patients, in disregard of CMS

regulations. These administrators are under enormous corporate pressure to secure and report

high RUG levels for each patient any way they can and regardless of medical necessity. Upon

information and belief, these administrators are personally financially incentivized with bonuses

based on the level of therapy services provided to each patient, which incentivizes and

encourages much of the fraud at issue here. As a result, treatment decisions are not made in the

best interests and individualized medical needs of each patient.

        14.    For example, CMS provides explicit and unambiguous coverage determination

requirements for Medicare patients who need SNF care. Among other requirements and

limitations. Medicare expressly states that SNF benefits will not be covered for a patient who has

used all 100 days of coverage in the designated benefit period and/or for a patient who no longer

needs inpatient skilled care on a daily basis. In other words, if the skilled care is no longer

reasonable and necessary for the patient's condition. Medicare no longer covers SNF care for the

patient, and thus, Medicare will not make any reimbursement payments.

        15.     CMS also expressly states that if the patient clearly refuses daily skilled care, the

patient will lose his or her SNF benefits. In other words, if the patient is unable to tolerate skilled

care and completely refuses therapy, treatment should discontinue immediately and Medicare

will not cover SNF benefits for the patient.



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        16.      However,these eligibility standards are ignored by Select administrators.

        17.      Instead, Select administrators knowingly and intentionally interfere with

treatment decisions, to improperly assign medically unreasonable and unnecessary therapy to

patients, paying no attention to the patient's refusal to participate in therapy or status indications

ofthe patient's intolerance to therapy, so that the company can still bill Medicare.

        18.      In doing so, Select administrators supervising Anchorage and Snow Hill rely

heavily on therapy assistants to maintain their fraudulent scheme, although therapy assistants are

usually neither clinically licensed to assess patients nor provide actual patient therapy. Even

though Select administrators and the identified therapy assistants do not assess patients, do not

see patients, do not have exposure to the patient's status and their relevant medical needs, they

continue to automatically set high therapy minutes for patients without appropriate medical

justification.

        19.      Furthermore, Select administrators also routinely disregard doctor's orders and

override recommendations and suggestions oflicensed, treating therapists at Anchorage and

Snow Hill, including the Relators, who,unlike the Select administrators, work with patients on a

daily basis and are able and authorized to make clinical decisions. Select's fraudulent activities,

based entirely on dollar figures, result in an ever decreasing level of quality and care provided to

its Medicare patients

        20.      Second, Select knowingly falsifies medical records and patient assessment forms

submitted to its fiscal intermediary and to CMS,in order to up-code RUG levels(Resource

Utilization Group)and improperly increase therapy. Therapy progress reports, patient

evaluations, and plan oftreatment forms, all documenting patient symptoms,functioning and
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needs, do not accurately and truthfully reflect honest clinical assessments made by therapists

who actually work with the patients on a daily basis.

       21.     Instead, the fraud is purely associated with the financial motives of the

Defendants, in efforts to obtain overpayments from Medicare and Medicaid and avoid potential

cancellation of SNF benefits for patients. As a result, skilled care services and its related types

and lengths oftreatment and therapy are falsely and recklessly increased to allow for treatment

and/or a greater level oftreatment without the required clinical symptoms and medical necessity.

       22.     In practice. Select assigns its patients to the highest therapy reimbursement level

possible and engages in up-coding case mix data results, RUG rates, based on the Minimum Data

Set 3.0("MDS 3.0") assessments submitted to the Government. As an example, Select's

corporate office automatically assigns RUG rates at Ultra-High - the highest level oftherapy

minutes that can be provided to each patient, which converts to a classification system that

allows for a higher rate of Medicare payment - to over 95% ofits Anchorage patients, regardless

of medical need or a patient's ability to tolerate or benefit. The abnormally high number of Ultra-

High levels assigned to patients at Anchorage is not only statistically impossible, given the

demographics ofthe facility's location and the makeup ofthe facility and staffing, but is

clinically inappropriate.

       23.     The fraud also negatively impacts patients who actually need Medicare coverage

for other medical purposes, preventing them from receiving benefits to which they are entitled

and deserve. For example, Select routinely forces therapy services on and up-codes treatment

rates for patients who may no longer need skilled care. Patients are often exhausted of benefits in

that fraudulent process and are later denied at other medical facilities when they truly need health

care services. Even ifthe patients need hospice, need to be admitted to a hospital, or need to be



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treated at another facility for services covered through Medicare Part B,these patients are

informed that since they have used up all their 100 days ofcoverage in the benefit period(on

medically unnecessary SNF care)they are not qualified for any more coverage benefits.

        24.     Thus,the fraud puts patients at real risk of harm and ofnot getting medically

necessary coverage when they need it.

        25.     Third, Select also engages in strategic methods to continue its fraudulent practices

undetected. Select administrators deliberately keep tabs on when each patient is entering a new

assessment cycle, intentionally working around the assessment reference date("ARD")to assign

treatment minutes. Select ramps, or manipulates,therapy minutes in an attempt to submit to the

Government without raising any red flags that could be associated with maintaining the highest

level through the entire treatment period. It is a critical component in Select's scheme to avoid

fraud detection.


       26.     Furthermore, in order to avoid government inquiry and detection. Select

specifically instructs therapists at Anchorage and Snow Hill to schedule the therapy minutes in

non-overlapping increments. This allows the patients to be maintained at a certain high RUG

level for at least the five-day assessment reference period, so that in turn, Select will gain

excessive revenue from the contract therapy. "Classic ramping" at Select, which is typically

performed against doctor's orders or therapist recommendation,imposes serious medical

setbacks for too many patients at both Anchorage and Snow Hill and risks patient harm.

       27.     Finally, fraud is also committed through a documented set of broad corporate

policies and procedures, consisting ofinternal and external factors that impact the daily

operations of Anchorage and Snow Hill. Select's corporate office instructs and strictly monitors

its employees to follow corporate policies, exercised through both written and verbal directives.



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By personally setting the daily RUG levels for Anchorage and Snow Hill, the off-site Select

administrators micromanage the manner in which and the minutes for which therapists provide

treatment for each patient. CommuniCare typically allows Select to run Anchorage in this

manner, because CommuniCare is guaranteed a share ofthe contract therapy revenue. At all

times relevant. White Oak's attitude towards Select's fraud resembled CommuniCare's actions

pertaining to operating the therapy service system at Anchorage.

        28.     Clinicians, including the Relators, at Anchorage and Snow Hill are closely

supervised and monitored by off-site Select administrators to ensure that the facilities are closely

following the company's goals of maximizing its contract therapy revenue, directly profiting

from the government through various fraud and with disregard to whether patients are

legitimately eligible for skilled care benefits.

       29.      Through the fraudulent practices that have occurred and that still continue to

spread throughout the facilities, Select compels Anchorage and Snow Hill to bill the government

for patients who are not eligible for skilled care benefits and for high intense therapy that is not

reasonable or medically necessary, that patients expressly refuse and are unable to tolerate and/or

benefit from. As a result, Select receives a large surplus of payments from Medicare and

Medicaid,for which it is not entitled, should not keep, and should return but does not. Select's

corporate office is in charge ofthe billing system for the therapy services provided at Anchorage

and Snow Hill. Upon information and belief, CommuniCare knows about, permits and conspires

in Select's process in fraudulently billing the government for therapy services provided to

Medicare patients at its facilities. Upon information and belief, CommuniCare also eams a

percentage of the profit that Select collects from the fraudulently submitted reimbursements, paid

for by the government.



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        30.    All ofthe Defendants violate the federal and Maryland state FCA because they

knowingly submit and/or cause the submission offalse claims to the government, perpetrating

fraudulent acts in order to receive or aid in the receipt of payments for services purportedly

provided to patients insured by Medicare and Medicaid. Defendants' billing invoices to the

United States Government are based on false information in connection with improper eligibility

determinations of skilled care patients, fabrication of medical records and assessments to

intentionally up-code RUG levels,"classic ramping," and performance oftherapy that is neither

reasonable nor medically necessary, dangerously increasing patient risk and harm.

       31.     Thus,Defendants' fraudulent conduct impose a critical financial impact on

Medicare, Medicaid, and the government. The Federal Treasury and the State of Maryland have

been damaged in a substantial amount that is yet to be determined, but estimated at millions of

dollars, and continues to be wrongfully depleted.

       32.     The fraud continues to occur at the time of the filing ofthis Complaint. Relators

report this fraud to expose the unlawful actions in order to protect the patients they serve from

medical risk and danger, but to also provide safeguard mechanisms for unaware Medicare and

Medicaid patients that could be treated by Select and its related entities in the future.

                                                 PARTIES


       33.     The United States, through the Department ofHealth and Human Services

("HHS")and HHS's Centers for Medicare and Medicaid Services("CMS"),is the real party-

plaintiffin interest in this action. HHS's headquarters are located at 200 Independence Avenue

S.W., Washington, D.C., 20201. CMS's main office is located at 7500 Security Boulevard,

Baltimore, MD 21244.




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        34.    The State of Maryland is also a real party-plaintiffin interest in this action.

Maryland runs its state's Medicaid program (also known as the Medical Assistance program),

through its Department of Health and Mental Hygiene.

       35.     Plaintiff-Relator Michael Goebel is a resident ofthe State of Maryland. He lives

in Salisbury, Maryland. He is a licensed Certified Occupational Therapy Assistant("COTA"),

with 12 years of veteran expertise in geriatric and sub-acute rehabilitation care. Relatorjoined

Select in September 2010. He currently works at Snow Hill. He previously served as the

Program Manager at Anchorage for five years, providing health care services in his capacity as

well as evaluating patient functional outcomes, maintaining patient RUG levels, scheduling

patient caseloads, managing therapists and assistants, and attending interdisciplinary meetings to

ensure safe and timely discharge of patients. Relator has personal knowledge ofthe fraud

described herein. Prior to joining Select, Relator was employed in other rehabilitation service

facilities in the Maryland region, including Sundance Rehabilitation Center in Pocomoke City,

Genesis Healthcare in Salisbury, and Deers Head Hospital Center, also in Salisbury.

       36.     Plaintiff-Relator Bill Coleman is also a resident ofthe State of Maryland. He also

lives in Salisbury, Maryland. He is a licensed Physical Therapist("PT") with 19 years of

experience in physical therapy service. Relator joined Select in July 2015 as a full-time contract

employee. He served as Program Manager at Snow Hill, performing and documenting therapy

exams, evaluating data to diagnose patients prior to intervention, and monitoring patient

treatment at various stages to adjust treatment levels accordingly. He also worked at Anchorage

and John B.Parsons("JB Parsons").(JB Parsons is a personal care and assisted living facility

owned and operated by Harrison Senior Living). Relator officially resigned firom Select on

September 9,2016. He continues working as a PT, but for another, non-Select, facility.



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       37.     Defendant Select is a large national therapy service provider. Incorporated in

1998, Neal Deutsch is its co-founder and CEO and Anna Guardina-Wolfe is its co-founder and

President. Select is a private entity with a principal place of business at 2600 Compass Road

Glenview, Illinois 60026, and regional offices throughout the United States. Select employs a

variety oflicensed medical professionals and offers an array of contract rehabilitation services

within the post-acute care field,including physical, occupational, and speech language therapy.

Select contracts with facilities within 32 states across the U.S., staffing the branches with

therapists and also engages in the managing duties in order to provide contract therapy to its

Medicare patients. Anchorage and Snow Hill are both located in Maryland which is considered

Select's Mid-Atlantic Region, also comprised of Delaware, Pennsylvania, and Virginia. Select's

corporate office consists of about 50 employees. Select is reported to average revenue totaling

from about $1 million to $5 million per branch. Anchorage consists of about 300 employees. In

2016(between January and September), Anchorage alone made about $2 million in billings.

Approximately 97.7% ofthat revenue is connected to Medicare reimbursement payments. Snow

Hill, which is a smaller SNF than Anchorage, totaled about $800,000 in billings, between

January and October of2016. Approximately 99% ofthat revenue is connected to Medicare

reimbursement payments. Snow Hill has about 100 employees. At all times relevant, Select

employed Relators.

       38.     Defendant Anchorage is a private SNF registered with the State of Maryland.

Established in 2002 and located in 105 Time Square Salisbury, Maryland 21801, Anchorage is

larger than the average nursing home in Maryland, with 126 beds. It specializes in providing

both short-term and long-term rehabilitation and senior healthcare services for its patients.

CommuniCare holds ownership of Anchorage, providing nursing care to its patients. Anchorage



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contracts with an outside therapy provider company like Select to staff its facility with Select-

employees to provide therapy services to its Medicare patients.

       39.     Defendant CommuniCare is a national provider of post-acute care. Established in

1984, Stephen L. Rosedale is its founder and CEO. CommuniCare is a family-owned company

with a principal place of business at 4700 Ashwood Drive Blue Ash, Ohio 45241. CommuniCare

currently manages and operates 50 medical facilities, including skilled nursing rehabilitation

facilities, long-term facilities, assisted living communities,independent rehabilitation facilities

and long-term acute care hospitals, in five different states, Ohio, Maryland, Pennsylvania, West

Virginia, and Missouri. This includes Anchorage located in Maryland. In January 2016, after

acquiring Anchorage ftom White Oak, CommuniCare became the second-largest provider of

SNFs in the Maryland area, with 15 total facilities and nearly 2,000 beds. CommuniCare directly

hires physicians and nurses to provide long-term nursing care for its patients but allows its

facilities to employ therapists from outside provider companies in providing physical and

occupational therapy for its patients. As a result, through Select's contractual relationship with

Anchorage, Select can operate and manage Anchorage. Thus, CommuniCare is also responsible

for conspiring with Select to commit fi'aud at Anchorage, by establishment of corporate

directives.


       40.     Defendant White Oak is a mid-sized healthcare and senior services company

registered in the State of Maryland. Incorporated in 2006, White Oak is a private entity with a

principal place of business at 954 Ridgebrook Road Sparks Glencoe, Maryland 21152. White

Oak owns and operates 11 SNFs,six of which are located in the Maryland area. White Oak

owned and operated Anchorage from June 6,2007 to January 2016, until CommuniCare

acquired Anchorage in January 2016.



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                   FCA SUBJECT MATTER JURISDICTION & VENUE

       41.     This Court hasjurisdiction over the subject matter jurisdiction ofthis action

pursuant to 28 U.S.C §1331 and 31 U.S.C §3732. 31 U.S.C §3732 specifically confers

jurisdiction on this Court for actions brought pursuant to 31 U.S.C §§3729 and 3730.

       42.     Prior to any "public disclosure"(as defined by the FCA)and prior to filing this

action, Relators voluntarily disclosed to the United States Attorney's Office for the District of

Maryland on August 25, 2016 the information on which the allegations or transactions in this

complaint are based.

       43.     Through Relator Goebel's current employment and Relator Coleman's former

employment at Select, both Relators are an "original source" ofthe information on which these

allegations are based, within the meaning ofthe FCA.

       44.     This Court has personaljurisdiction over the Defendants pursuant to 28 U.S.C

§§1391(b)and 31 U.S.C §3732(a), because those sections authorize nationwide service of

process and because the Defendants have at least minimum contacts with the United States.

Moreover,the Defendants can be found in and transact business in Maryland in addition to

employing Maryland residents.

       45.     Venue lies in the District of Maryland under 28 U.S.C §1391(b)and 31 U.S.C

§3732(a)as the place where many ofthe claims arise.

       46.    The Government would not have known about this fraud, its details, and its

breadth and scope, without the personal knowledge provided by the Relators.

                                        BACKGROUND

       False Claims Act


       47.    The FCA provides, in pertinent part, that any person who:



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               (a)(1)(A)knowingly presents, or causes to be presented, a false or
               Fraudulent claim for payment or approval;

               (a)(1)(B) knowingly makes, uses, or causes to be made or used, a
               False record or statement material to a false or fraudulent claim;

               (a)(1)(C) conspires to defraud the Government by getting a false or
               Fraudulent claim allowed or paid; or



               (a)(1)(G)knowingly makes, uses, or causes to be made or used, a
               false record or statement material to an obligation to pay or
               transmit money or property to the Government, or knowingly
               conceals or knowingly and improperly avoids or decreases an
               obligation to pay or transmit money or property to the
               Government,

               is liable to the United States Government for any civil penalty of
               not less than $5,000 and not more than $10,000, as adjusted by the Federal
               Civil Penalties Inflation Adjustment Act of 1990(28 U.S.C.
               2461 note; Public Law 104-410), plus 3 times the amount of damages
               which the Government sustains because ofthe act ofthat person.

   31 U.S.C. §3729.

       48.     For purposes ofthe FCA,the terms "knowing" and "knowingly" mean that a

person, with respect to information-(1)has actual knowledge ofthe information;(2)acts in

deliberate ignorance ofthe truth or falsity of the information; or(3)acts in reckless disregard of

the truth or falsity ofthe information, and no proof ofspecific intent to defraud is required. 31

U.S.C. § 3729(b)(1).

       49.     The FCA defines a "claim to include any request or demand, whether under a

contract or otherwise,for money or property which is made to a contractor, grantee, or other

recipient ifthe United States Government provides any portion ofthe money or property which

is requested or demanded, or ifthe Government will reimburse such contractor, grantee, or other

recipient for any portion ofthe money or property which is requested. 31 U.S.C. § 3729(b)(2).



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        50.     Pursuant to the Federal Civil Penalties Inflation Adjustment Act of 1990, as

amended by the Debt Collection Improvement Act of 1996,28 U.S.C § 2461 (notes), and 64

Fed. Ref. 47099,47103(1999),the FCA civil penalties were adjusted to $5,500 to $11,000 for

violations occurring on or after September 29,1999.

        Medicare Proeram


        51.     Medicare is the federal health insurance program that was created in 1965 when

Title XVII of the Social Security Act was adopted. 42 U.S.C. §§ 1395, et seq. Medicare covers

people of age 65 and older, regardless oftheir income or medical history, providing for the

payment of hospital services, medical services, and durable medical equipment. Patients who

receive benefits under Medicare are commonly referred to as "beneficiaries." Medicare is

administered by HHS through CMS and the program extends to about 46 million Americans.

        52.     Medicare is divided into four major components,the first two of which are

relevant to this action. Part A pays for skilled nursing facility stays, inpatient hospital stays,

hospice care, and home health visits. Part B covers physician visits, outpatient services,

preventive services, and home health visits. Part C,the Medicare Advantage Program, allows

beneficiaries to emroll in a private health organization, such as a health maintenance organization

(HMO),and receive all Medicare-covered benefits. Part D is the voluntary, subsidized outpatient

prescription drug benefit.

       53.      Medicare Part A and B covers many of the services provided by skilled nursing

facilities("SNFs"),including those provided by the Defendants. By virtue oftheir participation

in the Medicare programs. Defendants agreed to be bound by the conditions imposed on it by

Federal and State laws, including not to make any knowing or reckless false statements in their

claims for payment from Medicare.



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       54.      Reimbursement for Medicare claims are managed through CMS,which contracts

with private insurance companies that operate as Part A/Part B Medicare Administrative

Contractors(MACs),to process reimbursement claims.

       55.      MACs issue written Local Coverage Determinations("LCDs"),in which all

Medicare providers imder their purview must comply. LCDs refer to "a determination by a fiscal

intermediary or a carrier under Part A or Part B, as applicable, respecting whether or not a

particular item or service is covered on an intermediary-or carrier-wide basis under such parts

..." See Section 1869(f)(2)(B) of the Social Security Act.

       56.      In short, the MAC accepts, reviews, and pays reimbursement claims under

Medicare Part A,including skilled care, and most claims under Part B,from providers that

furnish Part A services. Examples of payment under Part B include a patient, who is a SNF

inpatient, in which the SNF is responsible for furnishing all services within the scope ofthe

skilled care benefit. See Medicare Benefit Policy Manual, Chapter 1 - General Billing

Requirements.

       57.      In addition, the Administrative Simplification Compliance Act("ASCA")

requires that claims be submitted to Medicare electronically unless certain exceptions are met.

All service providers and suppliers, including SNFs,are required to self-assess whether they

meet certain permitted exceptions to this electronic billing requirement. In some cases however,

providers are required to submit a written request to their Medicare contractor to receive

permission to submit some or all oftheir claims on paper.

       58.      To be eligible to file a claim for payment with Medicare, SNFs are required to

establish an Electronic Data Interchange("EDI")agreement with Medicare - either by

submitting the CMS Form 855 or an Internet-based application via the Provider Enrollment,



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Chain and Ownership System.See Medicare Claims Processing Manual, Chapter 24- General

EDI and EDI Support Requirements, Electronic Claims, and Mandatory Electronic Filing of

Medicare Claims.

       59.     The agreement includes a "Certification Statement" section listing the

requirements that a provider must meet and maintain in order to bill Medicare. By signing the

"Certification Statement," the SNF agrees to adhere to the following requirements:

               1. I agree to notify the Medicare contractor of any future changes to the
                  information contained in this application in accordance with the time frames
                  established in 42 C.F.R. §424.516(e). I understand that any change in the
                  business structure of this provider may require the submission ofa new
                  application.

               2. I have read and understand the Penalties for Falsifying Information [...] I
                  understand that any deliberate omission, misrepresentation, or falsification of
                  any information contained in this application or contained in any
                  communication supplying information to Medicare [...] may be punished by
                  criminal, civil or administrative penalties, including but not limited to the
                  denial or revocation of Medicare billing privileges, and/or imposition offines,
                  civil damages, and/or imprisonment.

               3. I agree to abide by the Medicare laws,regulations and program instructions
                  that apply to this provider. The Medicare laws,regulations, and program
                  instructions are available through the Medicare contractor. I understand that
                  payment of a claim by Medicare is conditioned upon the claim and the
                   underlying transaction complying with such laws, regulations, and program
                   instructions (including, but not limited to, the Federal Anti-Kickback statute
                   and the Stark law), and on the provider's compliance with all applicable
                   conditions of participation in Medicare.

                   [...]

                6. I will not knowingly present or cause to be presented afalse orfraudulent
                   claimfor payment by Medicare, and I will not submit claims with deliberate
                   ignorance or reckless disregard oftheir truth orfalsity.(Emphasis added).

See CMS Form 855A.


       60.     The "Certification Statement" is executed by an "authorized official" on behalf of

the provider. An "authorized official" refers to an appointed official to whom the organization

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grants legal authority to enroll it in the Medicare program. The certifications in the agreement,

which are mandatory for Medicare enrollment, expressly create a continuing duty to comply with

the conditions of participation in and payment by the Medicare program. See CMS Form 855A.

       61.     The most basic requirement for reimbursement eligibility under Medicare is that it

will only pay for services that are "reasonable and necessary for the diagnosis or treatment of

illness ofinjury." Medical providers are not allowed to bill the Government for any expenses

incurred for medically unnecessary services or procedures. 42 U.S.C. § 1395y(a)(l)(A).

       62.     The medical necessity requirement applies not only to the fact oftreatment, but

also to the level oftreatment provided to the patient. Medicare will not pay for more expensive

services if only less expensive services are medically necessary.

       63.     SNFs seeking reimbursement under Medicare must also meet certain obligations.

These obligations include the following duties to:

              (a) Not make false statements or misrepresentations of material facts concerning
                  requests for payment under Medicare. 42 U.S.C. § 1320a-7b(a)(l)&(2);
                   1320a-7; 1320a-7a;

              (b) Provide economical medical services, and then, only where medically
                  necessary. 42 U.S.C. § 1320c-5(a)(l);

              (c) Provide evidence that the service given is medically necessary. 42 U.S.C.
                   §1320c-5(a)(3);

              (d) Assure that such services are not substantially in excess ofthe needs of such
                  patients. 42 U.S.C. § 1320a-7(b)(6)&(8);

              (e) Not submit or cause to be submitted bills or requests for payment substantially
                  in excess ofthe physician's usual charges for the same treatment or services.
                  42 U.S.C. § 1320a-7(b)(6)(A);

              (f) Certify when presenting a claim that the service provided is a medical
                  necessity. 42 U.S.C. § 1395n(a)(2)(B); and




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                (g) Not as a matter of billing policy waive co-payment amounts in violation ofthe
                    federal anti-kickback and self-referral statutes. 42 U.S.C. § 1320a-7a(a)(5); 42
                    U.S.C. § 1320a-7a(i)(6).

Medicaid Proeram


         64.    Medicaid was also created in 1965 under Title XIX ofthe Social Security Act.

Fimding for Medicaid is shared between the Federal Government and those states participating in

the program. Thus, under XIX of the Social Security Act,42 U.S.C. § 1396 et.seq. Federal

money is distributed to the states, which in turn provide certain medical services to the poor and

other eligible groups.

         65.    Federal Medicaid regulations require each state to designate a single state agency

responsive for the Medicaid program. In Maryland,the program is administered by the

Department of Health and Mental Hygiene.

         66.    The agency must create and implement a "plan for medical assistance" that is

consistent with Title XIX and with the regulations ofthe Secretary ofthe United States

Department of Health and Human Services ("the Secretary"). After the Secretary approves the

plan submitted by the State, the state is entitled each quarter to be reimbursed for a percentage of

its expenditures made in providing specific types of"medical assistance" under the plan. 42

U.S.C. § 1396b(a)(l). This reimbursement is called "federal financial participation"(FPP),

which gets recalculated each fiscal year.

         67.    Maryland requires all Medicaid providers to agree to the following among other

items:


         That all claims submitted under his, her or its provider number shall be for medically
         necessary services that were actually provided as described in the claim. The Provider
         acknowledges that the submission offalse or fraudulent claims could result in criminal
         prosecution and civil and administrative sanctions.

(Maryland Medical Assistance Program -Provider Agreement).


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National and Local Coveraee Determinations


       68.     Prior to completion of an initial EDI Enrollment Agreement and issuance of an

initial EDI number and password by the contractor, provider must obtain a National Provider

Identifier("NPI")number. Once the SNF obtains a Medicare provider number,it then submits its

claims to the MACs that process the claims for submission to CMS. At all times relevant to this

Complaint, upon information and belief, Select submits its Medicare claims for Anchorage and

Snow Hill to Novitas Solutions, Inc.("Novitas Solutions").

       69.     Novitas Solutions processes Part A and Part B claims for institutional providers,

physicians, practitioners, and suppliers in the State of Maryland. Most SNFs,including

Anchorage and Snow Hill, submit claims to MACs.See Who Are The MACS - CMS.

       70.     Compliant to CMS standards, Novitas Solutions issued a LCD covering Services

and Procedures in Nursing Facilities(#L34863).

       71.     The LCD requires that an initial and a periodic comprehensive assessment be

conducted for each patient, in order to institute a comprehensive care plan that meets the

patient's medical needs.

               The care plan must be developed and revised by an inter-disciplinary team that
               includes at least the attending physician and a registered nurse with responsibility
               for the resident. The components ofthe care plan are then documented on the
               physician's order sheet, which is signed by the physician and the nurse. The
               physician's order sheet is used to list the medications, diet, activities and hygienic
               needs of a resident of a SNF or NF. However,it has also been used to list various
               provider specialties which may render services and procedures for the resident,
               and various screening services which may be routinely performed on the resident.
               Provider specialties have often included audiology, optometry, podiatry,
               psychology, psychiatry, physical therapy and occupational therapy. Routine
               screening services have often included laboratory tests, electrocardiograms and
               portable chest x-rays. These so-called "p.r.n." or "standing" orders for care by
               other provider specialties and provision of routine screening services have
               resulted in considerable over utilization, and so are being addressed by this policy.
(#L34863).



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       72.     Furthermore, Novitas Solutions will not cover any service or procedure that is

performed on a patient of a SNF, unless:

              • The patient's attending physician evaluates the patient in person or evaluates
                the signs and symptoms ofthe patient described via telephone by the SNF and
                authorizes the order for the service or procedures; and/or
              • A named physician, whose attendance is requested only by the patient or the
                patient's interested family member or for the referral ofthe patient to another
                provider specialty.

       73.     All services must be reasonable and medically necessary and that the beneficiary

actually needs skilled care.

               In order to be covered under Medicare, a service shall be reasonable and
               necessary. When appropriate, contractors shall describe the circumstances under
               which the proposed LCD for the service is considered reasonable and necessary
               under Section 1862(a)(1)(A). Contractors shall consider a service to be reasonable
               and necessary if the contractor determines that the service is:

                  • Safe and effective;
                  • Not experimental or investigational; and
                  • Appropriate, including the duration and frequency that is considered
                    appropriate for the service, in terms of whether it is:
                        o Furnished in accordance with accepted standards of medical
                           practice for the diagnosis or treatment ofthe patient's condition or
                           to improve the function of a malformed body member,
                        o Fumished in a setting appropriate to the patient's medical needs
                               and condition,
                          o Ordered and fumished by qualified personnel,
                          o One that meets, but does not exceed,the patient's medical needs,
                          o At least as beneficial as an existing and available medically
                            appropriate alternative.

See Medicare Program Integrity Manual, Chapter 13 - Local Coverage Determinations
(emphasis supplied); See also #L34863.

       74.     CMS requires this LCD to be generally consistent with National Coverage

Determinations, although they can be more specific, and allows it to supplement existing

Medicare applicable National Coverage Determinations.




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       75.     In sum,to ensure that correct claims are submitted, Medicare requires that the

patient needs a service that must be ordered by a doctor and must be performed by a licensed

clinician, that the patient needs services on a daily basis, that the daily services can only be

provided on an inpatient basis in a SNF,that are ordered by qualified personnel, and that the

services and treatment are reasonable and necessary and are also consistent with the nature and

severity ofthe patient's medical condition, the patient's particular medical needs, and are

reasonable in terms of duration and quantity. See Medicare Benefit Policy Manual, Chapter 8-

Coverage of Extended Care(SNF)Services Under Hospital Insurance.

Skilled Nursing Facilities Coverase Under Medicare


       Overview


       76.     Anchorage and Snow Hill provide skilled nursing care to mostly Medicare Part A

and Part B patients. Part A ofthe Medicare Program authorizes payment for institutional care,

including SNFs. Part B ofthe Medicare program authorizes payment for outpatient services,

physician visits, home health visits, and preventive services. In addition to other limitations on

coverage, Medicare covers only those services that are "reasonable and necessary." 42 U.S.C. §

1395y(a)(l)(A).

       77.     Skilled nursing care or skilled therapy care provides an opportunity for patients

either to improve their condition or maintain their current condition but prevent or delay the

patient from getting worse. SNF care is health care given when the patient needs skilled nursing

or therapy staffto manage, observe, and evaluate the patient's care.

       78.     The purpose of skilled care is to help the patient function more independently and

assist with taking care oftheir health needs. The skilled nursing and therapy staff includes.




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physical and occupational therapists, registered nurses, and licensed practical and vocational

nurses. See CMS Booklet, Medicare Coverage of Skilled Nursing Facility Care.

        79.     Medicare will cover SNF care only ifthe patient meets the following

requirements:

                 • Patient has available days left in the benefit period;

                 •Patient has a qualifying hospital stay, which refers to an inpatient hospital stay
                  ofthree consecutive days or more,starting with the day the hospital admits
                  the patient as an inpatient, but not including the day the hospital beneficiary
                   leaves the hospital;

                 •Doctor ordered inpatient services for SNF care, including physical therapy
                   and occupational therapy;

                 •Patient requires skilled care on a daily basis and the services must be ones
                  that can only be provided in a SNF on an inpatient basis;

                           o The daily basis requirement is met when the patient needs and
                             receives therapy service on at least five days a week. Iftherapy
                             services are provided less than five days a week,the daily
                             requirement would not be met.

                 •Patient needs skilled services for:


                           o An ongoing treatment that was also treated during the qualified
                             three-day inpatient hospital stay,

                           o A new condition that started while the patient was getting SNF
                             care for the ongoing condition.

                 •Skilled services must be reasonable and necessary for the diagnosis or
                   treatment of the condition; and

                 •The patient receives skilled services in a Medicare-certified SNF.

See Medicare Coverage of Skilled Nursing Facility Care-CMS Booklet.(Emphasis supplied).

       80.      Medicare keeps track ofhow many days ofSNF benefits the patient uses and how

many are left after use. The "benefit period" begins on the day the patient starts receiving

inpatient hospital or SNF care.

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       81.     The patient can get up to 100 days ofSNF coverage per benefit period. Once the

100 days are over, the current benefit period must end before the patient can renew its SNF

benefits.


       82.     There is no limit to the number of benefit periods that a patient can have. But,

once a benefit period ends,the patient must obtain another three-day qualilying hospital stay and

meet the eligibility standards pursuant to CMS requirements in order to receive another 100 days

of SNF benefits.


       Skilled Care and Skilled Physical Therapy

       83.     Individualized SNF care for a patient, which includes both skilled nursing care

and skilled therapy care, is determined by daily assessments in the form ofa care plan. Stated

differently, SNF care is based on a patient's doctor's orders and daily assessments ofthe

patient's condition from those qualified clinicians on-site.

       84.     CMS requires periodic daily assessments, which document a patient's condition,

medical history, speech, decision-making ability, physical limitations, and activities of daily

living. The SNF uses the plan to manage the patient's care, as well as determine appropriate

reimbursement to the SNF.


       85.     As such,the first recorded assessment must be conducted within the first eight

days ofthe SNF stay, sometimes referred to as the "five-day assessment," during the five-day

assessment period. The first five days indicate the assessment reference date window, which are

the defined days when the SNF must set the assessment reference date. Medicare adds a few

extra days, totaling the first eight days ofthe SNF stay (days 6-8), referred to as grace days,

which is the date range when the SNF can set the assessment reference date without penalty.

Grace days apply only for scheduled assessments. Therefore, the assessment window includes



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the assessment reference date window plus grace days. Medicare also requires the SNF to record

assessments on days 14, 30,60, and 90 ofthe patient's covered stay to account for significant

changes in the patient's condition.

       86.     In addition, CMS also provides guidelines concerning skilled physical therapy

services to patients, which includes skilled physical therapy, occupational therapy, and

speech/language pathology therapy. Assuming all other requirements for coverage under the

SNF benefit are met, skilled therapy services are covered when an individualized assessment of

the patient's clinical condition shows that the patient needs the qualified services ofa licensed

therapist. Skilled physical therapy, in particular, must also meet all ofthe following conditions,

in order to be covered by Medicare:

               • Services must be directly and specifically related to an active written
                 treatment plan that is based upon an initial evaluation performed by a physical
                 therapist after admission to the SNF and prior to the start of physical therapy
                   services;

              • Condition ofthe patient must be ofa nature that requires the skills ofa
                physical therapist;

              • Services must be provided with the expectation, based on the assessment
                made by the physician of the patient's restoration potential, that the condition
                ofthe patient will improve materially in a reasonable and generally
                predictable period of time; or, the services must be necessary for the
                establishment ofa safe and effective maintenance program; or, the services
                must require the skills ofa therapist for the performance of a safe and
                effective maintenance program;

              • Services must be considered under accepted standards of medical practice to
                be specific and effective treatment for the patient's condition; and

              • Services must be reasonable and necessary for the treatment of the
                patient's condition, which includes the requirement that the amount,
                frequency, and duration of the services must be reasonable.

See Medicare Benefit Policy Manual, Chapter 8 - Coverage of Extended Care(SNF)Services

Under Hospital Insurance (emphasis supplied).

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        Breaks in Skilled Care


        87.       The patient's benefit period ends ifthe patient has not actually been in the SNF or

a hospital for at least 60 days in a row, or ifthe patient did not receive skilled care for at least 60

days in a row,even though the patient may still remain admitted to the SNF. Sometimes, a

patient admitted to a SNF for skilled care could be discharged from the SNF before their benefit

period ends. This break in SNF care affects Medicare coverage in various ways.

        88.       If a patient's break in SNF care lasts for less than 30 days, the patient is not

required to have a new three-day inpatient hospital stay to qualify for coverage of additional SNF

care. The current benefit period continues. Thus,the maximum coverage available would be the

number of unused SNF benefit days remaining in the current benefit period.

       89.        If a patient's break in SNF care lasts at least 30 days but less than 60, Medicare

will not cover additional SNF care unless the patient has a new three-day qualifying inpatient

hospital stay, among other requirements. The new hospital stay does not need to be for the same

condition that the patient was treated for during the patient's previous stay. Since the break is

still less than 60 days in a row,the current benefit period continues. Thus,the maximum

coverage available would be the number of unused SNF benefit days remaining in the current

benefit period.

       90.        If a patient's break in SNF care lasts at least 60 days. Medicare will not cover

additional SNF care unless the patient has a new three-day qualifying inpatient hospital stay,

among other requirements. The new hospital stay does not need to be for the same condition that

the patient was treated for during the patient's previous stay. Since the break in SNF care lasted

for at least 60 days in a row,the current benefit period ends and renews the SNF benefits. Thus,




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maximum coverage available would be up to 100 days ofSNF benefit in the patient's new

benefit period. See Medicare Coverage of Skilled Nursing Facility Care-CMS Booklet.

       Current Payment Methodolosv -SNFPPS


       91.     SNF claims submitted to the government and regulated at the Federal level,

require SNFs to adhere to the policies established by Medicare.See Medicare Program Integrity

Manual, Chapter 6- Medicare Contractor Medical Review Guidelines for Specific Services, Sec.

6.1


       92.     Medicare pays SNFs through its Prospective Payment System ("PPS"), which

refer to per diem rates based on the patient's condition as determined by the Resource Utilization

Group("RUG")level classification. This classification is categorized by the use of a medical

assessment tool, called the Minimum Data Set 3.0("MDS 3.0")report, and is required to be

performed periodically for purposes of Medicare payment.Id.

       93.     Each MDS report represents the patient's clinical status based on the patient's

Assessment Reference Date("ARD"), which is the established look-back period for the covered

days associated with the MDS reports. In other words,the ARD is defined as the specific end

point oflook-back periods in the MDS assessment process. It allows for those who complete the

MDS to refer to the same period oftime when reporting the condition ofthe patient. For SNF

PPS assessments, this date also determines payment. Medicare reimbursement claims are based

on the most recent clinical assessment,for all covered days associated with the MDS report. Id.

       94.     Under SNF PPS, covered SNF services typically include post-hospital SNF

services for which benefits are provided imder Part A and all other relevant items and services

under Part B.Pursuant to CMS regulations, all Medicare contractors are required to review

Medicare SNF PPS bills and accurately and honestly determine whether the SNF services are



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reasonable and necessary, delivered in the appropriate setting, and coded correctly, based on

appropriate documentation.Id.

        95.    Patients admitted directly to a SNF after a qualifying hospital stay are considered

to meet the level of care requirements defined in CMS,including the ARD for the 5-day

assessment, when correctly assigned to one ofthe RUG levels. CMS states that when the initial

Medicare required 5-day assessment results in a beneficiary being correctly assigned to one of

the RUG levels, this effectively creates a presumption of coverage for the period from the first

day ofthe Medicare covered services up to, and including, the ARD for that assessment. Id. at

Sec. 6.1.1


        96.    The existing administrative presumption ofcoverage allows Medicare contractors

to review the bill and supporting medical information to confirm the accuracy ofthe RUG level.

This involves determining that the furnished services and intensity ofthose services, as defined

by the billed RUG level, were reasonable and necessary for the patient. Id.

        97.    To correctly determine whether the patient was assigned to the appropriate RUG

level, Medicare contractors are required to verify that the billed RUG level accurately and

correctly reflects the MDS reports and other medical records including physician, ninsing, and

therapy documentation, and the patient's billing history, provided by the provider company. Id.

        98.    In sum,an accurate Medicare reimbursement payment determination requires

that:


              • the SNF submits a MDS report;

              • the SNF complies with the assessment schedule;

              • the patient meets the level of care requirement; and

              • services are reasonable and necessary.(In making a reasonable and necessary
                determination, it must be determined whether the services indicated on the

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                      MDS were actually rendered and were reasonable and necessary for the
                      patient's condition as reflected by medical record documentation).

/(i. at Sec. 6.1.4.


        Resident AssessmentInstrument(RAI)


        99.      In order for CMS to accurately administer Medicare reimbursement claims, SNFs

are required to submit patient assessments using the Minimum Data Set("MDS"), which is a part

ofthe Resident Assessment Instrument("RAI"). The RAI offers guidance for the SNF on

gathering patient information, including its strengths and needs, which must be addressed in an

individualized care plan. It also helps the SNF evaluate patient goal achievement and revising

care plans accordingly by enabling the SNF to track and monitor changes in the patient's

functionalities and symptoms. See CMS- Long-Term Care Facility Resident Assessment

Instrument 3.0 User's Manual(October 2015).

        100.     The RAI consists ofthree components, which includes the MDS report, the Care

Area Assessment("CAA")process, and the RAI Utilization Guidelines. The MDS report is a

core set of screening, clinical, and functional status elements, which forms the foundation of a

comprehensive assessment for skilled care patients certified to participate in Medicare.

Accordingly,the CAA Process is designed to interpret the information documented on the MDS.

Once a care area is triggered through this process, the SNF uses evidence-based clinical

resources to conduct an assessment ofthe potential problem and determine whether or not to

devise a plan of care for the patient. The CAA Process helps the clinician focus on key issues

identified during the assessment process so that decisions as to whether and how to intervene can

be explored with the patient. The RAI Utilization Guidelines provide instructions for when and

how to use the RAI. Id.




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        101.    It is critical that the SNF utilizes all three components ofthe RAI to recognize the

patient's functional status, strengths, weaknesses, and preferences. The entire RAI process is a

holistic method to conduct adequate and accurate assessment ofeach patient. Id.

        102.    Federal regulations require that the RAI process is conducted accurately, by a

registered health professional, who signs and certifies the completion ofthe assessment. In

addition, the assessment process must include direct observation, as well as communication with

the patient and direct care staff on all shifts. Most SNFs perform an evaluation shortly after the

patient arrives at the facility. Id.

Minimum Data Set


        103.    SNFs must assess the clinical condition of patients by completing the MDS

assessment for each Medicare patient receiving Part A skilled care for reimbursement under the

SNF PPS.


        104.    The information collected through the MDS assessment includes significant data

with regards to the patient's medical condition and expected needs. Among other uses, Medicare

requires SNFs to complete the MDS to qualify for reimbursement under SNF PPS. It is used as a

data collection tool to classify the Medicare patients into RUG levels, which in turn, corresponds

to the level of patient care that Medicare covers. Id.

        105.    The MDS assessment is supposed to serve as a comprehensive and accurate

assessment that identifies the patient's continuing need for skilled care, in order to meet his or

her medical, nursing, rehabilitative, social, and discharge planning needs.Id.

Assessment Reference Date


        106.    CMS also requires the SNF to set the Assessment Reference Date on the MDS

Item Set or in the facility software within the required timefi-ame ofthe assessment type being



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completed. The ARD refers to the last day of the observation (or look back) period that the

assessment covers for the patient. The look back period is important in the assessment process

because it is the time period over which the patient's condition is documented by the MDS

assessment. For example,the ARD for the Medicare-required five-day scheduled assessment

must be set on days one through eight. Id.

       107.    CMS requires that patients be assessed promptly upon admission (but no later

than day 14). Accordingly, the ARD must be set no later than day 14, counting the date of

admission as day one. In other words, the first day of Medicare Part A coverage for the current

stay is considered day one for PPS assessment scheduling purposes. Typically, the first day of

Medicare Part A coverage is the date of admission or reentry. Timeliness ofthe PPS assessment

is defined by selecting an ARD within the prescribed ARD window.Id.

       108.    While it is important for the SNF to conduct timely and prompt patient

assessments, CMS allows a number of grace days for each Medicare assessment, in certain

situations when an assessment had to be delayed. The grace period allows for more clinical

flexibility for the patient's medical conditions, in setting ARDs.The Medicare-required five-day

ARD can be extended with one to three grace days. Id.

       109.    The Medicare-required standard assessment schedule includes 5-day, 14-day, 30-

day, 60-day, and 90-day scheduled assessments, each with a predetermined time period for

setting the ARD for that assessment. It is critical that the SNF completes the assessments

according to the following schedule to assure compliance with the SNF PPS requirements:




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    Medicare MDS                                                   Assessment Reference   Applicable Standard
      Scheduled         Reason for Assessment      Assessment               Date               Medicare
    Assessment lype        (A0310B code)          Reference Date        Grace Days+         Payment Days'^
         5-day        '          01     ,         Days 1-5              -    6-8          1 through 14
        14-day                   02               Days 13-14                15-18         15through30
        •30-day.                 03'            " Days 27-29       '        30-33 ' ' 31 through 60
        60-day                   04               Days 57-59                60-63         61 through 90
      " 90-day              .    05             'Days 87-89"       •"       96-'93        91 through 100.


See CMS - Long-Term Care Facility Resident Assessment Instrument 3.0 User's Manual

(October 2015).

       Resource Utilization Group(RUG)Levels

        110.       CMS uses the information provided in the MDS to determine the case-mix

adjustment for each patient that is then used to calculate aper-diem payment under the SNF PPS.

Each patient is categorized into one of66 different case-mix adjustment classifications referred

to as Resource Utilization Group("RUG")categories, each of which has an associated payment

amount for a benefit period ofskilled care.

        111.       RUG levels are divided into the following rehabilitation categories:

                   • Ultra-High (a minimum of 720 minutes per week of therapy on at least five
                       distinct days)
                   • Very-High (a minimum of500 minutes per week oftherapy on at least five
                       distinct days)
                   • High(a minimum of325 minutes per week of therapy on at least five distinct
                     days)
                   • Medium (a minimum of 150 minutes per week of therapy on at least five
                     distinct days)
                   • Low(a minimum of45 minutes per week oftherapy on at least five distinct
                     days)

        112.       The RUG levels convert to a per-diem payment.

        113.       For example, a 2013 chart shows the average payment rates for each level of

therapy, directly referencing the therapy RUG levels to indicate for instance, an Ultra-High or a


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Very-High. Of note, this 2013 chart is illustrative of the therapy level terms that are also used in

the patient examples used as representative examples herein:


           Medicare Payment Rates per Day per RUG in FY 2013

                                                                                    Payment Rate
           RUG Category                    RUG          Therapy Level   ADL Score
                                                                                    per Day*

                                                    ItisiapyRUGs

                                           RUX          UCtra liigh                         S751

                                           RUL          Uttia hfgh      2te10               $734

                                           RVX          Ve;yhiglii                          S668

                                           RVL          Veiy hiistii    2To 10              $509
           RetiablCitauon Plus Extensive
                                           RHX          High            lltfllS-            $605
           ScTvlass
                                           RHL          High            2to10               $540

                                           RffiM        Medlami         1Ho16-              SS55

                                           RML          Mcdiium         2to 10              $509

                                           RLX          Low             2to16               $483

                                           RUC          UEtra high      lltolS-             $569

                                           RUQ          Ultra high      etoio               $569

                                           RUA          Ulitra high     OtoS                $476

                                           RVC          Very Sifigh     11 to 16-           $488

                                           RVB          Very Bii^h      GtolO               $423

                                           RVA          Very high       OloS                $421

                                           RHC          Hgh             11 to 16-           $425
           Rehabillilation
                                           RH3          Hugh            6to 10              $383

                                           RHA          High            OtoS                $337

                                           Rff.9C       Mctfuim         iitoi6*'            $374

                                           R?.m         McdEuan         Gtolo               $351

                                           r;.ia        MedDuan         OtoS                $289

                                           RLE          Low             11 to 16-           S363

                                           RiA          Lew             OtolO               3234




See HHS-OIG: The Medicare Payment System for Skilled Nursing Facilities Needs to be

Reevaluated (September 2015).

       114.     The following chart is from 2016, also showing the average payment rates for

each level of therapy:




                                                        37
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                      {FaBleS—RTJG-IV Case-Mix Adjusted Federal Rates and Associated Index

                                                                              Non-
                                                                              case-    No
                RUG-IV     Nursing Tlierapy       Nnrsing      Tlierapy
                                                                              TTllV
                Category   index      index      component component
                                                                             therapy   con

                                                                              comp

                RUX            2.67       1.87      $468.00       $246.90
                RUL            2.57       1.87       450.47        246.90

                RVX            2.61       1.28       457.48        169.00

                RVL            2.19       1.2S       383.86        169.00

                RHX            2.55      0.85        446.96         112,23

                RHL            2.15      0.85        376.35         112.23

                RMS            247       0-53        432.94         72.62

                RML            2.19      0.55        383.86         72.62

                KLS            2.26      0.28        396.13         36.97

                RUG            1.56       L87        273-44        246.90

                RUB            1.56       1.87       27344         246.90

                RUA            0.99       1.87        173.53       246.90
                RVC            1-51       1.28       264.67        169.00

                R\^            1.11       1.28       194-56        169.00

                RVA            LIO        1.28        192.81       169.00

                RHC            M5        0.85        254-16         112.23

                RHB            1.19      0.85        20S.58         112.23

                RHA            0.91      0.85        159-50         112.23

                KMC            1.36      0.53        23S.3S         72-62


See CMS Rule: Medicare Program; Prospective Payment System and Consolidated Billing for

Skilled Nursing Facilities for FY 2017, SNF Value-Based Purchasing Program, SNF Quality

Reporting Program, and SNF Payment Models Research (August 2016).

       115.    More than one-third ofthe RUG levels are for patients who require physical or

occupational therapy, like those admitted to Anchorage and Snow Hill. The more therapy the

patient receives, the higher the level of Medicare reimbursements.

       116.   A September 2015 Office ofInspector General report examining SNF billing

patterns between 2001 and 2013,reported that the use ofthe Ultra-High level ofrehabilitative

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therapy reimbursement increased from 7% of patient days in 2002 to 54% of patient days in

2013. Furthermore, between 2011 and 2013, the average number of Ultra-Highs increased from

21% to 34% and the Very-Highs rose from 12% to 22%. Meanwhile the Lows dropped from

14% to 12%.See HHS-OIG: The Medicare Payment System for Skilled Nursing Facilities Needs

to be Reevaluated (September 2015).

         117.   The increasing use of higher therapy levels, often without grounds for medical

justification, paired with annual increases to base payment rates(based on the market-based

index), is alarming because it directly results in rapid increases in average SNF payment

margins.

         118.   Setting RUG levels in the SNF setting and assigning appropriate therapy minutes

to each patient is a critical part of providing reasonable and medically necessary skilled care to

its Medicare patients. The process should be carefully carried out in accordance with Medicare

guidelines and in the best interests ofits patients, taking care to lessen any chances of risk or

harm.


        119.    National skilled care organizations including the American Physical Therapy

Association and the American Occupational Therapy Association, have raised and continue to

raise concerns about the increases in average SNF payment margins as a result of high RUG

rates. The organizations highlight that the roles oftherapists, nurses, and other involved licensed

clinicians are critical in the SNF setting, as they are projected to make assessments and

judgments in the best clinical interests ofeach Medicare patient. This is not being done at Select

facilities.




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                                  FACTS AND ALLEGATIONS


Select's Company Structure and Relationship to CommuniCare and White Oak and Relators'
Employment at Select, Anchorage, and Snow Hill


        120.    Select is a national contract therapy provider that contracts with medical facilities

and staffs them with physical therapists and occupational therapists. Comprised of various

licensed and certified health care professionals, the company delivers post-acute rehabilitative

services, including speech, occupation, and physical therapy, and long-term extensive nursing

care to over 600 clinical facilities, including SNFs, within 33 states.

        121.    According to papers filed by Select with the Office of the Illinois Secretary of

State, Neil Deutsch is its co-founder and CEO. Anna Guardina-Wolfe is a co-founder and

President of Select.


        122.    Select employs full-time physical therapists("PTs"), occupational therapists

("OTs"), and registered nurses("RNs")to staff and provide skilled care to the facilities that

contract with the company. Most skilled care clinicians employed at Select receive an hourly

salary and schedule a certain number of patient disciplines per week. Generally, these clinicians

see patients for an hour or so to provide set treatment minutes per day, evaluate ongoing medical

issues, and/or provide instructions to patients on handling new medical problems. When a

therapist is salaried, the level of care is not factored into the wage. Relator Goebel is a full-time

employee at Select. Relator Coleman was also a full-time employee at Select, until he resigned

on September 9,2016.

        123.   Select's corporate office consists ofregional administrators and staff members,

including Regional Managers and Program Managers, who are expected to follow and enforce

corporate management orders, even under unlawful circumstances. As a part ofits corporate

strategy to perpetuate fraudulent practices, Select hires a series ofindividuals to fill positions to

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manage and operate each ofthe branches. These are off-site administrators who never see

patients. Yet,they are the ones setting RUG levels for Anchorage and Snow Hill and making

clinical decisions on eligibility and on various skilled care for its patients.

        124.    Anchorage is owned and operated by CommuniCare and thus, management

decisions specifically concerning nursing care, including the billing process and patient

treatment, are made entirely by CommuniCare. On the other hand, all management decisions for

the facility regarding therapv treatment, including the billing process, setting RUG levels, and

assigning patient treatment minutes, essentially come from Select, though with the knowledge,

acquiescence and to the benefit of CommuniCare and White Oak.

        125.   In fact. Select's corporate office is heavily involved in running the day-to-day

operations ofthe facility, making clinical decisions pertaining to patients. Upon information and

belief, CommuniCare is cognizant of Select's daily actions, all of which carry no justifiable

clinical weight, but does not interfere with Select's operations because CommuniCare,as owner

of Anchorage, also earns a profit from the contract therapy revenues that Select and Anchorage

collects. White Oak expressed the same attitude when it was owner of Anchorage from 2006-

2016. In fact, upon information and belief. Select communicates constantly with CommuniCare

(and White Oak previously) concerning the management for the facility regarding therapy

treatment. As such, both CommimiCare and White Oak are also responsible for the fraud, as they

agreed to treat patients simply as sources of revenue,and financially benefitted from the

fraudulent conduct


        126.    Select's administrative hierarchy serves to operate and track the amount of both

Medicare Part A and Part B patients that receive skilled care for each branch, unreasonably at the

highest level possible to maximize Medicare reimbursement,regardless of patient need and



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medical necessity. Upon information and belief, Select further compensates the administrators by

rewarding bonuses.

        127.   A representative example points to the Regional Managers at Select, who

intentionally assign patients to the highest therapy reimbursement level possible, with their eyes

fixed merely on financial incentives. The fraudulent activities that continue impose dangerous

medical risks and harm to patients.

        128.   Relators at Select are supervised under Bobby Schaffer, Northeast Regional

Manager, who sets RUG levels and assigns treatment minutes at Anchorage, and Daniel Chesla,

Northeast Regional Clinical Manager at Select, who sets RUG levels and assigns treatment

minutes at Snow Hill. Both Mr. Chesla and Mr. Schaffer are off-site, licensed clinicians and as a

part of Select's corporate management, are typically supposed to exclusively handle

administrative matters. However,they set irrational daily percentages ofRUG levels that

clinicians are forced to meet and assign RUG levels to patients without appropriately evaluating

patients, essentially controlling how each therapist handles each patient caseload.

       129.    This creates huge risks for patients because both Mr. Chesla and Mr. Schaffer do

not have knowledge ofthe patient's status and the day-to-day needs ofeach patient. In fact, when

assigning RUG levels, these off-site administrators habitually override doctor's orders and

treatment notes provided by therapists, ignoring on-site, documented patient needs. In addition,

they also personally contact therapists directly via text message or phone calls to micromanage

and control patient discipline schedules and to order the clinical staffto automatically assign the

highest level oftherapy to patients they never examined.

       130.    Both Mr. Chesla and Mr. Schaffer report to Ed Luberski, Regional Vice President

at Select. Upon information and belief, Mr. Luberski established the case management index



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policy for Anchorage and Snow Hill. Mr. Chesla and Mr. Schaffer completely defer to Mr.

Luberski, issuing orders closely aligned with Mr. Luberski's corporate directives to Relators,

therapists, and nurses working at the facilities. For example, Mr. Schaffer sets the daily

discipline schedule at Anchorage. Therapists cannot start working on any given day unless and

until they receive the daily minutes from Mr. Schaffer. All three Select administrators are key

figures at Select, carrying out corporate fraud directives.

        131.    Select also hires therapy assistants, purposely putting them in charge at the

facilities, often to act as puppets to maintain and perpetuate the fraudulent scheme. For instance,

once Mr. Schaffer sets the therapy minutes, a therapy assistant like Bonnie McDaniel at

Anchorage plays the role ofa messenger between Mr. Schaffer and the Relators, to confirm and

enforce the corporate-set therapy minutes. Someone like Ms. McDaniel is often put in charge

because she is cheaper to hire than an actual therapist and less likely to buck the system and

question the directives of corporate management. Unlike the Relators, therapy assistants like Ms.

McDaniel rarely push back on management. She simply accepts the treatment minutes that are

set off-site by Mr. Chesla and Mr. Schaffer and enforces those minutes on-site and without

question.

        132.   Turning the evaluation period and RUG-setting process on its head, Relators often

hear the Regional Managers say that,"the next patient through the door will be an Ultra [(highest

RUG level)]" before that patient is known and identified and before he or she is ever examined

by anyone at the facility.

        133.   To keep up with the fraud. Select's employment policy is to first hire more

therapists and clinicians, and then build patient caseload to suit staffing, not the other way

around as it should be based on actual demand. This is possible for Select because the company



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predetermines every single patient, setting them at an Ultra-High or Very-High, no matter what

the circumstances. This practice is, if not already at its worst, more and more damaging and more

flagrant.

        134.   Relators are two veteran health care practitioners. Relator Goebel is a current full-

time employee at Select. Relator Coleman was also a full-time employee at Select until he

resigned in September 2016.

        135.   Before joining Select as an employee, each ofthe Relators accumulated almost 10

years of operations experience in the post-acute rehabilitation facility industry.

        136.   Upon employment at Select, Relators were subject to preexisting corporate

policies that violate Federal regulations, risking and causing serious patient harm.

Fraud at the Facilities Under Select Demand


Select Wronsfullv Provides Skilled Care for Patients who do not Meet Elisibilitv Assessment
Standards for Skilled Care Benefits


       137.    Select routinely and consistently systemizes improper SNF care for its patients at

Anchorage and Snow Hill, based on illegitimate, medically irrelevant, and non-CMS compliant

standards.


       138.    In efforts to provide therapy to all Medicare referred patients despite there being

no reasonable and medically necessary reason to treat. Select provides skilled care to patients

who do not meet the eligibility qualifications of SNF benefits, and therefore, are not truly

qualified for reimbursed treatment under the Medicare rules and coverage determinations.

       139.    CMS standards with respect to coverage determinations for SNF benefits are

expressly stated for provider companies like Select and the facilities it operates, including

Anchorage and Snow Hill. Providing skilled care to patients in accordance with the standards is




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critical to every patient's well-being to ensure they are receiving the right amount of

individualized skilled care for their condition.

       140.    The general patient admission policy at a typical SNF operating above board

would be roughly as follows: when a physician refers a patient to a SNF or assigns skilled care,

the SNF clinicians plan the patient's care accordingly. The doctor and the SNF clinicians work

together to review relevant patient assessments and records to decide what services the patient

needs and to determine how the patient's health goals will be met.

       141.    CMS requires that patient assessments are recorded periodically and the

documented assessments are used by the SNF to plan and manage the Start of Cares for each

patient. The first recorded assessment must be within the first eight days ofthe SNF stay, known

as the five-day assessment reference period. CMS also requires the SNF to routinely record

assessments on days 14, 30,60, and 90 ofthe covered stay and any other assessments that are

necessary to account for significant changes in the condition (until the patient is discharged or

has used all ofthe 100 days of SNF coverage in the benefit period, whichever comes first). The

patient assessment includes the patient's current physical and mental condition, medical history,

prescribed medications, and an evaluation of how well the patient is carrying out its daily living

activities, including bathing, dressing, eating, getting in and out of bed, moving around, and

using the bathroom, speech, as well as its decision-making ability and other physical limitations.
(

        142.   SNF care benefits continue for the patient, if the patient still needs inpatient

skilled care on a daily basis, ifthe patient has used less than 100 days ofcoverage in its benefit

period, and the skilled services are reasonable and necessary for the patient's condition.

       143.    However, Medicare coverage for SNF care benefits ends immediately ifthe

patient has used up all of its 100 days of coverage in the benefit period, ifthe patient no longer



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needs inpatient skills on a daily basis, and the skilled care is no longer reasonable and necessary

for the patient's condition.

         144.   Furthermore, CMS expressly states that ifthe patient distinctly refuses skilled

care, the patient will lose SNF benefits. CMS further states that ifthe patient is unable to tolerate

skilled care, treatment should discontinue immediately.

         145.   This CMS language is imambiguous.

         146.   But this eligibility assessment standard for skilled care is routinely ignored at

Select. The disregard for what patients really need, leads not only to the automatic addition of

therapy for 100% ofits patients but every single patient is at an Ultra-High or a Very-High RUG

level.


         147.   For example,if there are 26 patient referrals at Anchorage,20 ofthose patients

are set at Ultra-High and 6 are set at Very-High. Nothing lower. This initial classification has

nothing to do with the patient and his or her medical necessity. Instead, these RUG levels are

simply set based exclusively on the company's business and productivity interests as well as

reimbursement goals. In fact, setting RUG levels, which is considered a critical clinical

component to treating skilled care patients, is made off-site and before patient evaluations are

conducted. As a result, the patients at Anchorage and Snow Hill are subject to risk and harm, as

they are forced to receive treatment they cannot tolerate or from which they cannot benefit.

         148.   Select's fraudulent activities, based entirely on financial interests, results in an

ever decreasing level of quality and care provided to its Medicare beneficiaries at Anchorage and

Snow Hill. In fact, this year, Relators and at least one other clinician directly heard a Select

Regional Manager state the following: Select's philosophy is to get as much money out patients

right now,"before they go to heaven, home,or hospice."



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          149.           As a result, excessive and over-certification of Medicare patients who do not meet

the SNF care criteria are constantly being admitted to Select's facilities.

          150.           Financial figures obtained from a monthly "P & L Report" for Anchorage

indicates the massive amounts of contract therapy revenue that Select accrued in the course of

nine months in 2016. Select bills and Medicare pays for an estimated extra amount of$120,302

to $138,735 for FT,OT,and ST for the Anchorage facility alone. The following reports indicate

the contract therapy revenue that Select profited as a result of Medicare Part A,Part B,and

Medicaid payment from January 1,2016 to September 30,2016:

Contract Therapy Revenue at Anchoragefrom 1/1/2016—1/31/2016: $129^656.99


                                                           P & L Report
   Site(s) of Service:         Anchorage Nursing & Rehab Center
   Date Range:                 1/1/2016-1/31/2016
   Parameter(a):               Mileage Rate: 0; Overtime Calculation: 4QHRS/WK


   Site of Service:            Anchorage Nursing & Rehab Center
   Conb^ct Therapy Revenue                                                       OT               .3T                 Total
      Pfiar Month Revenue Adjustnienls                                                                                  ($37.10)
      Insurance                                                     Si.455.30         $1,435.70           $63.70       $2,954.70
      Medlca'd                                                      $5,033.04         $3,733,80          $901.60    . $10,268.44
      Medicare B(Novil3sJL}(NeMPPR)                                $30,856.14     $15,251.55            $1,410.45     $47,518.15
       Medicare Part A                                             $34,704.02     532,648.69      ' $1,60a09          $68,952.80
   Contract Therapy Revenue Subtotal                               $72,648.50     $53,069.7$            $3,975.84   $129,656.99




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Contract Therapy Revenue at Anchoragefrom 2/1/2016-2/29/2016: $126,156,43

                                                           P & L Report
  Site{s) of Service:         Anchorage Nursing & Rehab Center
  Date Range:                 2/1/2016-2/29/2016
  Paranieter(s):              Mileage Rate: 0; Overtime Calculation: 40HRSA/\/K


  Site of Service:            /Anchorage Nursing & Rehab Center
  Contract Therapy Revenue                                        PT                    OT                ST                  Total
      Prior Month Revenue Adjustments                                     S23.38               $30.19                          ($139.63)
     HMO Skilled Other                                                   $396.90              S343.00                           $739,90
     Insurance                                                         $1,925.70             $1,847.30          $220.50        $3,993.50
     Medicaid                                                          S5,1S9.70             $3,042.90          $622.30        $8.824.90
     MedfcareB (NovitasJLHNo MPPR)                                 S24.228.85            $12,855.61            $2,148.40      $39,232.86
     Medicare Part A                                               537,439.15            $35,252.09             $813.67       $73,504.90
  Contract Therapy Revenue Subtotal                                $69,173.68            $53,371.09            $3,804.87     $126,156.43




Contract Therapy Revenue at Anchoragefrom 3/1/2016-3/31/2016: $136,007,25

                                                            P & L Report
 Slte(s) of Service:          Anchorage Nursing & Rehab Center
 Date f^nge:                  3/1/2016-3/31/2016
 Paranieter{s):               Mileage Rale: 0; Overtime Calculation: 40HRS/WK


 Site of Service:             Anchorage Nursing & Rehab Center
 Contract Therapy Revenue                                         PT                -   OT                 ST                   Total
    prior Month Revenue Adjuslments                                      $461,47                $446.34                               S333.81
    HMO Rugged                                                           $212.50                S277.89           $114.42             $60460
    Insurance                                                           $5,948.60             S6.073.06           $426.30       $12,447.96
    Manned Care Part S(MGB)                                             $1,229.42             31,503.97                         ,$2,733.39
    Medicaid                                                            $4,792.20             $3,146.78          $1,430.60       $9,369.78
    Medicare B {NovitasJL}(No MPPR)                                    529,865.59            $25,639.50           $241.62       S5S,74a71
    Medicare Part A                                                    $26,592.00            $26,500.64           $810.86       $53,903.50
    Workers Comp                                                         $426.30                $441.00                               $867.30
 Contract Therapy Revenue Subtotal                                     $69,528.08            $64,029.17          $3,024.00     $136,007.25




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Contract Therapy Revenue at Anchoragefrom 4/1/2016-4/30/2016: $138,735,11

                                                           P & L Report
 Site(s) of Service:          Anchorage Nursing & Rehab Center
 Date Range:                  4/1/2016-4/3Q/2016
 Parameter(s):                Mileage Rate; 0; Overtime Calculation: 40HRS/WK

 Site of Service:             Anchorage Nursing & Rehab Center
 Contract Therapy Revenue                                        PT- -                       or                    V-8T-., r.-- -             Total
    Prior Month Revenue Adjustments                                    <5110.10)                   (545.12)                  $241.62           ($619.20)
    HMO Rugged                                                                                     S201.S0                                      5201.60
    Insurance                                                       $3,660.30                     53.635.80                                    $7,298.10
    Manned Cane Part B <MG8)                                        $2,107,66                     52.532.72                $1,029.01           $5,669.58
    Medici                                                          S7.154.00                     $8,707.30                  S735.(K)         $16,596.30
    Medicare 9(NouitasJL)<No MPPR)                                 524.479.74                 S24.904.49                   $1.20a60           SSO.569.63
    A^edlcare Part A                                               527.972,19                 $27,950.99                   $1,955.62          $57,878.60
    Workers Cocnp                                                        5588.00                   S534.10                                     £1,122.10
 Contract Therapy Revenue Subtotal                                 $66,647.98                 $68,421.88                   $5,170.85      $138,735.11



Contract Therapy Revenue at Anchoragefrom 5/1/2016-5/31/2016: $138,355.06

                                                           P & L Report
   Sitets) of Service:         Anchorage Nursing & Rehab Center
   Date Range:                 5/1/2016-5/31/2016
   Paranieter(s):              Mileage Rate: 0; Overtime Calculation: 4DHRS/WK

   Site of Service:            Anchorage Nursing & Rehab Center
   Contrael TNtrapy Revenue                                       PT                 - -   . OT                      ST                   Total
       Prior Mcnlh Revente Adjustments                                                                                                        (S483.O0)
       HMO Rugged                                                           S21.«]                                                              521.00
       insurance                                                       $4,706,94                  54.521.72                                   $9,228.66
       Managed Care Part B(MGB)                                          S345.72                   .5343.64            ■    $242,12            $931.48
       MO Mecicaid                                                     $5,635.98                  S6.636.34                 5441.00       $12,773.32
       Medicare B(NovilasJLKNoMFPR)                                 $25,547.61                $18,454.70                    $181.09       $44,193.40
       Medlears Part A                                              $35,849.27                534.373.73                   31,447.20      $71,6R).20
   Contract Ttorapy Revenue Subtotal                                $72,106.52                S644D0.13                    $2,311.41     $138,335.06



Contract Therapy Revenue at Anchoragefrom 6/1/2016-6/30/2016: $120,302.72

                                                             P & L Report
  Site(s) of Service:          Anchorage Nursing & Rehab Center
  Date Range:                  6/1/2016 - 6/30/2016
  Paramefer(s}:                 Mileage Rate: 0; Overtime Calculation: 40HRS/\/VK

  Site of Service:             Anchorage Nursing & Rehab Center
  ContiBct Therapy Revenue                                             PT                         or          "■             ST                       Total
      Prior Month Revenue Adjusbnents                                                                                                                  (S12&80)
     Insurance                                                              $2,852.86                  $2,597.00                                       $5,249.86
     MD Medicaid                                                            $4,543.28                  $3,284.96                   $499.80             $8,328.04
     Medicare B(Nov;tasJL)(NoMPPR)                                       $23,718.35                  $15,497.03                   $1,088.54           $40,303.92
     Medicare Part A                                                     $33,630.56                  $31,277.22                   $1,641.92           $56,549.70
  Contract Therapy Revenue Subtotal                                      $84,545.05                  $52,656.21                   $3,230.26       $120,302.72




                                                               49
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Contract Therapy Revenue at Anchoragefrom 7/1/2016- 7/31/2016: $123,697,44

                                                            P & L Report
 Site(s) of Service:          Anchorage Nursing & Rehab Center
 Date Range:                  7/1/2016-7/31/2016
 Parameter(s):                Mileage Rate; 0; Overtime Calculation: 40HRS/WK


 Site of Service:             Anchorage Nursing & Rehab Center
 Contract Therapy Revenue                                         PT                 OT                8T                      Total
    Prior Month Revenue Adjustments                                      S126.22            5153.93                                 $329.1£
    Insurance                                                           $3,557.40         $3,366.30                                S6,923.7C
    MO Medicaid                                                         $2,675.40         53,433.92            5499.80          56.609.12
    Medicare B(Novla$JL)(NoMPPR)                                       537,535.50        $25,914.86           $1,833.31       565,083.77
    Medicare Part A                                                    522.375.31        $21,378.51            $997.88        S44,751.7C
 Contract Therapy Revenue Subtotal                                     $66,289.91        $54,247.54           53,130.99      $123,69744




Contract Therapy Revenue at Anchoragefrom 8/1/2016-8/31/2016: $129,811.19

                                                           P & L Report
  Site(s) of Service:         Anchorage Nursing & Rehab Center
  Date Range:                 8/1/2016-8/31/2016
  Parameter(s):                Mileage Rate: C; Overtime Calculation: 40HRS/WK

  Site of Service:            Anchorage Nursing & Rehab Center
  Contract Therapy Revenue                                        PT                OT                ST                   Total
      Prior Month Revenue AcQuslments                                                                                        (S9Z40)
     Insurance                                                         $1,368.03         S1.308.30            $58.80        S2.736.18
      MD Medicaid                                                      $5,308.66         S3,94Z54             $58.80        $9,310.00
      Medicare B(NowtasJL)(No MPPR)                                536,092,08        $23,828.33            S2.047.40       $61,957.81
      Medicare Part A                                              $28,141,52        $27,084.03              5675.06       $55,900.60
  Contract Therapy Revenue Subtotal                                $70,900.34        856,163.20            $2,840.06      $129,611.19



Contract Therapy Revenue at Anchoragefrom 9/1/2016-9/30/2016: $126,706.66

                                                           P & L Report
   Site(s) of Service:         Anchorage Nursing & Rehab Center
   Date Range:                 9/1/2016 - 9/30/2016
   Parameter(s):               Mileage Rate: 0; Overtime Calculation: 4aHRS/WK

   Site of Service:            Anchorage Nursing & Rehab Center
   Contract Ttierapy Revenue                                      PT                OT                ST                   Total
       Prior Month Revenue Adjustments                                  S219.60           S217.16                            3436.75
       Insurance                                                       S1.771.84         $1,676.80          5455.70         $3,903.34
       Manned Care Part B(MGB)                                         $1,405,18         $1,387.22                          $2,792.40
       MO Medicaid                                                     S2.940.SS         $1,749.30                          S4.69a26
       Medicare B (NovitasJLKNo MPPR)                              333.010.00        $24,176.02            $2254.37        $59,440.39
       Medicare Part A                                             $27,716,79        $27,052.74             SS7326         $55,443.50
   Contract Therapy Revenue Subtotal                               $67,06439         $56,256.23            $3,384.03      $126,706.66




                                                                  50
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          151.   Over the course ofthe nine months, at Anchorage alone, Select collected over $1

million in contract therapy revenue, in which Medicare paid for as a result offalsely submitted

claims.


          152.   Successful admissions of all referrals and automatically assigning high therapy

levels to those patients, regardless of whether the patient will benefit from or tolerate treatment,

not only yield high financial revenues for the company, but also for Select administrators, who

are strongly motivated by personal incentives. Upon information and belief. Select

administrators receive bonuses based on the level oftherapy services provided to each patient.

          153.   Furthermore, upon information and belief, CommuniCare and White Oak, as

current and past owners of Anchorage respectively, also receive and used to receive portions of

the profit Select earns. Therefore, CommuniCare is, and White Oak was,less inclined to interfere

with Select's brazen activities.


        154.     In summary, Mr. Schaffer and Mr. Chesla micromanage Anchorage and Snow

Hill to carry out Select's policy and procedures, setting RUG levels and treatment minutes for

patient therapy and initially assigning patients to the Ultra-High RUG level and keeping them

there, even if the patient no longer needs inpatient skills on a daily basis and the skilled care is no

longer reasonable and necessary for the patient's condition. As a result, Select submits false

claims for patients who do not meet CMS eligibility assessment standards for skilled care

benefits.


        155.     Relators provide the following as representative patient examples to illustrate the

fraud in which Medicare is unlawfully billed for patients that are assigned treatment minutes not

reasonable and necessary for their condition as well as for therapy not rendered but still

documented and for circumstances in which the patient clearly refuses skilled care and/or the


                                                  51
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 patient is unable to tolerate skilled care. Select demonstrates clear intent to commit fraud by

 forcing therapy upon these patients because compliant to CMS standards, patients are no longer

 subject to skilled care for therapy they refuse, unable to tolerate or impossible to benefit from.

 Patient R.HJ

              156.    By way of example, Medicare Part A patient R.H.(birth year 1947)began his

 Start of Care on or about January 20,2016 at Anchorage. Primarily diagnosed with non-pressure

 chronic ulcer of heel and mid-foot and chronic obstructive pulmonary disease, the patient was

 assigned therapy focused on increasing muscle strength and functional mobility.

              157.    During treatment however,the patient stated he was ready to go home and that he

 did not want to stay at Anchorage. He refused further therapy, complaining of pain. In fact, the

 patient's medical records entitled "Physical Therapy Treatment Encounter Notes" indicate that

 his functionality stayed about the same during treatment, showing no marked improvement, and

 that he had asked for therapy to be discontinued a number oftimes:


                                                              Physical Therapy
                                                         Trsahnent Encounter Noto(o]
  Pfoiidder     Anchw^ge Nursing & Rehab Center


   WenUflcaticn (nforwirtian

  Petient:




  Date of Service: 3/24/2016
  Sumoiary bf$kiH                         •

   97530                97530; 9Up>3lt 8up. stattd pfvot bsd^WC Mlri A. Pt to! eitting In WC epprcgt 30 mina. sit'!>8tand min A,stand pivot
                        WC>tMd Max A. slt>8up 8tp.
   Commanto             Subjectlvs/Objectivs: Pt to! tx poorfy due to d&c psrtioipetlon imt few txa.




'To protect patient confidentiality, no patient names or full dates of birth are used herein.
                                                                         52
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Date of Service: 3/23/2016
Sumntp^ ofSft}!! .    ■                                                                          •




 97530                    97S30: Eduoitad pt on benefits of partldpatlng In U^gstVng OOB.
 Comments                 SubJ^tive/Ob]ectl\«: Pt refused Ix states,"! just don't oare anymore"



|Date of Service: 3/22/2016
^ummafyofSliill             '-
 97630'                   97530: Educated pt severe! times on t}er^t3 of partlclpatlonfoetting OOB.
 97110                    97110; Pt tol scifit x30 mins to Inc strength to dee risk for fell,
 Comments                 Subjective/Objective:"Just leave me alone, I'm leaving on Friday"


             158.    Here, patient R.H. refuses physical therapy stating,"I just don't care anymore,"

and "Just leave me alone, I'm leaving Friday."

             159.    Similarly, the patient's "Occupational Therapy Treatment Encounter Notes"

indicate that his functionality also stayed about the same during treatment, showing no marked

improvement, and that he had expressed his desire of being discharged number oftimes:


                                                                 Ocoupatlonal Therapy
                                                            Treatment Encounter Note(s)
 Provider.     Anchoraga Nursing & Rehab Center



Date of Service; 1/29/2016
SuninmyqfSklH               ■■      .
                                                                                                  ^ '■ !-        ' • ' ' : V.-' '' ' '■
 97930                    97530: Pt end therapist partlclpsted In leisure activity needed for Increased participation in desired leisure tasks.
 97110                    97110: Pt completed (JE exerclaea w/ 3 lbs doyvel and against gravity to work en sirengtti and endumnce needed
                          completing morning ADL routine In a timely fashion.
 Comments                 Subjective/Objective; R stated "I want to go home" and pt slated that hefeels like he Is reedy to go home.


Date of Service: 1/27/2016
Surpffiary 61SHiH         , .
                                                                          'I - \
                                                                                      r-        : -1..             :
 97530                    97530: Functional transfers: sit to stand x 1 w/ supervision to ensure safety. Pt ambulated w/ rollator up to 75 ft x 2 w/
                          supervision to work on ambulating to bathroom. Pt was educated In pi's rights of the facility end his options for possibility of
                          going horns.
 97110                    97110: Pt compteled bleep curls w/ 4 lbs dowel and fine motor activities w/ milk and slrff# needed for completing lADL
                      tasks at home.
 Commonts             Subjective/Ob]ecl!vs; Pt stated he v/anted to go home and did not want to stay at the facility. The pt seemed to be In a better
                      mood after speaking w/ the doctor.




                                                                             53
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        160.    Here,Patient R.H. refuses occupational therapy stating that he wants to go home

and does not want to stay at the facility.

        161.   CMS requires that ifthe patient refuses daily skilled care or therapy, the therapy

must discontinue at the patient's request and thus, the patient loses Medicare SNF coverage and

the SNF is unable to bill for the skilled care.

        162.   Here, despite patient's refusals, Select up-coded the patient as an Ultra-High and

Very-High during the entire time he was admitted, which was unreasonable and not medically

necessary.


        163.   For the majority ofthe therapy, even though the patient refused, he still received

the outrageously high number of treatment minutes. In fact, the patient was billed for 105

treatment minutes ofphysical therapy and 100 treatment minutes of occupational therapy, which

brought the patient to 3 I/2 hours oftreatment per day. Patient R.H's service log matrix for both

PT and OT indicates as such:




                                                  54
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                                                                                                        Service Log Matrix(PT)
Ste Of Scfvics:     Antoage Nirang & Rehab Cenier                                                                                  Race Of Resilience:             Sailed Nurting Faolity                                   Sbvicc Dates:                   02/01/2016 - 02/29/2016
Patient Name (Last, First)                                           , MRNNO..                    HICN/Pc^cyNo.                          Physidan                                         Med Dx Onset                  50C               SOCVi^                        Status

                                                                           93505                        21W64U3a                         Nalessn, l/sha                                       1/13/2016            I/20/2O16                  20                           Acbve

                                                                     ffcft-prsEaretJL-DTK liter of ixEpiaifeJ heel will mtfcotffWunsosGfeJseverty. WilConal Oiasncsis [I73X0,G99.0,125.810,125.10,
Prinury Ked.Dx & Onset: IS7.409-01/13/16                             J44.9,110, Eli.S 1
Treatment Dx 6(^iset:          R26.2 - 01/20/16                      Oinia6tylnttailafl(},n6tel5e.vh«?c!sSfied. WMonsi Diajnceis IM62.81]

Code Svc. Desoifititm '          1         2        3        4          5      6    7      8         9      10       11       12       13   14   15       16 17             18       19 30         21     22       23       24       25       26       27   28    28        3Q     31 T«t

97110   T1wk<iCC ecTOR           IS       35        2G       20        35                           50       70                20                 35       is       30       20                            40'      25       35       SO       30                  2S                    520

        vsii                    KA       .'A       KA       KA        KA                           KA       KA                KA                 KA       KA       l«       KA                            »        KA       KA       KA       KA                  KA

97126   5w!rf«w4ra?7r            3C                 15       IS        20                           25       15       15       15                 15       IS       IS       15       15                   10                         15       15                  IC                    273

        Vhfl                    KA                 KA       W         KA                           KA       KA       KA       KA                 KA       KA       MK       KA       KA                   KA                         KA       KA                  KA

97SJ0   I><rc»»ic artvtfw        15       30        AC       rc        15                 IS        30                2C                                                     IC       30                            15       15       10       10                  IS                    310

        «sai                    KA       XA        KA       KA        KA                 KA                          KA                                                     KA       KA                            KA       KA       KA       KA                  KA

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TSerapifl c»-5y!a«e"            LG       IG        IG       IG        IG                 IG        iC       IG       LG       IG                 IG       LG       IG       IG       LG                   IG       15       (C       LG       LG                  LG

PMOiy                            li        15       16       1)        Is      15         22        22       2?       2-       25            V    72       S        K        31       32      33   34      35       3C       37       33       30      40   •41

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To^        Based Mimaa           6;        85       75       n         7."                15       IIG       2        3-       35                 s:       50       45       «<       45                   5C       40       SIi      55       55                                     1105

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rps isAs ^     .                     (         4        5        5         5                  1         7        2        2        2                  3                 J        3        3                    3        3        J                 4                   2                  72

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PayerSouriB                    m                   KCA      MCA m                        flCA      KA       14CA     I-SC MCA                    no       lICA     KCt      MCA      VGA                           MCA      Ma ASCA           Ma                  MCA                '




                                                                                                                          55
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                                                                                                  Service L(^ Matrix(OT)
Ste Of Setvicg      Anchofagc fJurslrg & Rehab Center                                                                     Place Of Rc^ence:              Sdllad Nursing Fadlity                               Service fots;                 02/01/2016 - 02/29/2016
[patient Nanie(Le^.First}                                     HRHfto.                       KICNI Polity Ko.                   Physician                                      Med Px                      SOC               SOCVl^ls                      Status
                                                                    93S0S                         219464113d                   Natesan, Usha                                     6/8/2015            1/2Q/2016                 29                         Active
Primarv Ked.Ox SiOnset:          W.9-0&W1S                 Ogwucot6truc0vepii'"oiafydlsea«.uftsp«ifial. Adittional O-agficsis [I7i(», F32-9,146.91 ]
Ttcatment Ox & Osseb             M62.91 • 01/20/16         MuKJeweaiiieB(giSKraaaed]

Code    Svc Pesdiption             1     2    3      4        s        6      7     8         9       10    11       12      13   14   IS       16 -13         18 .19            20    21   22       23       24       25     26       27   28   29 .30            31   Tot
97110   TteapeuBt esatisB          X     50          10      «                      X         45       35                               35       20       15                                 29       IS       35              SO                                        4X
        Vistl                     MG    f»         a        a                      KK       K1        KK                               iOC      >C<      KK                                 KK       KK       KK              FU
97112   rwtnixiTat reei«aOT                          IS                                                                                                   15                                                                                                              X
        Vistt                                      a                                                                                                     KK                                                                                                                -




97S30                              30                30      XI       30            25       4C              35       40                IS       30             X        X                   X        35       15       15                                               4CC
                                  M5               a        a        f£            nc       BR              KT       KX                KX       KK             IX       KK                  >X       KK       KK       KK
9753S   M"amRan^ement cvTiirq            15          15               ■<3           15        U                                                           15    15                                                      33                        K                      215
        VfiiU                           R1         a                 6             d:       154                                                          a
,
                                                                                                                                                               KK                                                      KK                        KK
        ToUPfimiti^Kst]            60    65        70        70       70           70       100        35   35       40                 SO       50      45    45        30                  SO      50       50       SO      SO                 50                    1135

 Thazpic Co-Slgntcrs              B.                                               a         a        a     a        a                 a        a        a     a        a                   a        a        a        a                         a
PPSDsy                             I<    15   IS     17      16       IS            21        22       23    24       75     2i   27    26       z        X     31       32      33    34    15       36       37              X       40   41    42
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Concurnstlmctaent HlAutcs
GiMp TrettJBtnt Kinuus'
Total rme ■      <4.-&X2i'         69    es          75      73       70            70       100       35    35       40                50       S}       45    45       X                   59       50       SC       B      itj                X                     1U5
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                                  290   375        31S      325       335          345       330      415   380      3SD               260      210      220   2X       22C                 22C      270      7S       zx     7S                 250
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WaKj                               I     1           1        1           J         1             t     1        1    1                  1        1       I         1        1               1        1            1    1          1                  1                   21
Xbvci Soum                        HCR   KCA        HO      HO KA                   KO       HCA       KC4   K4 Ktt                     KC4 ro HCA                       KCA                 HC4 HC*. HOS HO                   SCS-               I4£A




("RU" refers to Ultra-High and "i?F' refers to Very-High)

                164.            According to the patient's medical records, there were occasions in which the

therapy was discontinued for the day as a result of the patient's absolute refusal. Upon

information and belief, Select nevertheless instructed the patient to be up-coded to the highest

RUG level possible. The assigning therapist would then record and document various nursing

functions to justify the RUG levels. For example, assisting the patient to the restroom or helping

them walk down the hallway is considered a nursing function and thus, should be billed

appropriately. In other words, while it is normal for therapists to carry out some nursing

functions on occasion, none of this should be billed as a therapist function. However, Select

instructs the therapist to do so, so that it looks like the patient participated in the therapy in some

way.




                                                                                                                 56
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        165.    Select made sure that patient R.H. was strictly placed at a high RUG level because

it knew it could lose reimbursement payment if it decreased the patient's therapy minutes or

stopped his skilled care or therapy altogether at his request. None ofthis was clinically

appropriate.

        166.    Relator Goebel personally worked with Patient R.H. The patient could not have

tolerated more than 60 minutes of therapy per day. He certainly could not benefit medically from

the 3   to 4 hours oftreatment minutes. Typically, a SNF patient should start at a lower RUG

level and later raised to a higher level ifthey do not get better and if they can benefit from more

therapy; they should not start at the maximum level and stay there regardless oftolerance or

medical necessity, as is consistently done by Select. Initially putting patient R.H. into the Ultra-

High RUG category and making sure that he was maintained at the higher level ofRUG rates

despite his refusal, was not medically necessary or reasonable and was beyond his physical

tolerance.


        167.    On or about September 2016, patient R.H. was discharged. Before he left the

facility, Relator Goebel brought to attention the inappropriateness of the patient's RUG levels

with Ms. McDaniel,the therapy assistant at Anchorage. She simply responded:"Mike, you know

how it goes."

        168.    Patient R.H. died a month later on October 31,2016. Select's greed to continue

therapy, prevented him from receiving hospice, which was the actual appropriate level of care he

really needed as he was clearly dying, as identified by the Relators.




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Patient C,F.


             169.    In another representative example, both Relators Goebel and Coleman worked

with Medicare Part A patient C.F.(birth year 1936)at Snow Hill beginning on or about April 23,

2016.


             170.    The patient was diagnosed with a number of medical complications related to

chronic respiratory failure and was assigned treatment to improve functional mobility and to

increase muscle strength. Early in the treatment, the patient expressed that he could not tolerate

care and would like to leave the facility. Later, the patient began to more aggressively refuse

physical therapy, completing only 30 minutes ofa scheduled 75-minute treatment. The patient's

therapy progress report for both FT and OT indicates as such:


                                                                 Physical Therapy
                                                         Treatment Encounter Note(s}
  Provider      Harrison House of Snow Hill



  Identification Information

  Patient
  MRN:                   1816                                                        DOB:


  Date of Service: 5/6/2016
 \Summary o/S/rfW
  97530                  97530: Therapeutic Activities: ROM techniques to increase functional task perfotmance, dynamic functional activities to
                         increase strength. ROM.flexibility in a progressive manner and transfer trainirrg to increase functional task performance. Pt
                         instructed in pursed Up breathing with 02@ 3Lpm via NO. Pt instructed to elevated (B)LE to help control edema
  Comments               Subjective/Objective: Pt became very difficulty and refused anymore PT today Stating" I'm not dwiing anymore today. I'm
                         not going to walkand 1 don't care what anyone says," Nrsg. MDS Coordinator, SW and Administrator aware of Pi's refusal
                         to participate in Rehab. Administrator talked with Pt but don't know the ojt come.


   Originai Signature:                                        Electronically signed by William Coleman. PT      5/6/2016 12;19:26 PM EOT
                                                                                                                                               Dale




          171. In the patient's "Physical Therapy Treatment Encounter Notes,"(above)the

patient expressly states,"I'm not doing anymore today. I'm not going to walk and 1 don't care

what anyone says."




                                                                        58
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                                                               Occupational Therapy
                                                            Treatment Encounter Note(8}
  Provider      Harrison House of Snow Hill


  Idanliflcation information

  Patient:
  MRN:                     1816                                                          DOB:


  Date of Service: 5/6/2016
  Summary ofSkill

   97535                   97535: pt completed UB/LB vrash dress, min A UB vras, CGA UB dress, Min A LB wasWdress.
   Comments                Subjeclive/Objective: pt or:ly completed 30 mlns of scheduled 75 minute treatment, pt politely refused further tx saying he
                           "Is leaving this facility to go to Nav York anyway" Nursing Is aware pf pt reluctance to participate in therapy, Pi caregiver is
                           employed by this facilftyan^s aware, pt has hx of paw particpalion in therapy at prior placement, a fact not lost upon
                           anyone involved In Mr          treatment. WDS coordinator aware, Administrator aware, and DON/ADON both aware.


    Original Signature:                                        Electronically signed by Michael Goebel,COTA         S/6/2016 1123:47 AM EOT
                                                                                                                                                    Date



    Cosignature;                                              ElectronieaHy co-signed by Suzanne Beefaee. OT 5/9/201612:14:66 PM EOT
                                                                                                                                                    Date

    Revision Signature:                                        EtedronfcaHy signed by Michael Goebel, COTA 5/6/201611:33:06 AM EDT
                                                                                                                                                    Oats




Date of Service: 5/3/2016
,Summary ofSkill

 97535                    97535; pt completed AOL routine min A UB wash/dress, mod A LB wash dress, pt needed cuing for thorughness.
 97530                    97630: fx tfs CGA/SBA, pt completed sit > stand tf 5-6 x CQA/SBA with no LOB. pt had several c/o sob during tx session
                          and was encouraged to rest wtienever he felt fatigued.
 97110                    97110:sci-frt15 mlns
 Comments                 Subjective/Objective: pt unable to tolerate Uilra minutes on day-by-day basis. Suggest ramp-doivn to very, if pt medical
                          condition warrants, will increase mins at later date in spell of illness

  Original Signature:                                          Eledronicady signed by Michael Goebel. COTA 5/3^016 12:26:05 PM EDT
                                                                                                                                                        Date


 Cosignature;                                                 Electronically co-signed by Suzanne Beebee, OT 5/5/201610:45:34 AM EDT
                                                                                                                                                        Dale

 Revision Signature:                                           Electronically signed by Michael Goebel. COTA 5/3/2016 01:41:57 PM EDT
                                                                                                                                                       Date




             172.       The patient's "Occupational Therapy Treatment Encounter Notes"(above)form

indicates that the patient clearly refused treatment more than once. In addition, Relator Coleman

highlights in the medical notes on or about May 3, 2016,that the patient is unable to tolerate




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 Ultra-High therapy minutes on a daily basis and suggests that the patient be ramped down to a

 Very-High, promising to increase therapy minutes later if reasonable or medically necessary.

        173.   Norman Fortt, the Program Manager at Snow Hill who has since resigned, also

informed Mr. Chesla that the patient should not be at an Ultra-High RUG level. Completely

disregarding on-site clinical judgment, Mr. Chesla assigned the patient to a Very High RUG

level with 75 treatment minutes of physical therapy and 75 minutes of occupational therapy. Mr.

Fortt pushed back by pointing out that the patient will eventually refuse treatment completely.

He stated,"I know the patient. He won't do it." Mr. Chesla responded,"This has to happen

[because of Medicare reimbursement]." Mr. Chesla knew that the patient was going home the

next day. Relator Goebel saw Mr. Chesla ignoring Mr. Fortt's clinical judgment on four separate

occasions regarding this patient.

        174. The Regional Managers, even though they did not obtain the on-site knowledge of

the patient's status, were personally involved in and always had the final say as to which RUG

levels each patient was assigned to, showing their desires to intentionally submit false claims to

Medicare.


       175.    Patient C.F. was finally discharged after refusing to participate with his Plan of

Care but died at home within a week. In total, the patient had completed 75 minutes ofPT and 75

minutes ofOT per day. The therapy had been unreasonable and medically unnecessary and had

done nothing to benefit his condition.

Patient JJl.


       176. Relator Goebel also worked with another representative example. Medicare Part

A patient J.H., at Anchorage on or about March 19, 2016. The patient was diagnosed Avith a leg

fracture and was assigned treatment for gaining muscle strength.


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                  177.       Although there was no medical record indicating a need for extension, the patient

received a prolonged extension to continue therapy she did not medically need -2 V2 hours per

day. Furthermore, she was never sent home even though she was capable ofliving

independently. Her medical records indicate it is not reasonable or necessary for the patient, with

only two scheduled disciplines to treat her medical condition, to remain as an Ultra-High for 60

days. Instead of discharging the patient when clinically appropriate, Select up-coded her RUG

level to continue maximizing Medicare reimbursement for as long as it could.

                  178.       Below is the patient's service log matrices for both PT and OT,indicating the

patient's Ultra-High level for the entire ICQ days she was admitted to Anchorage:

                                                                                  Service Log Matrix(PT)
                                                                                                     Place Of Residence:            Stalled Nursing F^ity                        SeivSccDatts;           (M/01/2016'(H/30/2016
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Treatment ox & Onset         H6IBI-03/19/16          HusdeweiiJtssiseneraiQd). TddtlcrelDIogrnilo [HS2iO,!U6J]

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                                                                                    Sen/Ice Log Matrix(OT)
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RUClv,tl                     PJ    PJJ   Ril




               179.         While patient R.H. and patient C.F. are examples of patients getting assigned

more minutes than they can physically tolerate, despite their refusals and inability to benefit,

patient J.H. is an example of a patient getting assigned more minutes than she clearly needed,

and failing to discharge her when it was medically appropriate.

               180.         Despite the different ends of the spectrum, these examples demonstrate clear

intent of the Defendants' scheme to bill Medicare for their patients for skilled care services that

were not reasonable or medically necessary, non-compliant to CMS eligibility standards.

Patient M.K,


               181.       In addition to patients R.H. and C.F., Medicare Part A patient M.K. (birth year

1924) at Snow Hill is another patient that passed away soon after discharge. Patient M.K. began

her Start of Care on or about July 8, 2016, diagnosed with benign intracranial hypertension,

which is a condition due to high pressure within the spaces that surround the brain. She was


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placed as an Ultra-High the entire time she was at Snow Hill, even though treating therapists

continuously noted in daily and weekly treatment progress notes that the patient is clearly

inappropriate for 70 minutes ofPT and 75 minutes of OT per day. As a result, she not only

suffered a rapid functional decline but had to be referred to speech therapy for dysphagia, which

is a condition that involves poor swallow reflex.

                182.           The patient's service log matrices for both PT and OT show the outrageously high

RUG levels assigned to her the entire time she was treated at Snow Hill:


                                                                                               Service Log Matrix(PT)
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                                                                                               Service Log Matrix(OT)
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                                    rs     75     75        70     70                       75    7J     70      n                   70     73     OS   so    70                  n    75     70      79       79                                       MM

                                   »•             SB        SB    SB                 xQ    5B           So       55                 59      SB    Si    S3    SB                 59          4'rJ
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              183.           The RU indicates the Ultra-High RUG level. It is the highest level ofRUG rate

that could be assigned to each patient.

              184.           Patient M.K. was made hospice on or about September 19,2016. She was at

Ultra-High for 72 days and was only ramped down to Very-High, after hearing she was to be

made hospice. She died the same day she was discharged.

              185.           Too many patients, either under the care of Select at Anchorage or Snow Hill, or

within a short-term after what should have been an earlier discharge, are dying, many missing

the level of care {i.e. hospice)they actually need. The patient samples illustrate Select's scheme

to bill for SNF care benefits despite the patient's ineligibility for coverage. Even though the

patient does not need inpatient skilled care on a daily basis, even though the skilled services are

not reasonable and unnecessary for the patient, and even though the patient clearly refuses

skilled care, unable to tolerate and/or benefit from the treatment, Select automatically assigns

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therapy minutes and places patients at the highest RUG level, not based on patient necessity, but

based solely on the financial desires of the provider company.

        186.    As a part ofits multi-faceted scheme to defraud the government, Select

wrongfully assigns high RUG levels to all ofthe patients referred to its facility, despite there

being no reasonable and medically necessary reason to treat, including those that do not want to

be treated or those that cannot physically tolerate, and therefore, do not truly qualify for

reimbursed treatment for skilled care.


Select Falsifies MDS Reports Submitted to CMS to Up-Code RUG Levels and Improperly
Increase Therapy

        187.   Select engages in an intentional fraudulent scheme to falsify patient medical

records and MDS Reports,forcing clinicians at Anchorage and Snow Hill to record inaccurate

diagnoses of patients, all in efforts to improperly up-code RUG levels.

        188.   CMS requires licensed clinicians to conduct a comprehensive assessment of the

patient, in which the collected information is recorded on the MDS report.

        189.   The purpose of this extensive MDS report is to capture an accurate diagnosis of

the patient, including the identification of the patient's continuing need for skilled care, in order

to meet his or her medical, nursing, rehabilitative, social, and discharge planning needs. The

MDS report, as a part ofthe RAI,serves as an assessment tool required by Medicare to

determine how much therapy the patient truly needs and what types of skilled care treatments are

reasonable and necessary, therefore, determining the level ofreimbursement.

        190.   Like initial assessments that include the care plan, licensed therapists are tasked

with conducting the MDS report, which is submitted to the Government. CMS ultimately

examines the entire RAI to determine the monetary reimbursement payment that should be

delivered to the provider. As such, CMS expects patients' medical needs to be thoroughly


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satisfied at the MDS assessment level, requiring the collected data to closely reflect the patient's

plan of care and assigned RUG level.

          191.   The MDS report, which allows the therapist to assign the appropriate RUG level

to the patient, is typically conducted as soon as the patient is admitted to the skilled care facility.

The RUG level, which equates to the dollar amount reimbursed by Medicare, is derived from the

MDS report.

          192.   Furthermore, CMS also requires a periodically scheduled PPS Assessment

according to the patient's length of stay in Medicare Part A care. Each assessment must

accurately reflect the patient's status, be conducted or coordinated by a licensed clinician,

including direct observation and constant communication with the patient and the direct care

staff, and cover the observation(look back) period. The Observation Period is the time period

when the patient's condition is captured by the MDS assessment. Thus, clinicians are not

permitted to code anything on the MDS assessment that did not occur during the Observation

Period.


          193.   As such, RUG rates are supposed to be assigned after patient evaluations and are

supposed to be tailored to a patient's individualized medical need.

          194.   At Select, the opposite occurs.

          195.   Turning the regulations on their head, Select automatically sets RUG rates and

Length of Stay(LOS)targets,prior to the MDS assessment and then, requires its therapists to

document the patient's condition, the duration oftherapy minutes, and disciplines according to

the RUG rates predetermined by the corporate office




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        196.    Stated differently, Select wants each patient to stay at Anchorage and Snow Hill

for as long as possible, with the highest RUG level that could be assigned. In fact, early patient

discharges almost never occur at Select's facilities.

        197.    Off-site Select administrators set the daily minutes for Medicare Part A and Part

B patients, prior to patient assessments,then actively pressure clinicians to meet the target

threshold. Accordingly, at Anchorage, RUG rates are assigned first, typically before a patient is

ever evaluated. Instead "the next person through the door" is assigned to Ultra-High,for no

justifiable medical reason whatsoever.

        198.    Select sets and maintains its own RUG rate quotas. Select currently requires a

RUG average of70% for Ultra-High at Anchorage. And, Select requires a RUG average of

66.67% at Snow Hill.


        199.    This is an abnormally high number of Ultra-High RUGs at Anchorage. It is highly

unusual and unlawful. A 2015 HHS study examining Medicare's SNF payment system,found

that on average, SNFs were providing exactly 720 minutes for 34% of Ultra-High therapy RUGs.

This number is an increase fi*om 21% from the year before. Select is requiring double the

national average, focusing purely on revenue generation and clearly not on the clinical aspects of

each patient.

       200.     Relators noticed Select's excessive Medicare billing and up-coding at Anchorage

and Snow Hill throughout the duration oftheir employment and reasonably believe and therefor

aver that the company is misusing government funds by retaining employees in the corporate

office who are not performing their administrative duties and responsibilities, but instead are

directly involved in the clinical component ofthe facility, especially with how often and how

much the therapists are providing treatment for each patient.



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           201.   At Select, clinicians are required to fill out a "Service Log Matrix"form for

physical therapy and occupational therapy, documenting the disciplines, RUG levels, and therapy

minutes provided to each patient. Unfortunately, these documents are not accurate reflections of

the status of patients at Select. The corporate office issues fraudulent policies that directly

prevents clinicians from submitting a true and honest MDS report, which incorporates

information from the service log matrices. Clinicians also fill out "Therapy Progress Reports," in

which clinicians electronically record patient information, including symptoms, history,

diagnosis, activities of daily living, and plan of care.

           202.   However, as used by Select collectively, these forms cause the fabrication of

patient information because Select administrators are constantly micromanaging the therapists,

forcing the person inputting the information to maximize the level ofeach discipline item. Off-

site Select administrators are determined to work to ensure that the assessment information

results in a high and/or the highest RUG level for each patient, and thus, warrant maximum

reimbursement paid to Select.

        203.      If a clinician enters information that could result in a low RUG rate or low

reimbursement, off-site Select administrators are immediately on top ofthe issue. Perceiving it

as an error that needs to be fixed. Select micromanages patient care and assigned treatment

minutes and RUG rates, imtil the clinician increases the level oftherapy assigned to patients. In

other words, clinicians must exaggerate and fabricate his or her answers to clinical questions,

authorizing for example, that the patient is in need of daily skilled care when instead, the patient

is actually imable to tolerate the treatment, and thus, is not truly qualified as a skilled care

patient.




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       204.    All of the therapists working for Select, predominantly at Anchorage and Snow

Hill, run in to this problem,in which they are forced to enhance medical needs,functionality, and

symptoms,in order to up-code patients to the highest RUG level possible.

       205.    While this amounts to corporate fabrication, Select does not call it as such. By

default, Mr. Chesla and Mr. Schaffer routinely and expressly direct employees to up-code RUG

levels or assign RUG levels themselves, without ever examining the patients.

       206.    The following text message is an example of a situation in which Mr. Chesla is

directing Relator Goebel to add a patient as "an Ultra [High] immediately":


                            To: Danny Chesla

                              Confirmed


                                           Tue, Jun 9,10:04 AM


                              Just ran rugs for today..
                              12..10..2..2...46%..we
                              need an ultra immed.
                              Thx

                              Pis call me

                              Important

       207.    There is no mention of any patients in this directive. Mr. Chesla simply ran the

number of RUG level percentages for the day and decided that a patient must be added as an

Ultra-High to meet the corporate target threshold.

       208.    This directive to add an Ultra-High patient is illustrative of those given on a daily

basis and implies that the clinicians are forced to fabricate a patient's assessment records in order




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to add a high RUG level to the daily numbers, regardless of whether the therapy is reasonable or

medically necessary for the patient, who is assigned the Ultra-High RUG level.

        209.   In another example, on or about May 2016, Mr. Chesla, discussed with Relator

Coleman the fact that the Ultra-High RUG rate for the entire facility should be 70-80% ofits

Medicare population. This goal is extremely high compared to the national average of30-35%

during the same quarter.

       210.    In efforts to meet their targeted threshold, the Regional Managers at Select

constantly place patients in the highest therapy reimbursement level possible, with their eyes

fixed only on financial incentives. As a result, those fraudulent activities impose dangerous

consequences for patients.

       211.    Red flags are raised,just by looking at Anchorage's statistics.

       212.    The service log matrices from February through April 2016 show that every

single patient at Anchorage is either at an Ultra-High or Very-High. This is not only statistically

impossible, but is not clinically appropriate, given the demographics of Anchorage's location and

the makeup ofthe facility and its staffing. For example, Salisbury (where Anchorage is located)

already has a 60-bed acute rehabilitation facility in the area, which should receive most ofthe

patients who could truly qualify as Ultra-High. There is no reason for Anchorage to be striving to

hit 70-80% of Ultra-High patients every month.

       213.    Yet, as of May 2016, patient RUG levels at Anchorage were as follows: 82%

Ultra-High, 14% Very-High, and 4% High.

       214.    The fact that Anchorage had an Ultra-High RUG rate over 80% of its Medicare

population suggest that most ofits patients were receiving extremely high amounts of




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rehabilitation on a daily basis, at least 720 minutes per week, which is a shocking anomaly given

the national average percentage of Ultra High RUG rates.

           215.   Upon information and belief, as of October 2016,the corporate mandate is

currently 70% of Ultra High patients at Anchorage. Below is a RUG Utilization Report from

January 2016 thru October 2016, showing an average of68.7% of Ultra Highs at Anchorage:



                                              RUG Utilization Report
    Date Range: Ol/Oiy2D10-imi^016
    Payers:     ALL


    SIEB                                      RU      RV     RH    RM    RL     R'Oays     RPI

              NVsrng a Rahab ConiDr                   1534   2S3   101    0      G31S     4.S1
                                      %     ea.7'^   25.2W   4.^   1-^   0.0%




           216.   Even though the utilization report indicates high numbers, on or about October

26,2016, Relator Goebel overheard Mr. Chesia interrogating Jared Votta,the Program Manager

at Snow Hill, on every patient who was not assigned an Ultra-High. Mr. Votta still had to give a

detailed reason as to why a patient was not an Ultra-High.

           217.   Upon information and belief, from a clinical standpoint, the vast majority of

patients at Anchorage should not be assigned to an Ultra-High RUG level. However, Select is

determined to force its clinicians to do so,for the sole purpose ofincreasing revenue.

           218.   In addition, as ofJune 2016,the corporate mandate is 66.67% of Ultra-High

patients at Snow Hill. The RUG Utilization Report from January 2016 thru October 2016 at

Snow Hill, shows an average of60.9% of Ultra Highs, which is also highly improbable:




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                                                  RUG Utilizatron Report
   Date Rango: 01/01/2016 -10/13/2016
   Payers:


   Site                                           m      RV      RH     m      RL     R-Oays      RPI

   HafHtsflft Hfitiss cf SoDTA'HH                1540    m       82     4       0      252a       ■4.S7
                                        %               35.7^   3.2%   Q.2%   0.0%




          219.        These RUfigures for both Anchorage and Snow Hill are very close to the

corporate mandated figures. These numbers are not only twice the national average of Ultra-

Highs, but are questionable and statistically impossible for a small city with a 60-bed acute

rehabilitation facility.

          220.        Supporting the fraudulent claim. Select also obtains a report that illustrates

Select's clear intent to manipulate RUG levels for revenue purposes. As a part of the company's

strategy to increase revenue through patient reimbursement. Select maintains a frequently

updated master list of patients in its facilities. Blatantly entitled the "Specialty Program PPS

Revenue Enhancement," the report displays RUG levels, treatment minutes and Medicare days in

a concise one-page format for every Medicare Part A patient at Anchorage and Snow Hill. Below

is the "Specialty Program PPS Revenue Enhancement" report for Anchorage from January 2016

to October 2016:




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                                                           Specialty Program PPS Revenue Enhancement

Site(s) of Service:     Anchorage Nursing & Rehab Center
Date Range:             01/01^016 - 10/14/2016
Parameter(s):           Vendor; All; Specialty Program: All; Diagnostic Category: All; Payer Type: Ai!
Anchorage Uufsing A Rehab Centor
                                              Mlntiiss                                                                                  tncluding Program Ulnuto*                       Revenuo
                          Aswssmant      Preprsm        Total         Effactiva      Thru         RUG                Rata                 RUG            Rate           RUGOava       Eflhsncemori
                        14^a^hange            15            325        5/10/2016     5/31/2016     RM                          saoo       RH                    sao:             22           SO.OO
                        of Therapy
                        OMRA

                        14-day                45            730         1/1/20t6      1/1/2016     RV                          SO.OO      RU                    SO.OO             1           SO.OG
                        14-dsy                45            730         1/3O016      1/14/2016     RV                          SO.GO      RU                    saoo             12           SOXO
                        Sday                  30            720        S/2a'2016     5/31/2016     RV                          S0.00      RU                    SO.OO            4            $0.00
                        5-d3y                 30            720         a/1/2016      6/8/2016     RV                          S0.00      RU                    SO.OO            8            SO.OO
                        S-dsy                  IS           736        6/1S/2016     6/28/2016     RU                          $o.oc      RU                    SO.OC            14          sooo
                        &43y                  24            720        a/31/2016     e/31/2016     RV                          $OJK       RU                    S0.00             1           SO.OO
                        Soy                   24            720         9/1/2016     9/12/2016     RV                          SO-OC      RU                    SO.OO            12          so 09
                        S-day                 39           720          3/2/2016     8/15/2016     RV                          $000       RU                    saoo             14           SO.OO
                                                                                                                           e
                        14-day                32           720         an6/2016      8/31/2016     RV                  a       $0.00      RU                    SO.CO            16           SO.OO
                        30<)ay                32           720          9/1/2016     9/122016      RV                          so^        RU                    saoo             12          so.oa
                        3(May                 32           720         9/14C016     9/30/2016      RV                          SO.OO      RU                    SO-OO            17          saoo
                        30-day                32            720        10/1/2016     10/1/2016     RV                          SO.OO      RU                    SO.OO             1          saoo
                        60-d3y                16           720         10/2/2016     1Cy5«)I6      RV                          30.00      RU                    SO.GO            4           aiGO
                        PPS/OVRA-             16           500         10.6/201S    10/14/2016     RH                          SO.CO      RV                    SO.00            £
                        Chsngeof
                        ThergjyOMRA                                                         I
                        S^ay                  30           725         4/15/2015    4/2S/2016      RV                          saoo       RU                    ^00              14          saoo
                        14-day                30           720         4/29/2016     4/30/2016     RV                          SO-CO      RU                                     2           SO.OO
                        14-day                30           720          5/1/2016    5n4/20t6       RV                          10.00      RU                    SO-OO            14          SO.OO
                        30day                 4S           720         5/15/2016     5/17/2016     RV                          so.o:      RU                                     3           SO.OO
                        r^/OMRA-              15           720         6/24/2016    8/31/2016      RV                          saoo       RU                    soix;            £           $0.00
                        Changsof
                        Therap'/0f4RA
                        PPSfOMRA-             15           720          9/1/2016     9/S«316       RV                          SO.OO      RU                    SO-OO            6           Sl.OD
                        Ohangetf
                        Therapy OMRA
                        PPS/CVKA-              B           SCO          9/7/2016    e/13/2016      RH                          so00       RV                    SO.OO            7           SO-CO
                        Change of
                        ThtrapyOMRA




                                                            Specialty Program PPS Revenue Enhancement
  Sile{s) of Service:     Anchorage Nursing & Rehab Center
  Date Range:             01/01/2016• 10/14^016
  Parameter{s):           Verrdor All; Specialty Program; All; Diagnosfic Category: All; Payer Type: All
   Anchofsga Wuraing & Rcteb Center
                                               Minutes                                            Exeludin   p Program Minutes         Including Procran Minutss
           Patient          Assessment    Pfogism        Total        Effectiva      Thru         RUG               Rate                RUG           Rale            RUG Days
                          5-day                    30           721     5/13/2015    5/31/2016     RV                       SO.OO        RU                  $00)           u             S).00
                          14-day                   45           722      6/1/201S    e/i&'SOIS     RV                       $0.00        RU                  SO-OOi         15            30.00
                          SOday                    30           722     6/17/201S    6^3/2016      RV                       $0.00        RU                  $0X0           14            saoo
                          39K!ay                   46           720     3C5/2016     3/31/2016     RV                       so/x)        RU                  saoo           7             $0.00
                          Saday                    39           500     a/14/2016    6/23/201$     RH                       SO.OO        RV                  SO.OO          10            SO.OO
                          Sdsy                  31              720      8/7/2016    a20«}16       RV                       SOXO        RU                   SQOO           K             so00
                          14-d^                 32          720         8/21/2016    en1/2016      RV                       SO.OO       RU                   so00           11            SO.OC
                          t4day                32           720          9/1/2013     9/5C016      RV                       SO.OO       RU                   so.ooj         s             SO.OO
                          304ay                40           720          9/6/2016    9/30«)1S     RV                        SO.OC       RU                   so.ooj        25             $0.03
                          30day                40           720         10/1/2O1S    1SJ/5/201S   RV                        $0.00       RU                   SO.OO          S             SO.OO
                          5-day                    IS       505         7^16         7/21/2018    RH                        saoo        RV                   $0.00          14            SO.OO
                          14-day                   6        500        7,22^016      7/31/2016    RH                        SO.OO       RV                   so.ca                        $0.00
                                                                                                                                                                            10
                          14-d3y                   8        500          8/1/2016     S/6/2016    RH                        saoo        RV                   SO.OO          6             SO-OO
                          SOday                16           510         8/7/2018     8/25/2016    RH                        SO.OO       RV                   so.oo|         19            SO.CO
                          so-day                   a        555        10/6/2016    10/14/2016    RV                        $0.00       RV                   $000           9             $9.00
                          Sday                 30           720        4/20/2016    4/30/2016     RV                        $0.00       RU                   SO.OO         11             saoo
                          Sday                 30           720         5/1/2016      5/3/2016    RV                        saoo        RU                   soool          3             SO.CO
                                             1.080       26,041                                                                                                                           S0.00




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        221.   In essence, the compilation of patient information has absolutely no information

on patient medical necessities, including current medical symptoms,functionalities, show of

improvement, goals, and clinical outcomes, which could be helpful in determining whether the

patient needs therapy or continued skilled care. Selectjust uses the report to systematically

decide when to add another Ultra-High patient, entirely for the purpose of maximizing Medicare

reimbursement payments.

       222.    According to CMS,a Medicare skilled-care adult patient must adhere to a

standard assessment schedule that includes 5-day, 14-day, 30-day,60-day, and 90-day scheduled

assessments, each with a predetermined time period for setting the ARD for that assessment. It is

critical that the SNF completes the assessments according to the following schedule to assure

compliance with the SNF PPS requirements. So typically, the therapist assigned to a patient is

reasonably the only clinician that should be aware ofthe patient's RUG levels for the patient.

       223.    However, at Select, off-site Select administrators like Mr. Chesla and Mr.

Schaffer always know exactly when patients are close to being discharged or are due for their

assessment. Unlike therapists, who actually provide daily skilled care to patients, there is

absolutely no medically necessary reason for such patient information to be compiled into a

report entitled,"Specialty Program PPS Revenue Enhancement." Methods ofreaching Select's

revenue goals clearly have no clinical component.

       224.    Such a report, which clearly shows Select's fraudulent intent and motive to

maximize Medicare reimbursement and failure to comply with Federal regulations, results in

countless false claims submitted to the Government and causes Medicare to deliver improper

payments. Select is fully knowledgeable of this misconduct and rampant fraud.




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        225.   In siun, by pressuring and forcing therapists at Anchorage to falsify patient

symptoms,functional abilities, and medical necessity in the MDS report, Select systematically

manipulates(up-codes) case mix data submitted to CMS and ensures that nearly every Ultra-

High or Very-High patient will appear to satisfy the necessary medical pre-requisites for skilled

care covered by Medicare. This inflates unnecessary therapy minutes to justify the high therapy

reimbursement per episode.

Patient H.W.


       226.    By way ofexample. Medicare Part A patient H.W.(birth year 1935) began her

Start of Care at Snow Hill on or about October 4, 2016. The patient was diagnosed with chronic

atrial fibrillation and was assigned treatment focused on muscle weakness. On or about October

24,2016,the physician ordered a patient status change, assigning only comfort care to the

patient. Comfort care is typically assigned to patients who are in critical condition and the goal

ofthe care is to provide relieffrom the symptoms and stress ofthe serious illness. This type of

care is usually required after a dramatic drop in the patient's functional level. In other words,

physicians literally assigned strictly "comfort" care to make the patient H.W. comfortable. She

had low cognitive abilities and could not even sit up in bed, let alone participate in physical

therapy.

       227.    The patient's change in status indicates that she is unable to tolerate and benefit

from her assigned therapy minutes and should not receive further skilled care. In fact, the

physician order expressly stated that Snow Hill discontinue therapy and discharge the patient:




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   PHYSICIAN ORDER SHEET                              Patient Name;

    icllfty Name: H.S.L-SfjOWHIU                      Patfant ID :
    nyaielan;                                         Room#:

                          '-ft;' tivOjt.                                             I     M



(Change to[Do Not Resuscitate], comfort measures, discontinue labs, No Medical Test,
[Discharge], Per Stephanie Howard, CRNP)

        228.    The physician order indicates that there is nothing further that the facility could

do for the patient. It was the reason why the doctor ordered comfort care in the first place. In

fact, medical records indicate that the patient desperately needed to be put in hospice.

        229.    Disregarding doctor's orders, Mr. Chesla instructed Jared Votta, the Program

Manager at Snow Hill, to continue patient H.W.'s therapy minutes for 75 minutes of physical

therapy, 65 minutes of occupational therapy, and 45 minutes ofspeech therapy to maintain her

Ultra-High RUG level. Mr. Chesla reasoned that it was the patient's last day before her Change

of Therapy assessment and was extremely persistent in arguing that the patient's RUG level had

to be maintained, regardless ofthe functional level of the patient.

       230.     Medical records indicate that the patient was physically unable to participate in

therapy. Upon information and belief, the patient was forced to complete therapy on some days.

On other days. Select continued to bill for Ultra-High therapy minutes that never actually took

place for this patient, because the patient was simply imable to participate.

       231.     On or about November 1, 2016, patient H.W. was billed for a total of50 minutes

of physical therapy and 60 minutes of occupational therapy per day. On the last day before her

Change of Therapy assessment, patient was up-coded and was billed for 90 minutes of physical


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therapy. The patient's November 2016 Service Log Matrix for physical therapy and occupational

therapy indicates as such:

                                                                                                         Service Log Matrix(PT)
SteOf Service;         Hamscn House of Sno^v Hlfl
                                                                                                                               HaaOfReslderge:                               Shiled Hursng Ftgflity                                                             11/01/2016-tl/aOfZOW
iPatfent Name (last, Hrst)                                                                          HICN / Policy No.                       Pht^dati                                                      HedOxOroet           soc                                      Status
                                                                                                         218301&<tQA                        baral. sarad                                                   9/30/2O16          10/4/^6               24
Primary Ked.Di6Onset:              1-1S.2 • 09/30/16                 Oi.-en«atri3ifafttatio^ a&miwai cxas-iosis [so.«i. tjs.iw. £03.9, K2i.g ]
iTreatment Dx Bi Onset:            R27.8• 10/04/16                   oaa-licfccfcBCfttna'joR. AasuanjlDUjwas Ifae.Z.P""! 3
Code     Svc. Dcsnlption                 1        2    3         4      s      6     7         8         9    U     11    12       13             14                  16
                                                                                                                                                            IS                   17        IB        19    2D     21    22    73    74   7S      76       77    26
97110    rNsenjcc cEiciiM                              29
         Itetl                                        vx
97152    riKKCnHrtcuSt neOucmr                 20

                                             M<
         Gai          trerasv
                                   ff*
97S30                                SA       30       e:    sc
                                    K<       lec      fK    ,<«
*7531)   ThsnrgsiSc acMes            IS
         KOI                        TV
         Total •enalcs: Visit i      90       so       so    so
                                                                                                                                                                                                                                                                                          240

ThcnpUtC».Sioaaliev                 W        JV       IV    n
PPSDay                               30        31      V     M          3«     35    2«        37     IS      35              «1       42         43        n         «          «         47        AS    49     se    SJ    57    •P    54        55    Af.
■uc level                            KIl               w
                                              EU             If        su      e-i   fiW       ay    RV       W     RV    ftv          KV         rV        RV        RV         R«        RV        RV     RV    RV    RV    RV    RV    ev        RV    GV


WoR-MOSTreatmeRl MbKios

UdtelAiM Treatment HimAet            90       53       S3    ss

Orwi'jifurilTieaeuciil tflnutes
CmupTiuj111lent NtmtBi
                                     W        »        SO    so
ToaiMMM                              W        50       so    so

aUG Minutes (7 tey>)                3S       315      315   310
SySUaOe                                  6        3    3         3
Mats                                  1        1       1     I

raysrScscce                                  Hca
                                                                                                                                                                                                                                                                                            1




                                                                                                      Service Log Matrix (OT)
SitiJ Of Ser/ice       H3m5on fte of Swa' 1E3
|pa^efilN8m{!{ljtt,rii4y *                                            -MflNKO.                  HICN/PolicyKo.                         Physkiati , ^                                                                          SOC        SOCVi^Is                    Stehis      .

■■■
PrimaivHed.DnjkOf^j
                                                                             Wi^           ■         2J830I68DA                        bar/?, iamd                                                        1P20I6         mM                    25                    Acb''/E
                                   14§.2-10/03/16                    Oi(Cf&imi:r.in!!j5cR,                               (I59,«, 121119, £019, K2I.9]
iTitatdWntDxEi&iat: ~ M52,8I-lOf&1/I6                                MvKle          (jsayzSjej)


EUSl«eJ„         •       -                   RJ       hi    1^        fiu     Hi     m     RW       RV       RV    RV    RV        W        R'l        X/        IW        ftV        RV        RV    RV     k,    KV    RV    RV    m     R"/       RV   fiV   RV    CV
tTElia&ofiKlsi^ , / '''V, .
toi-KDSTroteitntteiHflei ' ••                                                                   ,



{fldMduatTisatB^ fCiutid.           £0                K     69
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Group Treatraeit Mlmi»
7etBl TIrh Buetf MwtQ'              63       pJ       S3    5C
                                                                                                                                                                                                                                                                                 ?4fl
loflHfrite • - -                    S3        83
                                                                                                                                                                                                                                                                                 240
itU«Kll^(7B3yi]                    295       295      W5    m

WOnRii r-..,                         4        1        4     4
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VWS,                 - . . .r, .     1        i       I      1
                                                                                                                                                                                                                                                                                     4
Psyar Soum.                        HOI m PiCA




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           232.   On or about November 2,2016, Relator Goebel spoke to Stephanie Howard,the

nurse practitioner who wrote the comfort care order for patient H.W.,on behalf ofthe doctor.

She was surprised to hear that the patient was being treated as an Ultra-High because the patient

should not have received any aggressive therapy and said,"I figured you'd [Relator Goebel]just

do a range of motion and discharge her to restorative nursing care." The nurse practitioner added,

"I don't know how this is possible given [the patient's] low functional level and low probability

of achieving any real functional goals."

        233.      Later that afternoon, after her conversation with Relator Goebel, Ms. Howard

approached Mr. Votta, asking why patient H.W. was still receiving aggressive therapy when Ms.

Howard submitted the doctor's orders almost two weeks ago, ordering only comfort care for the

patient.

       234.       That same day, Relator Goebel overheard Mr. Votta discussing patient H.W. with

Mr. Chesla, who strongly argued that the patient cannot be ramped down from Ultra-High until

November 5,2016. In effect, Mr. Votta should have told Mr. Chesla that the patient needed to be

ramped down to a High and transfer her to a restorative nursing program. But he did not push

back to Mr. Chesla, even though the patient was in no condition whatsoever to tolerate therapy.

       235.       The conversation shows that Mr. Chesla and Mr. Votta are in direct contravention

to the doctor's orders and are doing so for pure revenue purposes.

       236.       Because of Mr. Chesla's improper up-coding ofthe patient to an Ultra-High RUG

level and then continuing to keep her at that level despite even doctor's orders, even though the

patient was absolutely in no condition to tolerate any more skilled care, Patient H.W. passed

away on or about November 25,2016.




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        237.   Not only were the patient's therapy progress reports falsified to justify for the

highest RUG level possible, her service log matrices were documented with constant RUs, which

were ultimately submitted to the government for skilled care reimbursement.

Patient A.T.


        238.   As another representative sample. Medicare Part A patient A.T.(birth year 1932)

begin her Start of Care at Anchorage on or about October 17, 2016. The patient was diagnosed

with a neck fracture and was assigned treatment focused on improving muscle weakness. She

was on caseload for 84 days and was assigned an Ultra-High RUG level for the vast bulk of her

plan of care, despite negligible progress. On or about January 2, 2017, Relator Goebel and Mr.

Votta, decided to ramp her down to a Very-High, which was an appropriate adjustment to her

treatment minutes by on-site clinicians, who were providing daily skilled care to the patient.

       239.    However,on or about January 3, 2017, patient A.T. was up-coded to an Ultra-

High, courtesy of Mr. Chesla(working off-site), who once again overrode the clinician's

decisions in favor of monetary revenue. Patient A.T.'s medical records indicate that she should

not have been receiving 60 to 70 minutes of physical therapy, but the more appropriate 45 to 50

minutes of discipline.

       240.    However,to satisfy Mr. Chesla's desire to maintain high RUG levels for every

patient, regardless ofreasonableness or medical necessity, patient A.T. was up-coded to an Ultra-

High RUG level.

       241.    On or about January 6,2017, patient A.T. was discharged to the hospital for

abdominal and/or rectal bleeding. Despite her dangerous condition. Select was still treating her at

the Ultra-High level, at the time of her discharge. Upon information and belief, given the




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patient's overall medical condition,the excessive therapy minutes clearly did not help and were
not medically necessary.

       242. This patient example is another potent illustration of Select's intent to disregard
patient symptoms and fimctionalities to instruct clinicians to manipulate (up-code)the case mix
index or up-code patient RUG levels themselves without notifying the clinicians, to maximize
dollars for the company.

Medicare Part B


       243. It is also common practice for the corporate office to instruct clinicians to engage

in up-coding not only to Medicare Part A patients, but to Medicare Part B patients as well, by
extending a patient's Length of Stay. As a part ofits strategy to induce more Part B claims.
Select maintains a frequently updated master list of Medicare Part B patients in its facilities,
which includes information on whether the patient's status is active or inactive as well as the

number of visits that remain per patient. This "SuperCap Report" gives year-to-date dollar

figures that Select profits from its Medicare Part B patients.

       244. CMS proffers financial limits for covering outpatient physical and occupational

therapy services. The therapy cap limits for 2016 were the following; 1)$1,960 for physical
therapy and speech-language pathology services combined; and 2)$1,960 for occupational
therapy services.

        245. Despite these hard caps. Select ran its patient service level up to a total of$12,000
in 2015 for both disciplines. To do so. Select used the "SuperCap Report" to track the number of
Medicare Part B recipients in the facility and the total minutes oftherapy services they received.
Select generates the report on a daily basis, emailing the figures to notify all the program

managers. Select uses the report to systemically increase the company's financial incentives not


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just through Part A patients but also Part B patients. Below is a sample of Snow HilPs "Super

Cap Report" created by Select's corporate office:

      3700 Report
       Company                 AS Companies            Reg Manager        Damy Chesia, CEi^cal Manager
       Corporate               1.AS Ctaporate Groups   Facility           Harrison House of Snow Kin
       Vice President          Ed Luber^               End Date        08/t)BI201600d)Od>0


                                                                      D.S. Amount                        ^T"Sf
      Over 3700 fto Egcptcon Aaivtfy Tnattig                      [ft              ^751           0
      Okt 3700 fto Ettqitioti /toively Tieatwg                       or            8,985          0
      Over 3700 No Empbon Adivcfy Treaty                             FT            8.749          0
      Over 3700 No Egeption Actively Treating                        ST            5,re7          0
      Over 370O No Exteption Actively Ticating                       or            5,032          0
      Over 3700 Ho EaepCion Acthrety Treating                        or            6^275          0
      Above2^less tbai 3,^                                           or            3,293       407
      Above 2,700less tfian 3,^                                      or           3,400        300
      Active Med B ResntcTSs                                         or            2,325      U75
      Agtve Med B Rsidgits                                           pr            2,454      1.246
      Aoive Med B Resictervts                                        pr            1,567      2,133
      Active Med B Residaits                                         FT            1,634      %066
      Active({ed B ResidcnB                                          lOT            805       2,895
      Active Nod B Resdents                                          jPT            976       2,724
      Active Mod B Resident                                          FT           2,281       1,419
      Active Wed B ResidmB                                           :(3T         2,103       1,597
      Inodne RcsdsiB                                                 or           3,178        522
      Inadive ResidenB                                               PT           4,107          0
      bodive ResMotS                                                 sr           4,107          0
      bacttveResuiaiB                                                or           3,184        516
      inacBfO Rcs^cnts                                               IT           3,378        324
      badiveRiBidgiB                                                 pr           1.70O      2,000
      'narfTirt* O^'cirfpnf^                                         OT           4,818          0
      itaoive Residents                                              FT           4,401          0
      iisdive RcsBlcnB                                               sr           4,401          0
      iiadive RcsafoiB                                               or           5,697          0
      iiadjve RcsidcnB                                               OT             140      3,560




      Inactive RiBtdatts                                          |pr               384      3316
      Inactive Resdcnts                                           [ft             4,610          0
      Inaoive(^SEtlcns                                            |sr             4,610          0
      Inactive RcsidcnB                                           |ar             1.140      2,560
     Inactive ResidcnB                                            It              3,762          0
     Inactive RcsalcnB                                            loT             1,328      2372
     Inactive Re^dsvts                                            Isr               444      3456
     Inactive Resdcnts                                            It              4,416          0
      Inactive Residents                                             or           7,518          0
      Inactive Resdcnts                                              FT          11,636          0
      Inactive Residents                                             sr          11,636          0
     Inactive Residens                                               or           4,824          0
     Inactive Resdcnts                                               or           3,^1          19
      Inaoive Resitfcns                                              FT           1,962      1,738
      Inactive Residents                                             sr           1,962      1,738
      Inactive Residents                                          d               2,000      1,700
     Inactive Residents                                              or           5433           0
      Inactive Rsidcnts                                              or           5,590          0
      Inactive Resdcnts                                           ,fT            11,685          0
      Inactive Residents                                             OT           3,737          0
      Inactive RcsidcnB                                              FT           3,459        241
      InactivreResidcntS                                             or           6,997          0
      Inactive Residents                                             FT           4,733          0
      Inactive Residents                                             T            5,057          0
      Inactive Residents                                             OT           2,327      1373
     Inactive Residents                                              PT           2332         868
     Inactive Residents                                              FT           7,870          0




                                                                                81
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                                                   Disc Amount ^sits              ^Excoption         Exception ExcVis'rts
                                                                                                                            Response
                                                                                                     Auth #    Auth'd
                                                                        Remain       Status

       Inactive Residents                         [lOT            192      3,508
       Inactive ResidenB                           FT             161      3,539
       Inactive Residents                          or         4,343              0
       Inactive Retidents                         in-         1,608        2.092
       Inactive Residents                          or             808      2392
       Inactive Residents                         tor         3,053         647
       Inactive Resnfcnts                         Ppf             692      3,008
       Inactive Residents                         'ft        10,613              0
       Inactive Residents                          PT         6J72               0
       Inactive ResidenB                          ilT .       5,213              0
       Inadive ResidenB                           i!sr        5,213              0
       InacOve ResidenB                           ior         5,700              0
       Inactive RtsbienB                          iPT         6.m                0
       InKtive ResidenB                            pr         1,697        2303
       Inactive ResidenB                          sr          2,281        1,419
       Inactive ResidenB                          sr              711      2,989                 1

       Inactive ResidenB                          or          4,814              0
       Inadive ResidenB                                       4,847              0
       Inadive ResidenB                           sr          4,847              0
       Inactive ResdcnB                           or     1     524         3,176
       Inactive ResidenB                          or           574         3,126
       biadrve RcsoicnB                           PT           935         2,765
       Inactive RgidenB                            or         3,910              0
       Inadive ResaienB                           ;or         5,472              0
       Inadive ResdenB                            •PT        10,309              0
       Inadive ResdotB                            [or         2.SW          860
       Inadive teidCDB                            |ft         9,195              0




      Status                        Fuil Name     Disc Amount Visits                 Exception       Exception Exc Visits
                                                                                                                            Response
                                                                                                     Auth«     Auth'd
                                                                        Remain    Status

      Inactive ResidenB                           or         2394           806
      Inadtve ResdoiB                                        4,092            0
      InadTve ResidenB                                       3,2S7|         443




        246.          Upon information and belief, this report comes from the headquarters of Select,

created and exclusively managed by the corporate office.

        247.          As indicated in the report, the majority of the patients are in excess of the CMS

therapy cap limits and a number of patients are even at an excess of$10,000 for 2016. The report

shows $$$$ signs but no indication ofthe patient's medical condition or functionality. There is

obviously no clinical component to this tracking process.

        248.          In fact, Relators heard other therapists at Snow Hill refer to the report as "[Snow

Hill's] Bible for picking up patients and was based on dollars alone."

        249.          In addition, Program Managers at Snow Hill for instance, are required to report

their daily Part B patient projections to Select administrators, before a Part B patient is even

admitted to the facility. By way ofexample, on or about April 16, 2015, Mr. Chesla told Relator


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Goebel in a text message that "[they] need to be at a 100 plus," meaning that all therapists must

deliver more than 100 Medicare Part B units per day:


                                   To: Danny Chesia
                                   —               INS OLUf 1-1.1 INS-


                                       new schedules?


                                               Apr 16, 2015, 7:55 AM


                                     What tinne will u be in?
                                    We need to tighten up
                                    schedule asap.
                                    Thx

                                    We need to be 100 plus
                                    today

        250.   If Select administrators see a lower number ofscheduled Part B patients than the

projected numbers, Select interrogates the clinicians on why the number is low and pressures the

therapist to provide both a detailed explanation and solution to increase the number ofPart B

patients. A response that a "patient was sick and could not do therapy," is not enough. The

therapist is asked to follow up with detailed information on the patient's diagnosis and time

frame for recovery. In other words. Select administrators want to know when the patient is likely

to be back on their feet to participate in therapy, regardless ofthe patient's status.

       251.    Therapists are under constant daily pressure to deliver "over the top" Part B units

to contribute to the company's monetary revenue goals. Additional text messages from Mr.

Chesia to Relator Goebel show the corporate office's intent to micromanage the tracking ofits

Part B patients and extensively burden its clinicians not to ensure that its patients are receiving

quality care they need, but to make sure that Part B projection numbers are met.

       252.    For example, on or about February 9,2015, Mr. Chesia sent Relator Goebel a

reminder text message to make-up low Part B projections. When Relator Goebel explains that he

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only completed 60 Part B units due to staffing shortage, Mr. Chesla instructs him to make-up at

least 45 Part B units over the weekend:



                        To: Danny Chesla




                                      Feb 9, 2015,9:24 AM


                          Pis don't forget to send
                          projection after schedule
                          modified.
                          Thx

                                          60 today due to OT
                                          staffing shortage. Will
                                          make up on Saturday.

                         So at least 45 Saturday?

       253.    The corporate office's urgency of maintaining projection numbers is obviously

highlighted in the text message but there is nothing further about why 45 Part B units need to be

made-up, relative to patient need.

       254.    On or about March 9,2015, Mr. Chesla sent Relator Goebel another text message,

also reminding him of the Part B projections, highlighting the determinative demand ofthe

corporate management to keep up with its Medicare Part B patients:




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                        To: Danny Chesia



                                       Mar 9, 2015, 9:31 AM



                         Ok.dont forget projection

                                     100 b's. what is correct ST
                                     code for cog tx?

       255.   Below are additional text messages,this time from Mr. Schaffer to Relator

Goebel, capturing internal conversations concerning the company's strategies and demands to

increase Medicare Part B patients:


                         To: Danny Chesia, Bobby Schaffer,
                                                                     J
                               Bobby Schaffer

                               Be nice to Nichelie

                               Mike,
                               I'm sure has spoken about
                               this to you in detail but the
                               month of July we must get
                               to 80/85 Bs per day and if
                               we have help from snow
                               hill even more
                               That Is your goal to make
                               happen- if you want
                               overtime do it, get assts in
                               overtime, and get all PRN
                               In as much as you can

{Mike, I'm sure[Danny]has spoken about this to you in detail hut the month ofJuly we must get
to 80/85 B's per day and ifwe have helpfrom Snow Hill, even more. That is your goal to make
happen -ifyou want overtime, do it, get[assistants]in overtime, and get allPRN in as much as
you can)


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                           To: Danny Chesia, Bobby Schaffer,

                                 Bobby Schaffer

                                 1 spoke w Sarah and
                                 starting this Friday she wiii
                                 be at AC
                                 Sarah will work 32/35 hrs
                                 a week everyday at AC
                                 Shannon will be working
                                 20-25 hrs at Parsons then
                                 a few days a week will
                                 help out at AC in addition
                                to Sarah
                                 This month we need to
                                increase Bs, but more
                                importantly make sure we
                                are not D/c ing residents

(... This month we need to increase Bs, but more importantly make sure we are not discharging
residents.)

         256.   Direct orders from Select administrators, demanding that Medicare Part B

projections must be up to speed with the company's target goals, brazenly continue on a routine

basis.


         257.   In 2016, Select observed a decline in the number oflong-term Medicare Part B

residents at Anchorage. Select immediately hired more therapists for the sole purpose ofsorting

and tracking Part B patients triggered under the case-mix index. Instead of hiring clinicians to

increase medical functional outcomes. Select required newly-hired clinicians to assist with the

administrative management process ofincreasing revenue through Medicare Part B recipients. In

fact, on or about July 2016, Mr. Schaffer complains to Relator in a text message "[that they]

can't survive w[ith] 48 [Medicare Part B patients]" and therefore, attempting to justify Select's

claim that more clinicians need be available to work:



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                                          Tue, Jul 7, 7:52 AM

                                 Bobby Schaffer

                                 Mike- meeting at Noon
                                 today- you probably won't
                                 speak that much- just
                                 look pretty
                                 Also we can't survive w
                                 48 Bs- I know Karia is
                                 back tomorrow and get
                                 Cindy as much as she can
                                 do

(... Also we can't survive [with]48 Bs...)

        258.   In summary, Select's corporate policy is to first hire more therapists and then

build patient caseload to suit staffing, not the other way around as it should be.

        259.   Extending the Length of Stay for Medicare Part B patients to bill Medicare for

medical services designated under a payment code that is more expensive than what the patient

actually need or is provided, is detrimental for a critical reason. The fraud not only improperly

increases therapy minutes that are not reasonable or medically necessary, but wrongfully

attempts to provide skilled care for unnecessary Part B services. As a result, too many patients

are exhausted of benefits in that fraudulent process and are denied at other medical facilities

when they truly need health care under Part A skilled care services.

       260.    Medicare uses what is referred to as the benefit period to keep track ofthe SNF

benefit days for each patient. A benefit period generally begins on the day inpatient hospital or

SNF care starts and the patient can receive up to 100 days ofSNF coverage in a benefit period.

The benefit period ends when the patient has not been in a SNF or a hospital for at least 60 days

in a row or ifthe patient is in the SNF but has not received skilled care for at least 60 days in a

row.




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        261.   Select clearly knows that the patient's Length of Stay has a direct financial impact

on the company. As such, its reasons for sustaining the patient's Length of Stay numbers are

rarely correlated with the clinical component ofthe patient's care. On or about August 12, 2016,

Mr. Schaffer instructs Relator Goebel to "get another resident to be 75% at least," in a text

message:


                         To: Bobby Schaffer
                                       Wed, Aug 12, y:Ub AM


                           Give Miranda the 25 min
                           pt from Karlas schedule
                           and then let her know she
                           needs to be out in 8 hrs
                           Also you need to bump
                           your Bs to 70 and get
                          another resident to be
                          75% at least


       262.    Similar to the "SuperCap Report," which tracks Part B patients in the facility and

the total minutes oftherapy services they received, Select also has another detailed report that

keeps track ofthe Length of Stays that each patient at the facility has either leftover or has

exhausted. The report includes information about the patient's discharge reasons and discharge

destination. Upon information and belief, the report provides Select administrators with a

sufficient tracking list to assign and manipulate the number ofPart B units for each clinician,

simultaneously ensuring that the clinicians meet the daily projection levels in "order [for the

facility] to survive." An exemplar ofa portion ofthe "ALOS [Length of Stay] Details Report"

for Anchorage follows:
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                                                                             ALOS Details Report
         Scle; Anchorage Nursing & Rehab Cwlcf
                                                                                                                                                Payer Types; AU Payer Types
         Dale Range: 01/01/2016 -10/19/2016
                                                                                                                                                     Payer Rans; ALL Payers
         ALOS Calculated By; Pstieni CounI                                                                                                              Gap Days Allow^ 0
                                                                    Treatment Sessions
                                                                                                                                         Discharge            Discharge
                                     URN           SOC        FT      01        ST       Total      EOC       LOS      Physician        Destination            Reason

                                    9473f        09/302016                                       10/102016            Das.Babulal         UniTiourn
                                                                                                                                                           Re/usedTherapy
                                                                                                                                                               Senices
                                    94292        09i?1(2016                                      0021/2016           N^san, Usha        SNF-Sane                Other

                                    ^123         04^02016     11       11                22      04/29.2018   IS      Das, Babulal     AcutsHospial         Hospiaizaan
                                    93235        C&02/201S    131                        161     02/12®3l6    2S6   UxMra.Ua/iesh                       HighesI Pr»liesl Level
                                                                                                                                       Long Term Care
                                                                                                                                                               Aehievtd
                                    93235        04MQai6      38      40                 78      06439/2O1B   87    Meondra. Uaftesh    SNF-Same
                                                                                                                                                        Highest Practice Level
                                                                                                                                                               Achieved

                                                 nnviaxi      67       30                97      03126/2016   103    Shai(,Sameer       SNF-Same
                                                                                                                                                        Highest Piaoical Level
                                                                                                                                                               Achieiied

                                    S904S        01/1020IS    47      28        9        84      a3/2Si2316   57     Shall. Ssneer                      Highest Praciitei Level
                                                                                                                                        SMF'Sane
                                                                                                                                                               Acrtocd




        263.         Select's unyielding efforts to increase revenue through Medicare Part B patients

present detrimental results for too many patients at its facilities.

Patient J.J


        264.         As a representative example. Medicare Part B patient JJ.(birth year 1957)began

his Start of Care at Anchorage on or about April 7,2016 for a wrist contracture. According to the

plan of care administered by the therapist, the reasonable and necessary medical treatment for his

condition was a splint with regular follow-up visits. The patient's occupational therapy should

have been completed in just four or five visits. Instead, patient J.J. was admitted for 70 days,

assigned therapy five times a week, and treated as a skilled care patient.

       265.         Not only does the patient's prolonged admittance defi*aud Medicare, but it risks

the patient's future beneficiary status and reimbursement. When a Part B patient is treated as a

skilled patient like patient J.J., it maxes out the amount ofcoverage he can receive as a Part A

recipient at a different hospital. For example, if patient J.J. were to experience a more serious

medical condition than a wrist contracture, such as a stroke, he faces the risk of being kicked out

without coverage benefits at a different hospital.




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        266.    Select's fraud caused patient J.J. to unknowingly use the maximum amoimt of his

skilled care coverage at Anchorage,just to fix a simple contracture in the wrist. This is a typical

scenario of many patients at Select facilities.

Patient G.W.


        267.   In another patient example, Relator Goebel was the treating therapist for Medicare

Part B patient G.W.(birth year 1938). His Start of Care at Snow Hill began on or about January

5,2016. The patient was diagnosed with complicated medical conditions related to Parkinson's

disease. Despite Relator's recommendations against it, Select instructed that the Part B patient be

treated five times a week. However,the patient should have only received treatment three times a

week,not only from a clinical standpoint but because it would bar the patient and the facility

from being reimbursed under Part A. The purpose of Medicare Part B is to replace outpatient

services and the beneficiary should only be receiving therapy three times a week under Part B.

However,patient G.W. was intentionally being treated for five days a week,two extra

unnecessary days, on purpose so that he would exhaust his Part B benefits for the year.

Furthermore, because he was being treated five times a week he is unable to receive his Part A

benefits. As a result, upon return from a 3-day hospital stay, which normally provides Medicare

Part A coverage for up to 100 days after a 3-day inpatient stay, patient G.W. was unable to

receive his Part A skilled care benefits.

       268.    On or about November 23,2016, Relator Goebel overheard a conversation

between Mr. Votta and Mr. Chesla concerning patient G.W. When Mr. Votta brought up the fact

that patient was not eligible for skilled care benefits because he had been continuously treated

five times a week, Mr. Chesla became silent and changed the subject.




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        269.    As a result ofthe fraud. Patient G.W. accrued Part B totals of $11,311.21 for

physical therapy and $5,303.39 for occupational therapy in the year 2016. Medicare therapy cap

limits for 2016 totaled: 1)$1,960 for physieal therapy and speech-language pathology services

combined; and 2)$1,960 for occupational therapy services. Patient G.W. is so far over the

therapy cap figures that he is barred from being reimbursed under Part A.

Patient KC


        270.    Medicare Part B patient V.C.(birth year 1936) began her Start of Care on or

about January 26,2016 at Snow Hill. Patient V.C. is diagnosed with Type 2 diabetes, which

typically can be controlled with oral medications. However,the patient was on caseload for nine

months, despite her medical records, which indicate that she reasonably should have been

discharged three months prior.

        271.    Upon information and belief, there should not be a single Part B patient in a long-

term facility that is on caseload for more than six months continuously. In fact, Ms. McDaniel,

therapy assistant at Anchorage noted:"If[patient V.C.] is ever gone for three days, she will not

be covered under Part A because she has been receiving services under her Part B coverage."

        272.    Thus,the patient is likely to be denied her 100 days of skilled services at another

hospital, which she should normally be provided imder her Part A coverage.

        273.    Patient V.C. still continues to remain on Part B services, five times per week for

physical therapy-none of which is reasonable or medically necessary. Select knows that the

patient has the money to stay, likes that she is fairly personable with all the nurses and therapists

at facility, so it continues to keep her at the facility for as long as possible.

        274.    In summary. Select's systematic and strategic methods to maneuver its Part B

patients show that Select's process of admitting and treating Part B patients are only intended to


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 fraudulently fulfill their financial incentives. The high number ofPart B patients at both
 Anchorage and Snow Hill, receiving an average of550 treatment minutes,five days per week,
 far exceeds the average in similar facilities.

 Select Intentionallv Ramvs Up and Down Theraw Minutes Durins Assessment Reference
 Periods, Stratesicallv Schetnins to Maximize Medicare Reimbursetnent Levels

        275. In order to continue its fraudulent practices undetected, especially with up-coding
       levels for patients, Select accomplishes the p^icular billing scheme by ramping up and
down treatment minutes around the assessment reference dates("ARD")."Classic ramping" is
the practice of setting treatment minutes at an Ultra-High level right before the assessment
reference date and right before the assessment cycle ends, only ramping down the treatment
minutes when the new assessment cycle begins.

        276. CMS requires SNFs to submit assessments according to an assessment schedule,
generally on the 5th, 14th, 30th,60th, and 90th days of post-hospital SNF care, to account for
changes in patient care needs.

        277. In light ofthe assessment schedule,foremost. Select's Regional Managers ramp
up treatment minutes as high as possible, usually starting off the patient at an Ultra-High level,
maintaining the high RUG level, and only attempting to ramp down when the new assessment

cycle begins. In addition. Select routinely disregards physician orders, even those that expressly
state:"No physical therapy for a few days per doctor," and keeps the patient's RUG levels
ramped up.

       278. On or about May 29,2015, Mr. Chesla sent Relator Goebel a text message
indicating Select's financial goals in ramping down a patient at a later date, when clinically
speaking, it was not appropriate for the patient to even be assigned an Ultra-High level:



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                                         May 29, 2015,10:38 AM


                         We cannot ramp down for
                         30 days now and goal is 5
                         day ultra

       279.      On or about January 13, 2017, Relator Goebel overheard Mr. Chesia chastise Mr.

Votta for a missed assessment day. Mr. Chesia stated: "If you had taken the 14-day assessment

date,two days earlier, that would have meant more money for us."

       280.      The "classic ramping" method,influenced by the assessment schedule, is clearly

used to maximize reimbursement without regard for patient need and benefit.

       281.      Second, Select also ensures that the fraud affects new, entering patients. Select

automatically up-codes new,entering patients,prfor to examination, usually as presumptive

Ultra-Highs, and then may ramp down therapy minutes only after the assessment reference date

or not ramp down at all.

       282.      On or about July 2016, Mr. Chesia told Relator Coleman that all ofthe new

Medicare Part A patients must be at the Ultra-High level for at least the five-day assessment

reference period, reasoning that,"it is better to ramp [the patients] down than it is to ramp [the

patients] up."

       283.      At Select, such a reasoning is not medically justifiable. Upon information and

belief, it is simply financially beneficial to ramp down RUG levels than to ramp them up. From a

clinical perspective, the patient may not even be able to tolerate or benefit from the Ultra-High

treatment minutes at all.




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        284.     Furthermore, in order to maintain the fraud, Select administrators are extremely

carefril, so as not to raise unnecessary red flags with the government.

        285.      For example, Select administrators instruct therapists at Anchorage to schedule

therapy minutes in increments like the following - 72, 73,77, and 76 minutes-instead ofthe

traditional round numbers of75 minutes for physical therapy and 70 minutes for occupational

therapy. The theory for using round numbers is that, if every patient is at an Ultra-High level,

landing right at 720 minutes for each assessment reference period, it increases the probability of

raising red flags with the government.

       286.      Instead, therapists are instructed to schedule between 72-73 minutes, with the

minutes only at one to three minutes apart, expressly meant to avoid government inquiry, audit

and detection.


       287.      In another example, on or about July 2016, Mr. Chesla told Relator Coleman that

Anchorage needed to ramp down a few ofthe patients to Very-High, after noticing that the

facility was running at 100% Ultra-Highs. Mr. Chesla stated:"We need to be careful and stay off

the radar." This example shows clear intent that Select knowingly engages in the fraud,

completely disregarding the facilities' responsibilities to deliver appropriate patient skilled care

and for reasons unrelated to patient necessity. Upon information and belief, even iftwo ofthe

Ultra-High patients were ramped down, Anchorage would still have been at an unjustifiable 75%

of Ultra-Highs at the time.

Patient B.M,


       288.      In a representative example showing "classing ramping," on or about March 15,

2016, Medicare Part A patient B.M.(birth year 1926), diagnosed with extreme heart failure,

including a 30 percent ejection fraction(an ejection fraction is an important measurement in


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determining how well the heart is pumping out blood and a normal ejection fraction ranges from

55-70 percent), was admitted to Snow Hill. On or about May 2016, during therapy, the patient's

heel started to bleed. As a result, the doctor put a temporary hold on her treatment. Relator

Coleman noted the doctor's orders and added that the patient cannot tolerate any more therapy.

       289.    Later that day, Mr. Chesla personally called Relator Coleman four times to

discuss the patient. When Relator Coleman explained that the patient really needed to decrease

her therapy minutes, Mr. Chesla stated that they cannot decrease her minutes because "[the

patient's] ARD was May 18, 2016 and if they ramp her down,[Select] will lose payments." Mr.

Chesla added that they were willing to go against doctor's orders to continue therapy minutes

until they can "safely lower [the patient's] RUG level without risking money."

       290.    Deliberately disregarding doctor's orders. Select assigned the patient an increase

oftherapy minutes -90 minutes of physical therapy and 75 minutes of occupational therapy per

day - to which the patient expressly continued to complain that she could not tolerate.

       291.    In other words. Select ramped up the patient's RUG levels and refused to ramp

down the levels, until it was financially safe for the company to do so. The 90-year-old patient

was assigned an Ultra-High RUG level, the entire time she was admitted, regardless of her

condition, medical needs and doctor's orders.

       292.    The patient's medical records show that over 50 minutes per discipline per day

was neither reasonable nor necessary for her condition. Upon information and belief, as a result,

patient B.M.is at risk of getting worse and facing fatal health complications.

       293.    The next day, Mr. Chesla personally called Relator Goebel to ask about the billing

for patient B.M., which was documented as 15 minutes short of her assigned therapy minutes.

The patient had complained offatigue and refused to continue treatment and Relator Goebel had



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documented as such. Upon information and belief, Mr. Chesia was making the call because the

personal phone call is actually code for "Can you bill an extra 15 minutes for this patient,

regardless of what was really provided?"

       294.    In reference to Mr. Chesla's request to bill an extra 15 minutes for services not

actually rendered, Relator Goebel explained to Mr. Chesia that his billing was correct and again

raised concerns about the patient's clinical condition as an Ultra-High, stating that she was "just

getting too much treatment for a 90-year-old." Ultimately, Relator Goebel refused to make the

changes himself.

       295.    This patient is not only an example ofwho was wrongfully and irresponsibly up-

coded and was prevented from being ramped down before the ARD,but also an example ofa

patient, in which Select knowingly intended to bill Medicare for services that were not rendered

by the Relator. Select tried to pressure and force Relator to bypass CMS-regulated billing

procedures and cause improper Medicare payments.

Patient NX.


       296.    On or about July 2016, Relator Goebel noticed another Medicare Part A patient at

Snow Hill, who was subject to "classic ramping." Patient N.L.(birth year 1939)is non-

ambulatory, in which she cannot get out of bed and has an extremely low activity tolerance.

       297.    Yet, Mr. Chesia, who is off-site and has never even seen the patient, set her RUG

level at Ultra-High and assigned 145 minutes oftreatment per day of both physical therapy and

occupational therapy.

       298.    Although her medical records indicate that a lower RUG level is clinically

appropriate for the patient, Mr. Chesia strongly refuses to ramp down her minutes until the next

assessment cycle.



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       299.    These Medicare patients are only a small representative sampling ofthe fraud that

occurs at Select. "Classic ramping" at Select, usually against doctor's orders, imposes serious

medical setbacks on patients. Though it appears that the clinicians at Anchorage and Snow Hill

are accurately assigning minutes and agreeing to RUG levels submitted to Medicare, this is

rarely the case. Instead, the corporate office's proactive engagement in strategically ramping up

and down RUG levels at points of ARD occur on a daily basis and therapists who raise concerns

with the seriousness ofthe resulting condition ofthe patient, fall on deaf ears.

       300.    Directives with regards to "classic ramping" have also been made in writing. On

or about July 2016, Mr. Chesla, sent an email to Snow Hill staffers including "helpful hints" on

how to schedule Medicare A patients during assessment reference periods, aligned with Select's

fraudulent intent:


                                Helpful Hintsfor Medicare A Scheduling

   1. Don't ramp down immediately after a regularly scheduled assessment reference date. Basically
      you will not realize RUG you metfor the assessment reference date and the therapist will look
      back seven days and cover up these days. Maintain the same RUG as the regular assessment
       reference date.


   2. Begin ramping down approximately day 21, depending on where you set your 14 day. This way
      you can block the Change of Therapy that starts on approximately day 21 or 22 with the 30 day
       on day 27.

   3. If you know a discipline is getting out at a regularly scheduled assessment reference date,start
      ramping down then to the RUG you can maintain on thefollowing Change of Therapy. Refer to
       number 1.


   4. Ifa patient is being discharged off of Medicare A to Long Term Care in facility, try to discharge
      on the last day of the Change of Therapy and ramp down during that period. Long Term Care day
       ff6, then discharge on day #7.

   5. Likewise, if a patient is being discharged at home, make sure they are being discharged on or
      before the day ofthe Charge of Therapy period. If they are, begin ramping minutes down.




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       301.    This written directive instructing medical providers on when to discharge and

when to ramp down RUG rates is completely devoid of any mention ofthe medical needs ofthe

patient. It unambiguously shows clear intent at the management level to skew RUG rates and

defraud payers.

       302.    In another email blast sent to all Snow Hill staffers, Mr. Luberski explicitly

instructs therapists "to make up minutes to maintain the RV"to ensure that a patient is receiving

more therapy minutes,for the purpose of maintaining their high RUG level until it is safe to

ramp down:

               Ffonu Cd Luterskl
               Sect:Mends'/,/jjgust8,2<D1S 9yl7 PM
               To: Harreon House of£naw HID
               Subject:chsdung in



              justa few Lkingi:




               1. HHieeds 10 make up minuLns to nifainLaln the RV


              2. Loo ks like                   notseen by PIT Pifloo/ifay, can you let me kn>ow what
               iuappenetf/




              Ed




              Edward T Lub-erski MSPT
              Regional Vice Presitfeot
              Select Rehabilitation
                                                             1




       303.   In light ofthe reimbursement percentage factor. Select continues to engage in

"classic ramping" to maximize reimbursements from Medicare and ensure that the continuous

fraud is concealed and undetected. Accordingly, such conduct causes therapists to over-

document more than what actually occurs during a disciplinary session, and therefore causes


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fraudulent up-coding that correlates to reimbursement levels that are outrageously high.

Ultimately, the Government faces high monetary damages and the patients receiving skilled care

are subject to a high probability of medical risk and harm.

Select Enforces Corporate Directives. Encouraging its Therapists to Commit Fraud to Meet
Irrational Productivity Levels


       304.    Select demonstrates fraudulent corporate intent through a variety ofstrategic

methods,instructing its therapists to follow corporate policies that direct and require fraud to

meet irrational productivity levels.

       305.    The fraud committed at Anchorage and Snow Hill are corporate directives from

Select, exercised through both verbal and written instructions to maintain high RUG levels and

the development ofa strict billing system to measure and set target productivity levels exclusive

to Select employees, all in efforts to ensure that everyone working at the facilities is committed

to increasing Part A and Part B patient admissions, RUG levels, therapy utilizations, and

productivity levels.

       306.    Corporate policies and procedures at Select are neither a reflection of what is

medically necessary or reasonable for the patients nor is it in the best interest of the patients.

Despite the company's obligation under Federal and State regulations to provide medically

necessary and reasonable, patient-focused therapy to SNF beneficiaries. Select exercises control

over its therapists through its fraudulent initiative to receive maximum reimbursement from the

Government.


       307.    Revealing fraudulent intent and that these practices are indeed conducted on a

company-wide scale, corporate policy is constantly reinforced at Select through both verbal and

written instructions.




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         308.       At Snow Hill, for example,the Mr. Chesla requires all ofits therapists to submit

"numbers" for the facility. Each day Mr. Chesla reviews the number ofPart A and Part B

patients and their total treatment minutes performed by therapists, the number of Ultra-Highs and

Very-Highs, and projection numbers. The email chain below shows Mr. Chesla's request on or

about July 5,2016,for the daily "numbers" from Snow Hill staffers and Snow Hill's response.

 From: Danny Chesla
 Sent:Tuesday,July 5,201S 6:43:38 AM
 To: Ginger Cove - rl!ev-kremer(5)glngercove.com fnlev-kremerOgingercove.com); Harrison
 House ofSnow Hill; John B. Parsons;Sanctuary at Holy Cross, Maryland
 Subject:This AM


 Good am all


 I have a meeting at 8:30 this AM. Please email me normal numbers and
 carefully go thru As, Bs and quarteriys. And include any other items.

 I will call you when out of meeting.
 Thank you,

 Daniel Chesla PT, DPT
 Clinical Manager
 Select Rehabilitation, Inc.


From: Harrison House of Snovj Hill
Sent:Tuesday,July 5, 2016 8:04 AM
To: Danny Chesla
Subject: Re:This AM



Good morning.

 Total hours 27.65             benefit time 3.5 hours


   Med A RUG 2 RU, 3 RV

   Units per visit 72

  Projected Med B Units are 68



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         309.      Through constant communication, Select's corporate office relies on the Regional

Managers to ensure that specific corporate instructions, fraudulently tailored to lead to

submitting false reimbursement claims to Medicare, are directly passed on to the therapists.

         310.      Should clinicians lack "numbers," including percentages of Ultra-High RUG

levels, Part B numbers, billed therapy minutes, and other overall productivity levels, Regional

Managers, on behalf of Select, circulate demanding corporate directives, via emails, text

messages, and direct phone calls to therapists, pressuring licensed, health care professionals to

focus on "replenishing the caseload" because of"unexpected discharges," noting that "the

percentages are lacking," rather than directing the focus to the type and quality oftreatment

provided to each patient. By way ofexample, Mr. Chesla circulated an email instructing Snow

Hill staffers to "build the caseload ASAP":

From: Danny Chesla
Sent:Tuesday,June 28,2016 7:25 AM
To: Harrison House of Snow Hill
Cc: Ed Luberski
Subject:6/27

Good am Bill


We need to tighten up on the schedule,the % were lacking. You were at 46%,we need to get to 75%
. Mike at 79%, Cindy at 81%.

I understand we had some DCs last week,some unexpected. We need to replenish caseload ASAP.

FT side:
Recently, we were able to keep Norman,Jared and you pretty busy. Now we are having trouble just
keeping you and Jared busy.

OT side:
I know we spoke about Mike and Cindy yesterday being a littie iow In the AM.. However, 1 know for
sure Cindy has had her fair share of otime in the past, and having a short day once in a blue moon may
happen and she needs to understand especially with the recent otime she has been offered. If Mike
needs to leave early for appts etc, then we can give more to Cindy or vice versa.




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 They still need to remain productive. We need to build the caseload ASAP. 1 believe we spoke of 3
 evals today.

 Thank you,
 Danny

 Daniel Chesia PT, OPT
 Clinical Manager
 Select Rehabilitation, Inc.


         311.       Similar to the email, on or about March 12, 2015, Mr. Chesia directly text

messaged Relator Goebel, reminding Relator ofthe upcoming discharge patients. Corporate

intent is shown in this text:"We have to do what we can to get [length ofstay] better and higher

RUGs [rates]";


                                             Mar 12, 2015, 9:33 AM


                               (1/2) There r a lot of med
                               Adcs coming up.
                               We have to do what we
                               can to get LOS better and
                               higher rugs.
         312.       The text message highlights "better LOS"and "higher RUGs" but nowhere does it

mention patient need or whether the practice is medically necessary for any ofits patients.

         313.       Corporate directives are handed down by Select through the chain ofcommand,in

the form of both written and verbal instructions, to actively micromanage and pressme therapists

to meet the company's quota of60-70% of Ultra-High patients and targeted number ofPart B

unit projections.

         314.       Corporate intent is also demonstrated in the company's frequent involvement with

abusing the billing system. In essence, corporative directives regarding the productivity level of

its therapists working at Anchorage and Snow Hill, also play a role in incentivizing health care
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clinicians and employees to commit fraud. The current productivity levels that Select requires at

Anchorage and Snow Hill are as follows:

                                            Required Productivit}'
                                                  Level(%)

                                                  Anchorage                      Snow Hill

              Treating Assistants                     94%                           92%

              Treating Therapists                     92%                           90%

              Program Managers                        75%                           75%




       315.     Regional Managers,including Mr. Chesla and Mr. Schaffer, require therapists to

submit daily emails detailing their "numbers." Upon review, Select administrators address points

oflow productivity, coercing therapists and nurses to maintain a high level of productivity by for

instance, assigning more patients into the Ultra-High category. If the therapist fails to complete

the projected amount ofPart B units or fails to hit a targeted percentage of high RUG levels, they

are required to work weekends to make up for the missing "numbers."

       316.     Such productivity levels lead to constant,unnecessary pressure at the facilities and

incentivizes fraud because none ofthe corporate directives concerning the billing system are

related to patient medical needs.

       317.     Without prioritizing patient needs or benefits noted in doctor's orders, service log

matrices, and therapy progress notes, the corporate office forces therapists to bill at an

unrealistically high productivity level, instead of allowing medical practitioners to do what they

are licensed to do,including accurately and truthfully billing for therapy that is medically

necessary and reasonable for every patient.




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        318.    At Anchorage for example,in order to hit a certain percentage beneficial to their

financial interest. Select ignores the fact that reimbursement is only to cover the total number of

actual labor hours billed by the clinician. In other words, if a patient cancels a scheduled

treatment or if a therapist goes to lunch, clinicians are supposed to clock out accordingly.

        319.    But Select administrators freely instruct therapists at Anchorage to bill for care

not actually provided. Upon information and belief, there is no way the facility can meet

scheduling demands which includes such high RUG distributions of720 treatment minutes,

while taking a full-hour for lunch.

        320.    Anchorage may be documenting patients at an Ultra-High and billing Medicare as

such, but its therapists are definitely not delivering all the minutes that they claim to have

provided to its patients.

        321.   The productivity levels at both Anchorage and Snow Hill are impossible to

truthfully maintain when taking into account that providers have breaks, have to eat lunch, have

to complete work that is not billable (like completing charts), and sometimes meet patients who

cannot tolerate or refuse treatment. The only way to maintain these productivity levels is to

fabricate records and bills.

       322.    In order to maintain the fraudulent billing practice. Select also uses its "efficiency

calculator," created exclusively by the corporate office to track hours submitted by the facilities,

RUG levels, and Part B umts. The "efficiency calculator" provides a big-picture outlook ofhow

the facility is doing in terms of"numbers. The "efficiency calculator" does not track information

on how each patient is doing in terms offunctionality or whether they are meeting their health

improvement goals.




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        323.   In reference to the productivity levels, other clinicians that work with Relators are

also highly concerned with Select's dishonest policies. On or about August 2016, Ms. Wood, a

COTA who has been employed at Anchorage for one year, complained to Relator Goebel that

she is resigning because the productivity level requirement for the facility is 94% and she refuses

to work under those conditions. She said,"[Therapist] take an hour for lunch every day. How can

they ever be at 94 percent? This is fraud. I refuse to be a part of it." On or about September 2016,

a month after her conversation with Relator Goebel, Ms. Wood resigned from Anchorage.

       324.    On another occasion, an occupational therapist named Ms. Kaputsos informed

Relator Goebel that Anchorage is requiring 15/75 treatment minutes for the evaluation and

treatment distribution. She said,"I guess I'm supposed to bill 90 minutes for this evaluation, but

I don't know how I'm going to do it. This is impossible." In other words. Anchorage is assigning

more and more patients into the Ultra-High level and billing Medicare accordingly but are not

actually delivering all the minutes. At the same time. Select is habitually forcing therapists to bill

extra therapy minutes if it seems unsatisfactory to meeting their productivity level.

       325.    In fact, on or about May 27, 2016, Relator Goebel directly overheard Ms.

McDaniel, the therapy assistant, instructing a COTA to bill extra therapy minutes for a patient.

Rachel Betz was a COTA at Anchorage who reported to Ms. McDaniel that patient N.B. refiised

therapy on four different occasions that day. When Ms. Betz asked Ms. McDaniel,"how many

minutes should [she] bill," Ms. McDaniel said: Either 50 or 55 minutes,I'm not sure.[The

patient] is a Medicare A so we have to get the minutes." Ms. Betz billed the patient, who refused

therapy,for 50 minutes oftherapy that was never even provided.




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        326. In summary, all ofthese various methods to systematically induce its fraudulent

scheme,intent, and conduct per the corporate office, also serve to continue the fraud and have

served to keep detection at bay, until now.

        327.   As a result ofthe continuous fraud occurring at Anchorage and Snow Hill, under

Select operation, the federal Medicare and state Medicaid programs has already made numerous

overpayments for falsely submitted claims and continues to be wrongly responsible for an

unreasonable amount ofreimbursement that correlate to the patients and the total duration of

skilled care provided.

       328. Upon information and belief, the amount charged to the federal Government, per

patient, per RUG level assigned is actually much higher. The corporate office, through its off-site

Regional Managers,is pressuring all patient cases to make medical decisions on patients they

have never seen. Furthermore,the corporate office communicates daily with the therapists to

review the numbers in all the following areas offraud, including patient eligibility; falsification

of medical records to up-code RUG levels; ramping up and down ofRUG levels; and requiring

irrational productivity levels. With the corporate office having a hand in each case and

circumventing clinician assessments and patient need,fraud is evident in close to 100% of

patients.

                                              COUNT I
                             FALSE CLAIMS ACT VIOLATION
                            (False Claims 31 U.S.C. §3729(a)(l)(A))

       329.    Plaintiffs-Relators adopt and incorporate by reference all paragraphs herein.

       330.    This is a claim brought by Plaintiffs-Relators and the United States to recover

treble damage, civil penalties, and the cost ofthis action, under the Federal False Claims Act, 31




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U.S.C. §§ 3729-3733, as amended, Pub. L. 99-562,100 Stat 3153(1986)(the "FCA"), arising

from the Defendant Select's violation ofthe False Claims Act, 31 U.S.C. §§ 3729-3733, et seq.

        331.    TheFCA,31 U.S.C. § 3729(a)(1)(A), provides that any person who;

                (a)(1)(A)knowingly presents, or causes to be presented, a false or
                fraudulent claim for payment or approval... is liable to the United
                States Government for any civil penalty ofnot less than $5,000 and
                not more than $10,000 ... plus 3 times the amount of damages
                which the Government sustains because ofthe act ofthat person.

    31 U.S.C. §3729.

        332.    Defendant Select knowingly presented and/or caused to be presented false or

fraudulent claims for payment or approval ofservices for payment, and upon information and

belief, continues to submit and/or cause the submission offalse or fraudulent claims for payment

or approval of services for payment,to the United States Government through the entities

administering government funds pursuant to the Medicare programs, all in violation of31 U.S.C.

§ 3729(a)(1)(A).

        333.    By engaging in the submission ofclaims for patients who are wrongfully provided

skilled care, Defendant Select knowingly presents and/or causes to be presented false or

fraudulent claims for payment to the Medicare program. Defendant improperly provides skilled

care for patients who do not meet the eligibility assessment standards to receive skilled care

benefits. By excessive and over-certification of Medicare patients in the process of assessing

treatment benefits and assigning therapy minutes. Defendant Select knowingly caused the

Medicare program to be charged and present payment for patients who were not eligible for

skilled care.


       334.     Moreover, Defendant Select knowingly presents and/or causes to be presented

false or fraudulent claims for payment to the Medicare program by up-coding RUG levels



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corresponding to therapy services to grossly inflate the Medicare reimbursement paid for skilled

care. This fraud leads to assigning the highest RUG level that were not reasonable and medically

necessary for patients, submitting misrepresented RUG levels that were exceeding the level of

services that patients expressly refuse, and are unable to tolerate and/or benefit from.

       335.    Defendant Select failed to follow CMS standards for identifying and reporting

RUG levels scores and instead, knowingly overbilled the Medicare program, resulting in

overpayments that were not refunded but were kept to yield high financial revenues for the

company.


       336.    The corporate office specifically knew about the fraud described above, acted to

encourage, facilitate, require, and actively pressure it through the corporate emphasis on therapy

and revenues over compliance and patient welfare, and acted to conceal the fraudulent conduct.

       337.    Defendant Select knew and intended to violate CMS regulations and governing

laws,to deceive the Medicare program, and to violate the FCA. As described herein, by

improperly assigning skilled care therapy to Medicare patients who are not eligible for skilled

care therapy and up-coding and misrepresenting RUG levels, Defendant knowingly submitted

and continue to submit false or fraudulent claims to the Medicare program, causing the

government to pay for patients ineligible for skilled care and fraudulent and improper billing and

payment coding corresponding to therapy services that were not medically necessary and

unreasonable for the patient and that were exceeding the level ofservices actually provided or

needed.


       338.    As a result ofDefendant Select's wrongdoing and improper conduct,the Federal

Medicare program made and continues to make Medicare payments to Defendants based upon

false and fraudulent claims and suffered and continues to suffer damages. The United States



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Government is entitled to foil recovery ofthe amount paid by the Medicare program for the false

or fraudulent claims submitted by Defendant Select.

        339.     Defendant knew that given its conduct, ifthe government had been aware ofthe

false or fraudulent conduct and false and/or fraudulent claims, it would be entitled to refose

payment.

        340.     As set forth in the preceding paragraphs in this Complaint, Defendant knowingly

violated 31 U.S.C. § 3729(a)(1)(A) and damaged the United States by their action in an amount

to be determined at trial.


                                            COUNT II
                              FALSE CLAIMS ACT VIOLATION
                         (False Statements of31 U.S.C. §3729(a)(l)(B)).

       341.    Plaintiffs-Relators adopt and incorporate by reference all paragraphs herein.

       342.    This is a claim brought by Plaintiffs-Relators and the United States to recover

treble damage, civil penalties, and the cost of this action, under the Federal False Claims Act, 31

U.S.C. §§ 3729-3733, as amended. Pub. L. 99-562,100 Stat. 3153(1986)(the "FCA"), arising

from the Defendant's violations ofthe False Claims Act, 31 U.S.C. §§ 3729-3733, et seq.

       343.    The FCA,31 U.S.C. § 3729(a)(1)(B), provides that any person who:

       (a)(1)(B) knowingly makes, uses, or causes to be made or used, a false record or
       statement material to a false or fraudulent claim... is liable to the United States
       Government for any civil penalty ofnot less than $5,000 and not more than
       $10,000 ... plus 3 times the amount of damages which the Government sustains
       because of the act ofthat person.

U.S.C. § 3729.




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        344. Defendant knowingly made, used, or caused to be made or used, and upon

information and belief, still makes and uses, false records or statements material to a false or

fraudulent claim to the United States Government through the entities administering government
funds pursuant to the Medicare program.

        345. By falsifying medical records and patient assessment forms submitted to CMS or

its fiscal intermediary. Defendant knowingly presented or caused to be presented false or

fraudulent claims for payment to the Medicare program.

        346.    At Select, therapy progress reports, patient evaluations, and plan oftreatment

forms, all documenting patient symptoms,functioning and needs, do not accurately and

truthfully reflect honest clinical assessments made in the field, do not accurately and truthfully
report patient symptoms, needs and functioning, and are not completed to accurately and

truthfully report the best interests and medical needs ofthe patients.

       347.    Most importantly, the purpose ofthe MDS report is to capture an accurate and

true diagnosis and progress ofthe patient, including the identification ofthe patient's continuing

need for skilled care, in order to meet his or her medical, nursing, rehabilitative, social, and

discharge planning needs. Equally important, the MDS report, as a part ofthe RAI,serves as an

assessment tool required by Medicare to determine how much therapy the patient truly needs and

what types ofskilled care treatments are reasonable and necessary, therefore, determining the

level ofreimbursement that is ultimately paid by the Medicare program to Defendant Select. As

such, the government expects patients' medical needs to be thoroughly satisfied at the

assessment level and that it is submitted to the government with accurate reflection ofthe

patient's plan ofcare. In sum, patient-related forms are supposed to be completed and

documented with honest clinical contribution and consent, prior to submitting to the government.


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        348. But as described in the Complaint, therapists are asked daily to fabricate and

exaggerate the information recorded in the assessments in order to up-code RUG levels and

improperly increase therapy, with the sole purpose ofincreasing reimbursement payment and

justifying unreasonable and medically unnecessary skilled care to its patients.

       349.    The corporate office specifically knew about the fraud described above, acted to

encourage, facilitate, require, and actively pressure it through the corporate emphasis on therapy

and revenues over compliance and patient welfare, and acted to conceal the fraudulent conduct.

Corporate demand showed intent to violate CMS regulations, deceive the Medicare program, and

violate the FCA.


       350.    As a result of Defendant Select's fraudulent course of conduct, with actual

knowledge offalsity and/or in deliberate ignorance or reckless disregard that such statements and

claims were false. Defendant made, used, or caused to made or used,false records or statement

material to a false or fraudulent claim to the government for the Medicare program. The federal

Medicare program made and continues to make Medicare payments to Defendant based upon

false and fraudulent claims and suffered and continues to suffer damages. The United States

Government is entitled to full recovery ofthe amount paid by the Medicare program for the false

or fraudulent claims submitted by Defendant.




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          351.   The government would not have made payments to Defendant but for their

fraudulent claims and submissions. Specifically, the government would not have paid Defendant
for the following, including but not limited to: wrongfully provided assigned therapy that did not

meet the eligibility criteria, up-coded RUG levels, misrepresented and falsified medical records

and patient assessment forms,therapy services that were not reasonable and medically necessary

for the patient, excessive treatments, and skilled care that were not supported or required by

patients' medical records or physicians' orders.

          352.   The government, through its proxies under the Medicare program, made payments

to Defendant based upon false and fraudulent claims and suffered damages. The United States

Government is entitled to full recovery ofthe amount paid by the Medicare program for the false

or fraudulent claims.


          353.   Defendant knew that given its conduct, if the government had been aware ofthe

false or fraudulent conduct and false and/or fraudulent claims, it would be entitled to refuse

payment.

          354.   As stated in preceding paragraphs. Defendant Select knowingly violated 31

U.S.C. § 37299(a)(1)(B) and damages the United States by its actions in an amount to be

determined at trial and totaling many millions of dollars.

                                            COUNT III
                              FALSE CLAIMS ACT VIOLATION
                             (Violation of31 U.S.C. §3729(a)(l)(G)).

          355.   Plaintiffs-Relators adopt and incorporate herein by reference all paragraphs

herein.




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        356.    This is a claim brought by Plaintiffs-Relators and the United States to recover

treble damage, civil penalties, and the cost ofthis action, under the Federal False Claims Act,31

U.S.C. §§ 3729-3733, as amended,Pub. L. 99-562,100 Stat. 3153(1986)(the "FCA"),arising

from the Defendant's violations ofthe False Claims Act, 31 U.S.C. §§ 3729-3733,

        357. The FCA,31 U.S.C. § 3729(a)(1)(G), provides that any person who:

               (a)(1)(G)knowingly makes, uses, or causes to be made or used, a
               false record or statement material to an obligation to pay or
               transmit money or property to the Government, or knowingly
               conceals or knowingly and improperly avoids or decreases an
               obligation to pay or transmit money or property to the Government
               ... is liable to the United States Government for any civil penalty
               ofnot less than $5,000 and not more than $10,000 ... plus 3 times
               the amount of damages which the Government sustains because of
                the act ofthat person.

    31 U.S.C. §3729.

        358.   By virtue ofthe fraud described in the Complaint, Defendant Select knowingly

made,used, or caused to be made or used false records or statements and knowingly concealed

or avoided obligation to pay (repay) money to the government, and continues to do so, in

violation of31 U.S.C. § 3729(a)(1)(G). Defendant knowingly committed fraud by enforcing

corporate directives, exercised through both verbal and written instructions to maintaTn high

RUG levels and the development ofa strict billing system to measure and set target productivity

levels exclusive to Select employees, all in efforts to ensure that everyone working at the

facilities is committed to increasing Part A and Part B patient admissions, RUG levels, therapy

utilizations, and productivity levels.

       359.    Corporate policies and procedures at Select are neither a reflection of what is

medically necessary or reasonable for the patients nor is it in the best interest ofthe patients.

Despite the company's obligation under Federal regulations to provide medically necessary and



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reasonable, patient-focused therapy to SNF beneficiaries. Select exercised control over its

therapists through its fraudulent initiative to receive maximum reimbursement from the

Government. Defendant clearly knew it was being overpaid by Medicare.

        360. Yet Defendant Select did not take the required and appropriate steps to cease the

fraudulent conduct, satisfy the obligation owed to the United States, refund or return such

overpayments, or inform Medicare ofthe overbilling, and it instead continued to retain the same

corporate directives and commit fraud to overbill the Medicare program.

        361.   Moreover, in order to continue its fraudulent practices undetected, especially with

up-coding RUG levels for patients, Defendant accomplished their particular billing scheme by

ramping up and down treatment minutes around the assessment reference dates("ARD").

Defendant intentionally engaged in "classic ramping" to set treahnent minutes at an Ultra-High

level right before the assessment reference date and right before the assessment cycle ends, only

ramping down the treatment minutes when the new assessment cycle began.

       362.    Defendant Select knew that given its conduct, ifthe government had been aware

ofthe false or fraudulent conduct and false and/or fraudulent claims, it would be entitled to

refuse payment.

       363.    As a result ofDefendant's violations of31 U.S.C. § 3729(a)(1)(G),the United

States has suffered substantial losses in an amount that exceeds tens of millions of dollars, and

therefore is entitled to treble damages under the False Claims Act, to be determined at trial and

totaling many millions of dollars.

                                           COUNT IV
                             FALSE CLAIMS ACT VIOLATION
                            (Violation of 31 U.S.C. § 3729(a)(1)(C)).

       364. Plaintiff-Relators adopt and incorporate herein by reference all paragraphs herein.


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       365.    This is a claim brought by Plaintiffs-Relators and the United States to recover

treble damage, civil penalties, and the cost ofthis action, under the Federal False Claims Act,31

U.S.C. §§ 3729-3733, as amended.Pub. L. 99-562,100 Stat. 3153(1986)(the "FCA"), arising

from the Defendants Select, Communicare and White Oaks' violations ofthe False Claims Act,

31 U.S.C. §§ 3729-3733, etseq.

       366.    The FCA,31 U.S.C. § 3729(a)(1)(C), provides that any person who:

              (a)(1)(C) conspires to commit a violation of[false claims 31 U.S.C.
              §3729(a)(l)(A); false statements 31 U.S.C. §3729(a)(l)(B); and 31 U.S.C.
              §3729(a)(l)(G)] ... is liable to the United States Government for any civil penalty
              of not less than $5,000 and not more than $10,000 ... plus 3 times the amount of
              damages which the Government sustains because ofthe act ofthat person.

       32 U.S.C. § 3729.

       367.    Defendants conspired with one another to participate in a fraudulent scheme to

defraud the United States and the State of Maryland by submitting, causing to submit or aiding

and participating and benefiting in the submission offalse or fraudulent claims Medicare and

Medicaid claims in violation of31 U.S.C. § 3929(a)(1)(C).

       368.    First, Defendant Select conspired with Defendants CommuniCare and White Oak

at relevant times to knowingly present and/or caused to be present false or fraudulent claims for

payment or approval of services for payment, and upon information and belief, continues to

submit and/or cause the submission offalse or fraudulent claims for payment or approval of

services for payment,to the United States Government through the entities administering

government funds pursuant to the Medicare programs and to the State of Maryland, all in

violation of31 U.S.C. § 3729(a)(1)(A).

       369.    Select's corporate office works closely with CommuniCare's corporate office to

operate and manage Anchorage on the therapy side ofthe business, including setting therapy



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minutes, monitoring therapists, assigning services to Medicare patients, managing productivity
levels, and enforcing corporate directives. Communicare has knowledge of Select's fraud

detailed herein and willingly participates therein and profits therefrom.

        370. Prior to CommuniCare's acquisition of Anchorage in January 2016, Anchorage

was formerly owned and operated by White Oak, which managed Anchorage similarly to how

CommuniCare manages Anchorage now. Select's corporate office worked closely with White

Oak's corporate office to operate and manage Anchorage on the therapy side ofthe business,,

including setting therapy minutes, monitoring therapists, assigning services to Medicare patients,

managing productivity levels, and enforcing corporate directives. White Oak had knowledge of

Select's fraud detailed herein and willingly participated therein and profited therefrom. As such,

Plaintiffs-Relators also bring claims against White Oak for all the relevant frauds that occurred

prior to the date of CommuniCare's acquisition of Anchorage. White Oak acquired Anchorage in

June 2007.


       371.    Second, Defendants were also engaged in a conspiracy to knowingly make, use,

or caused to be made or used, and upon information and belief, in the case of Select and

Communicare, still makes and uses, false records or statements material to a false or fraudulent

claim to the United States Government through the entities administering government funds

pursuant to the Medicare program and State of Maryland, all in violation of all in violation of31

U.S.C. § 3729(a)(1)(B).

       372.    Select's corporate office is in charge ofthe billing system for the therapy services

provided at Anchorage and Snow Hill. CommuniCare essentially handles the billing for the

nursing care provided at Anchorage and Snow Hill. Upon information and belief, CommuniCare

knows about Select's fraudulent process in billing the Government for therapy services provided


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to Medicare patients at its facilities, but does nothing to report or stop the fraud because

CommuniCare also earns a percentage ofthe profit that Select collects firom the fraudulently

submitted reimbursements, paid for by the Government. Communicare has and White Oak had

an obligation to return the fraudulently obtained profit, but do not. At all times relevant, White

Oak also knew about Select's fraudulent billing scheme.

       373.    Third, by virtue ofthe fraud described in the Complaint, Defendants also engaged

in conspiracy to knowingly make, use, or cause to be made or use false records or statements and

knowingly concealed or avoided obligation to pay (repay) money to the Government, and

continues to do so, in violation of 31 U.S.C. § 3729(a)(1)(G).

       374.    CommuniCare knowingly permits, participates and benefit from the fraud. It is in

constant communication with Select and either encourages or, with deliberate indifference to the

truth, turns a blind eye to Select's fraudulent activity. Anchorage also plays a key role in

contributing to the fraud by carrying out the corporate directives that directly lead to patient

harm and government fraud. This combined effort directly causes the fraudulent acts that

intentionally divest the government offunds, maximizing Medicare reimbursement for the

personal, financial benefit of all the Defendants involved.

       375.    The United States and the State of Maryland were unaware of the fraud and

fraudulent schemes detailed herein, and but for this complaint, would not have discovered it and

its true breadth and scope.

       376.    In reliance on the false and fraudulent records presented or caused to be presented

by the Defendants,the United States authorized payments to be made which greatly enriched

Defendants and which damaged the United States Government.




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       377.    As a result ofDefendants' violations of31 U.S.C. § 3729(a)(1)(C), the United

States and the State of Maryland have suffered substantial losses in an amount that exceeds tens

of millions of dollars, and therefore is entitled to treble damages under the False Claims Act,to

be determined at trial and totaling many millions of dollars.

                                    PRAYER FOR RELIEF

       WHEREFORE,Plaintiffs-Relators prays, on behalf ofthe United States and themselves,

that on final trial ofthis case,judgment be entered in favor ofthe United States and against

Defendant Select Rehabilitation, Inc. as follows:

   A. On the First Cause of Action under the False Claims Act,for the amount ofthe United
       States' damages, multiplied as required by law and for such civil penalties as are allowed
       by law, including, but not limited to, statutory penalties for each violation, attorney's fees
       and costs;

   B. On the Second Cause of Action under the False Claims Act, for the amount ofthe United
       States' damages, multiplied as required by law and for such civil penalties as are allowed
       by law,including, but limited to, statutory penalties for each violation, attorney's fees
       and costs;

   C. On the Third Cause of Action under the False Claims Act, for the amount ofthe United
       States' damages, multiplied as required by law and for such civil penalties as are allowed
       by law,including, but limited to, statutory penalties for each violation, attorney's fees
       and costs; and

   D. For the costs ofthis action, prejudgment interest, interest on the judgment, attorney's fees
      and for any other and further reliefto which Plaintiffs-Relators and the United States may
       be justly entitled.

       And against Defendants Select Rehabilitation, Inc., Anchorage SNF,LLC,CommuniCare
Health Services, Inc., and White Oak Healthcare, LLC:

       A. On the Fourth Cause of Action under the False Claims Act,for the amount ofthe
          United States' damages, multiplied as required by law and for such civil penalties as
          are allowed by law,including, but limited to, statutory penalties for each violation,
          attorney's fees and costs; and

       B. For the costs ofthis action, prejudgment interest, interest on the judgment, attorney's
          fees and for any other and further reliefto which Plaintiffs-Relators and the United
          States may be justly entitled.

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                                             COUNT V
   Maiyland False Claims Act Against State Health Plans and State Health Programs Act
                 (Violation of Md. Code Ann., Health-Gen. § 2-601 et seq.)

          378. Plaintiffs-Relators adopt and incorporate herein by reference all paragraphs.

          379.   This is a qui tarn action brought by Plaintiffs-Relators on behalf ofthe State of

Maryland to recover treble damages and civil penalties under the Maryland False Claims Act

Against State Health Plans and State Health Programs Act, Md. Code Ann., Health-Gen. § 2-601

et seq.

          380.   Section 2-602 provides, in part, liability for anyone who:

                        (1) Knowingly present or cause to be presented a false or fraudulent claim
                           for payment or approval;
                        (2) Knowingly make, use, or cause to be made or used a false record or
                            statement material to a false or fraudulent claim;
                        (3) Conspire to commit a violation under this subtitle;
                            ... or

                       (7)Knowingly made, use, or cause to be made or used, a false record of
                       statement material to an obligation to pay or transmit money or other
                       property to the State; or
                       (8)Knowingly conceal, or knowingly and improperly avoid or decrease,
                       an obligation to pay or transmit money or other property to the State.

Md. Code Ann., Health-Gen § 2-602(West).

          381.   As alleged above and in Count I, Defendant Select Rehabilitation violated and

continues to violate Section 2-602(1) by knowingly presenting or causing to be presented false or

fraudulent claims for payment or approval to the State of Maryland.

          382.   As alleged above and in Count II, Defendant Select Rehabilitation violated and

continues to violate Section 2-602(2) by knowingly making, using or causing to be made or used

false records or statements material to false or fraudulent claims to the State of Maryland.

          383.   As alleged above and in Count III, Defendant Select Rehabilitation violated and

continues to violate Section 2-602(7),(8) by knowingly making, using, or causing to be made or

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used,false records or statements to the State that are material to an obligation to pay and by
knowingly concealing, or knowingly and improperly avoiding or decreasing, an obligation to pay

or transmit money to the State.

       384.    As alleged above and in Count IV, Defendants Select Rehabilitation, Inc.,

Anchorage SNF,LLC,CommuniCare Health Services, Inc., and White Oak Healthcare, LLC

violated and (other than White Oak)continue to violate Section 2-602(3) by conspiring to

commit a violation under this subtitle, including to violate Sections 2-602(1),(2),(7)and (8).

       385.    The State of Maryland, by and through the Maryland Medicaid Program and

unaware of Defendants' conduct, paid the claims submitted or caused to be submitted by

Defendants through healthcare providers and third party payers in connection therewith -a result

intended by the Defendants.

       386.    Compliance with applicable Medicare and Medicaid laws, rules, regulations and

coverage determinations was an implied, and upon information and belief, also an express

condition of payment of claims submitted to the State of Maryland in connection with

Defendants' conduct.


       387.   In order to be eligible to participate in and receive reimbursement as a provider,

compliance with applicable Maryland statues and regulations is mandatory.

       388.   Additionally, Maryland requires all Medicaid providers to agree to the following

among other items:

       That all claims submitted under his, her or its provider number shall be for medically
       necessary services that were actually provided as described in the claim. The Provider
       acknowledges that the submission offalse or fraudulent claims could result in criminal
       prosecution and civil and administrative sanctions.

(Maryland Medical Assistance Program -Provider Agreement).




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       389.    Had the State of Maryland known that Defendants were violating the federal and

state laws cited herein and/or that the claims submitted in connection with Defendants' conduct

failed to meet the reimbursement criteria ofthe government-funded healthcare programs or were

premised on false and/or misleading information, it would not have paid the claims submitted by

healthcare providers and third party payers in connection with that conduct.

       390.    As a result of Defendants' violations of Md.HEALTH-GENERAL Code Ann.§

2-601 et seq., the State of Maryland has been damaged in an amount in excess of millions of

dollars, exclusive ofinterest.

       391.    Plaintiffs-Relators are both private citizens with direct and independent

knowledge ofthe allegations of this Complaint, who brought this action pursuant to Md.

HEALTH-GENEAL Code Ann. § 2-601 et seq. on behalf ofthemselves and the State of

Maryland.

       392.    This Court is requested to accept pendantjurisdiction ofthis related state claim as

it is predicated upon the exact same facts as the federal claims and merely asserts separate

damage to the State of Maryland in the operation ofits Medicaid (Medical Assistance) program.

       WHEREFORE,Plaintiffs-Relators respectfully request this Court to award the following

damages to the following parties and against Defendants:

To the State of Maryland:

       (1) Three times the amount of actual damages which the State of Maryland has sustained
            as a result of Defendants' conduct;

       (2) A civil penalty ofnot more than $10,000 for each false claim which Defendants
           caused to be presented to the State of Maryland;

       (3) Prejudgment interest; and

       (4) All costs incurred in bringing this action.



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To Plaintiffs-Relators;


       (1) The maximum amount allowed pursuant to Md.HEALTH-GENERAL Code Ann. §
           2-601 etseq. and/or any other applicable provision oflaw;

       (2) Reimbursement for reasonable expenses which Plaintiffs-Relators incurred in
           connection with this action;

       (3) An award of reasonable attorneys' fees and costs; and

       (4) Such further relief as this Court deems equitable and just.

                                         JURY DEMAND

Plaintiffs-Relators hereby demand ajury trial as to all issues so triable.

                                                              UMjwr
                                                      Veronica Nannis




                                                      Respectfully submitted,

                                                      JOSEPH GREENWALD & LAAKE,P.A.

                                                         V
                                                      Veronica Nannis; vnannis(S)Jgllaw.com
                                                      Jay P. Holland; iholland@igllaw.com
                                                      6404 Ivy Lane, Suite 400
                                                      Greenbelt, MD 20770
                                                      (301)220-2200
                                                      Counselfor Plaintiffs-Relators:
                                                      Michael Goebel and William Coleman




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